Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 1 of 122




                          Tab F
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 2 of 122


        Lexis Nexis                                                                                                                                                    Claim
        File & Serve                                                                                                                                                   Filed                        EAP        Interim
         E-Service     Plaintiff Last    Plaintiff First                                                                                          Original EDLA Civil  With     GCCF Claim        Received    Received
          Number           Name              Name                          Original Case Caption                           Original Court            Action Number     GCCF      Number             Date         Date
                                                           Troy Wetzel, Extreme Fishing, et al vs. Transocean,                                    2:10-CV-01222-CJB-
 1      34421371       Bang             Irvin              BP, L.L.C., et al                                     Eastern District of Louisiana    ALC                 Yes      01122075          8/23/2010   1/12/2011
 2      No Stamp       Bannon           Stephen            Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452       Yes      01054581          8/23/2010
 3      No Stamp       Canty            John               Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452       Yes      01053474          8/23/2010
 4      No Stamp       Conzonere        Chad               Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452       Yes      01074423          8/23/2010
 5      No Stamp       Conzonere        Lisa               Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452       Yes      01070178          8/23/2010
 6      34453972       Conzonere        Mike               Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452       Yes      01043045          8/23/2010
                                                                                                                                                                               1123823;[Illegi
 7      34472566       Meyer            David              David Meyer, et al.                                   Southern District of Alabama     2:10CV02650        Yes       ble]              8/23/2010
 8      No Stamp       Segrave          David              Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452      Yes       01145128          8/23/2010
                                                                                                                                                  2:10-CV-01387-CJB-
 9      34450315       Silver           Curtis             Sophisticated Lady, L.L.C., et al. vs. BP, PIC, et al. Eastern District of Louisiana   SS                 Yes       114850            8/23/2010
                                                           Ben Robin, et al. v. BP, Plc, BP Products North AM.,
 10     34486724       Robin            Van                et al.                                                 Eastern District of Louisiana   10-1248            Yes       01005046          8/24/2010   1/4/2011
                                                           Ben Robin, et al. v. BP, Plc, BP Products North AM.,
 11     34487389       Robin            Van                et al.                                                 Eastern District of Louisiana   10-1248            Yes       01026761          8/24/2010   1/4/2011
                                                           Ben Robin, et al. v. BP, Plc, BP Products North AM.,
 12     34487860       Robin            Van                et al.                                                 Eastern District of Louisiana   10-1248            Yes       01005041          8/24/2010   1/4/2011
 13     No Stamp       Kreger           Mary               Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01011122          8/24/2010   1/18/2011
 14     No Stamp       Ferrier          Michael            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01114832          8/24/2010
                                                           American Gulf Seafood LLC, et al. vs. BP, PLC, et                                                                   1131718;[Illegi
 15     34486281       Martin           Stephen            al.                                                    Eastern District of Louisiana   2:10-CV-01970      Yes       ble]              8/24/2010
 16     No Stamp       Moragas          Charlotte          Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01070169          8/24/2010
 17     No Stamp       Moragas          Shannon            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053228          8/24/2010
 18     No Stamp       Raimer           Allen              Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053275          8/24/2010
                                                           Ellis Schouest, III, et al. v. BP Products North
 19     34455357       Schouest         Ellis              America, Inc., et. al. C.A. No. 6:10-727               Western District of Louisiana                      Yes       108-4572          8/24/2010
 20     No Stamp       Heier            Kevin              Schmalz et al. v. Transocean Ltd et al.                Eastern District of Louisiana   2:10-CV-01452      Yes       01008299          8/26/2010
 21     No Stamp       Kreger           Ryan               Schmalz et al v. Transocean LTD, et al                 Eastern District of Louisiana   2:10-CV-01452      Yes       01074546          8/26/2010
 22     No Stamp       Marschke         Richard            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01074566          8/27/2010   1/18/2011
 23     No Stamp       Crawford         William            Schmalz et al v. Transocean LTD, et al                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053194          8/27/2010
 24     No Stamp       Efferson         Charles            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053603          8/27/2010
 25     No Stamp       Kreger           Ronald             Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01045115          8/27/2010
 26     No Stamp       Lyncker          William            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01056212          8/27/2010
 27     No Stamp       Rodi             Anthony            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01080760          8/27/2010
 28     No Stamp       Sander           Taylor             Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01070232          8/27/2010
 29     34440333       Walker           Lance              Fish Commander, LLC v. BP, PLC, et al                  Eastern District of Louisiana   10-1339            Yes       01119155          8/28/2010
                                                           Fishing Magician Charters, LLC v. BP (See                                                                           1026540;3003
 30     34468612       Hutchinson       Justin             Attached)                                              Eastern District of Louisiana   10-1338            Yes       470               8/30/2010
                                                           Fishing Magician Charters, LLC v. BP (See                                                                           1026540;3003
 31     34468612       Hutchinson Sr. Justin               Attached)                                              Eastern District of Louisiana   10-1338            Yes       470               8/30/2010
                                                           Burke, et al. v. BP Corporation North America, Inc.,                                                                1019990 and
 32     34443208       Lykins           Ryan               et al.                                                 Southern District of Alabama                       Yes       3002385           8/30/2010
 33     No Stamp       O'Connor         Kirby              Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01074588          8/30/2010
 34     No Stamp       Segrave          Michael            Schmalz et al v. Transocean Ltd et al                  Eastern District of Louisiana   2:10-CV-01452      Yes       01074611          8/30/2010
 35     No Stamp       Donahue          Adam               Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01054165          8/31/2010
 36     No Stamp       Segrave          David              Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       03005216          8/31/2010
 37     No Stamp       Jackson          Jodi               Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053311          9/1/2010
 38     No Stamp       Jackson          Kevin              Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01053503          9/1/2010
 39     No Stamp       Jordan           Michele            Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana   2:10-CV-01452      Yes       01074489          9/1/2010
 40     No Stamp       Kreger           Ronald             Schmalz et al v. Transocean Ltd et al                  Eastern District of Louisiana   2:10-CV-01452      Yes       01126373          9/1/2010


Tab F                                                                                                                                                                                                         Page 1 of 22
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 3 of 122

 41     No Stamp   Parks           Charlie     Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana      2:10-CV-01452    Yes   01038954       9/1/2010
 42     34452582   Carbullido      Jesse       Marine Horizons, Inc. et. al v. BP, PLC et. al          Southern District of Alabama       02657            Yes   01125684       9/3/2010
 43     34490140   Ivic            Michael     Michael Ivic, et al v. BP, Plc, et al                   Eastern District of Louisiana      10-CV-01249      Yes   01027422       9/3/2010
 44     No Stamp   Russell         Scott       Bradley Shivers, et al v. BP, PLC, et al                Southern District of Alabama       1:10-CV-381      Yes   01060406       9/3/2010
                                                                                                                                          MDL Docket No:
 45     34490828   Haynie          Mary        2:10-CV-03092                                           Northern District of Florida       2179             Yes   1037679        9/4/2010
                                                                                                                                          MDL Docket No:
 46     34490828   Haynie          Terrance    2:10-CV-03092                                           Northern District of Florida       2179             Yes   1037679        9/4/2010
                   James D.Q.,
                   Inc. d/b/a
                   Jonathan Boy
 47     No Stamp   II                          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114       Yes   1151088      9/7/2010
                                                                                                                                                                 1089038;1152
 48     No Stamp   Nguyen          Hong        Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114       Yes   076          9/8/2010
 49     No Stamp   Peoples         Lonnie      Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3004751      9/8/2010
                                               Michael Salley, d/b/a Sure Shot Charters v.
 50     34491243   Salley          Michael     Transocean Holdings, Inc., et al                        Northern District of Florida       10-CV-02664      Yes   01113280       9/8/2010
 51     No Stamp   Savoy           John        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3005836        9/8/2010
 52     No Stamp   Whittington     Phillip     Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752       Yes   3007578        9/8/2010
 53     No Stamp   Willis          David       Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3007648        9/8/2010
 54     No Stamp   Willis          Ryan        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3007668        9/8/2010
 55     34517999   McGowan         Betty       Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana      10-2989          Yes   01044545       9/9/2010
 56     34803960   McGowan         Betty       Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana      10-2989          Yes   01044545       9/9/2010
 57     34517999   McGowan         Robert      Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana      10-2989          Yes   01044545       9/9/2010
 58     34803960   McGowan         Robert      Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana      10-2989          Yes   01044545       9/9/2010
 59     No Stamp   Dixon           George      Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   1050656        9/10/2010
 60     No Stamp   Mann            Tom         Adventure Sports, II, Inc.v. BP, Plc, et al             Southern District of Alabama       10-3243          Yes   30011858       9/10/2010
 61     34488615   Dekovic         Danijel     Michael Ivic, et al v. BP, Plc, et al                   Eastern District of Louisiana      10-CV-01249      Yes   01042909       9/13/2010
 62     34489097   Garbin          Vatroslav   Michael Ivic, et al v. BP, Plc, et al                   Eastern District of Louisiana      10-CV-01249      Yes   01042893       9/13/2010
 63     No Stamp   Green           John        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   1109836        9/13/2010
 64     No Stamp   Randall         Douglas     Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752       Yes   3005421        9/15/2010
 65     34486250   Taliancich      Bartol      Bartol John Taliancich, Sr. v. BP, PLC, et al           Eastern District of Louisiana      10-1489          Yes   01012575       9/15/2010
 66     34389429   Mead            Mark        Bradley Shivers, et al v. BP., PLC, et al               Southern District of Alabama       1:10-CV-381      Yes   01073322       9/16/2010
                                               Hiep Trieu et al. v. BP Exploration and Production,
 67     34472864   Skrmetta        Louis       Inc. et al.                                             Southern District of Mississippi   1:10CV177-LG-RHW Yes   01119087       9/16/2010
 68     No Stamp   Bernius         Cyril       Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana      2:10-CV-01452    Yes   01043115       9/17/2010
 69     No Stamp   Brumfield Jr.   Charlie     Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   1050054        9/17/2010
 70     No Stamp   Rankins Jr.     Henry       Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3005449        9/17/2010
 71     No Stamp   Scott           Anthony     Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472       Yes   3006055        9/17/2010
                                               Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 72     34491243   Wilkerson       Tessa       et al.                                                  Southern District of Alabama       10-CV-02643      Yes   01023987       9/17/2010
 73     34489933   Ivic            Michael     Michael Ivic, et al v. BP, Plc, et al                   Eastern District of Louisiana      10-CV-01249      Yes   01027426       9/21/2010
 74     34488974   Garbin          Vatroslav   Michael Ivic, et al v. BP, Plc, et al                   Eastern District of Louisiana      10-CV-01249      Yes   01042869       9/23/2010
 75     No Stamp   Roberts         John        Schmalz et al v. Transocean LTD, et al                  Eastern District of Louisiana      2:10-CV-01452    Yes   01041875       9/27/2010
 76     No Stamp   Crawford        Brad        Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana      2:10-CV-01452    Yes   01027173       9/28/2010
 77     No Stamp   Jones           Warren      Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752       Yes   3023573        9/28/2010
                                                                                                                                                                 1149541;1135
 78     34468593   Nunez Jr.       Johnny      Fishing Magicians Charter v. BP                         Eastern District of Louisiana      10-1338          Yes   171            9/29/2010
 79     34482625   Duet            Raymond     Raymond Duet, et al. v. BP, Plc, et al                  USDC, Eastern District             2:10-CV-01519    Yes   01044142       10/5/2010    1/6/2011
 80     34482625   Duet            Deanna      Raymond Duet, et al. v. BP, Plc, et al                  USDC, Eastern District             2:10-CV-01519    Yes   01044142       10/5/2010
 81     No Stamp   Kreger          Rustin      Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana      2:10-CV-01452    Yes   01146068       10/6/2010
                                               T&D Fishery, LLC et al. v. BP PLC et al. 2:10-CV-
 82     34477885   Roussel         Devlin      01332                                                   Eastern District of Louisiana      2:10-CV-01332    Yes   01099653       10/13/2010
 83     34455203   Verdin          Cherry      Captain Cherry D. Verdin v. BP, Plc, et al              Eastern District of Louisiana      10-CV-1841       Yes   01015344       10/14/2010
 84     34486183   Truong          Hen         Abadie, et al v. BP, P.L.C., et al                      Eastern District of Louisiana      20:10-CV-2116    Yes   01056073       10/16/2010
 85     34488477   Cockrell        Melvin      Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752       Yes   1038701        10/18/2010


Tab F                                                                                                                                                                                         Page 2 of 22
                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 4 of 122

 86     No Stamp   Acheson        Mark          Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    30030181   10/22/2010
 87     No Stamp   Alleman        Gerald        Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    03261212   10/22/10
 88     No Stamp   Alleman        Gerald        Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    01159642   10/22/10
 89     No Stamp   Graves         Joyce         Schmalz et al. v. Transocean Ltd et al.                  Eastern District of Louisiana   2:10-CV-01452     Yes    01025627   11/10/2010
                                                Jack Arias, et al. vs. BP Company North America,
 90     34487414   Arias          Jack          Inc., et al.                                             Southern District of Texas      10-4224           Yes    01025119   11/12/2010
                                                Jack Arias, et al. vs. BP Company North America,
 91     No Stamp   Arias          Jack          Inc., et al.                                             Southern District of Texas      10-4224           Yes    01025119   11/12/2010

 92     34487922   Lockridge      Edward        Captain Edward Lockridge, et al. v. BP, PLC, et al.      Southern District of Alabama    10-2659            Yes   01140904   11/17/2010
 93     34741614   Drawdy         Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660            Yes   11311156   11/18/2010
 94     No Stamp   Drawdy         Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660            Yes   11311156   11/18/2010
                                                Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 95     34489272   Floyd          Bret          PLC, et al                                               Eastern District of Louisiana   SS                 Yes   338-0273   11/19/2010
 96     No Stamp   Jackson        Christopher   Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452      Yes   01070201   11/19/2010
 97     34477581   Ezell          Johnnie       Ezell v. BP PLC, et al.                                  Eastern District of Louisiana   10-1920            Yes   01120145   11/23/2010
 98     34486183   Nguyen         Nghia         Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   2:10-CV-2116       Yes   01014996   11/23/2010
                                                Alpasito, Inc., et al. v. BP Company North America,
 99     No Stamp   Carinhas       Jack          Inc., et al.                                             Southern District of Texas      10-4216           Yes    01133192   12/4/2010
                                                Cotton Bayou Marina d/b/a Tacky Jack's Restaurant
 100    No Stamp   Kichler        Ken           v. BP, Plc, et al                                        Southern District of Alabama    10-3244           Yes    1082806    08/23/10
                                                Blue Water Yacht Sales, etc. v. Transocean
 101    34491243   Long           John          Holdings, Inc., et al.                                   Southern District of Alabama    10-CV-02656       Yes    1145723    08/23/10
 102    No Stamp   Nguyen         Su            Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114        Yes    1120910    08/23/10
 103    34473085   Oser           Joseph        Oser, et al. v. Transocean, Ltd., et al.                 Eastern District of Louisiana   2:10-CV-1829      Yes    1145034    08/23/10

 104    34485148   Rash           Steven        Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1145679    08/23/10

 105    34493417   Rash          Steven         Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1145679    08/23/10
                   Alabama Gulf
                   Coast
                   Investments,                 Orange Beach Marina, Inc., et al. v. Transocean                                                                              08/23/10;
 106    34491243   LLC                          Holdings, Inc., et al.                                   Southern District of Alabama    10-CV-2651        Yes    1040343    11/15/10
                   Happy Harbor,                Orange Beach Marina, Inc., et al. v. Transocean                                                                              08/23/10;
 107    34491243   LLC                          Holdings, Inc., et al.                                   Southern District of Alabama    10-CV-2651        Yes    1040343    11/15/10
                   Oyster Bay                   Orange Beach Marina, Inc., et al. v. Transocean                                                                              08/23/10;
 108    34491243   Marina, LLC                  Holdings, Inc., et al                                    Southern District of Alabama    10-CV-2651        Yes    1040343    11/15/10

                   Romar Marina                 Orange Beach Marina, Inc., et al. v. Transocean                                                                              08/23/10;
 109    34491243   Club, LLC                    Holdings, Inc., et al                                  Southern District of Alabama      10-CV-2651        Yes    1040343    11/15/10
                                                Larry Alexie, Sr. v. Halliburton Energy Services, Inc.
 110    34492073   Alexie         Larry         et al.                                                 Eastern District of Louisiana     10-1561           Yes    1035757    08/24/10
 111    34493162   Hingle         Barbara       Roland Hingle, et al. v. BP, PLC, et al.               Eastern District of Louisiana     10-2749           Yes    1051559    08/24/10

                                                Robroy Terrebonne, et al Individually and on Behalf
 112    34488867   Terrebonne     Robroy        of Himself and all others Similarly Situated        Eastern District of Louisiana        10-1352            Yes   1129943    08/24/10
                                                Bobby Wilson, Ind & as Proposed Class Rep vs. BP                                         1:10-CV-00263-HSO-
 113    34460306   Wilson         Bobby         P.L.C., et al.                                      Southern District of Mississippi     JMR                Yes   1064375    08/24/10
                                                                                                                                         2:10-CV-01387-CJB-
 114    34450315   Van Fleet      Charlene      Sophisticated Lady, LLC et al v. BP, PLC et al           Eastern District of Louisiana   SS                 Yes   1115652    08/25/10     01/05/11
                                                Bon Secour Fisheries, Inc., et al v. BP, Plc, et al.;
 115    34482939   Nelson         John          1:10-cv-00206                                            Eastern District of Louisiana   10-2646           Yes    1154329    08/25/10     01/20/11
                                                Bon Secour Fisheries, Inc., et al v. BP, Plc, et al.;
 116    34482939   Nelson         John          1:10-cv-00206                                            Southern District of Alabama    10-2646           Yes    1154329    08/25/10     01/20/11

 117    34485148   Abrams         Terence       Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1126021    08/25/10


Tab F                                                                                                                                                                                      Page 3 of 22
                                                     Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 5 of 122



 118    34493417   Abrams          Terence       Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1126021   08/25/10
 119    No Stamp   Duong           Dong          Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114        Yes    1151405   08/25/10
 120    No Stamp   Evans           Charles       Charles Evans v. BP, PLC, et al.                         Northern District of Florida    10-3094           Yes    1153309   08/25/10
                                                 American Gulf Seafood LLC, et al. vs. BP, PLC, et
 121    34486281   Livings         John          al.                                                      Eastern District of Louisiana   2:10-CV-01970     Yes    1021889   08/25/10
                                                 Mobile Fixture & Equipment Company, Inc. v. BP,
 122    No Stamp   Watson          Tom           Plc, et al                                               Southern District of Alabama    10-3262           Yes    1153776   08/25/10
                                                 Deupree Outdoor Guide Services, Inc., et al. v. BP,
 123    No Stamp   Deupree         Edward        PLC, et al.                                              Southern District of Alabama    10-3247           Yes    1155580   08/26/10
                                                 Martin R. Cressey d/b/a Bohica Fishing Charters v.
 124    No Stamp   Cressey         Marlin        BP PLC, et al.                                           Eastern District of Louisiana   10-1721           Yes    3000933   08/27/10
 125    34739938   Drawdy          Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660           Yes    1075808   08/27/10
 126    No Stamp   Drawdy          Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660           Yes    1075808   08/27/10
 127    No Stamp   Pomes           Christopher   Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    1042782   08/27/10

 128    34485148   Rash            Steven        Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    3000570   08/27/10

 129    34493417   Rash            Steven        Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    3000570   08/27/10
                   Southern
                   Coastal
                   Restaurants,                  Original Oyster House, Inc., et al. v. Transocean
 130    34491243   LLC                           Holdings, Inc., et al                             Southern District of Alabama           10-CV-02655       Yes    1112280   08/27/10
                                                 Captain Kenny Barhanovich v. BP, plc, BP Products U.S Dist. Court for Southern
 131    34600104   Barhanovich     Kenny         of North America, Inc., et al                     Dist.of Miss.                                             Yes   1014931   08/29/10
                                                                                                                                          2:10-CV-01986-CJB-
 132    34487366   Donohue         Holly         Robin v. Seacor Marine LLC, 2:10-CV-01986                Eastern District of Louisiana   SS                 Yes   1051579   08/29/10
                                                                                                                                          2:10-CV-01986-CJB-
 133    34487977   Donohue         Sidney        Robin v. Seacor Marine LLC, 2:10-CV-01986                Eastern District of Louisiana   SS                 Yes   1051579   08/29/10
 134    34740196   Drawdy          Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660            Yes   1126343   08/29/10
 135    No Stamp   Drawdy          Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660            Yes   1126343   08/29/10
                   Pomes
 136    No Stamp   Seafood, LLC                  Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    1082497   08/30/10   01/11/11
                                                 Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 137    No Stamp   Rivas           Mario         Company North America, Inc., et al.                      Southern District of Texas      10-4225           Yes    1128904   08/30/10   01/27/11
                                                 Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 138    34491243   Country, Inc.                 et al.                                                   Southern District of Alabama    10-CV-02643       Yes    1026257   08/30/10
                   Deep Sea                      Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 139    34491243   Foods, Inc.                   et al.                                                   Southern District of Alabama    10-CV-2643        Yes    1026238   08/30/10
                   Domino
                   Seafood,
 140    No Stamp   Corporation                   Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114        Yes    1149604   08/30/10
                   Jubilee                       Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 141    34491243   Seafood, Inc.                 et al.                                                   Southern District of Alabama    10-CV-02643       Yes    1026247   08/30/10

                   Edgewater
                   Beach Owners                  Destin, et al. c. BP PLC, et al. - Case No. 3:10-CV-
 142    34470229   Assoc. Inc.                   00141 MCR EMT                                            Northern District of Florida                      Yes    3004986   08/31/10
                                                 Fishing Magician Charters, LLC v. BP (See
 143    34468602   Nunez           John          Attached)                                                Eastern District of Louisiana   10-1338           Yes    3000786   08/31/10
                                                 Scotty Kershaw and Sandra Kershaw vs. BP
 144    34447949   Kershaw, et al Scotty         America Inc., et al                                      Eastern District of Louisiana   10-4271           Yes    1138302   09/01/10
                                                 The National Vietnamese American Fisherman
 145    34485987   Nguyen          Le            Emergency Association, et al. v. BP PLC, et al.          Southern District of Texas      2:10-CV-02683     Yes    1040584   09/01/10
                                                 Fishing Magician Charters, LLC v. BP (See
 146    34468605   Nunez           Jeremy        Attached)                                                Eastern District of Louisiana   10-1338           Yes    3000813   09/01/10


Tab F                                                                                                                                                                                    Page 4 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 6 of 122

                                              Fishing Magician Charters, LLC v. BP (See
 147    34468605   Nunez Sr.       Jeremy     Attached)                                             Eastern District of Louisiana      10-1338           Yes    3000813   09/01/10
                                              The National Vietnamese American Fisherman
 148    34485987   Tran            Hanh       Emergency Association, et al. v. BP PLC, et al.       Southern District of Texas         2:10-CV-02683      Yes   1138806   09/01/10
 149    34460859   Stelly          Veronica   William Gregoire, et al v. Transocean, Ltd., et al.   Eastern District of Louisiana      02:10-CV-01351     Yes   1114449   09/02/10
                                              Emily R. Adams, Ind. & as Proposed Class Rep vs.                                         4:10-CV-00306-SPM-
 150    34462053   Adams           Emily      BP P.L.C., et al.                                     Northern District of Florida       WCS                Yes   7170985   09/03/10
                                              The National Vietnamese American Fisherman
 151    34485987   Ho              Cuc        Emergency Association, et al. v. BP PLC, et al.       Southern District of Texas         2:10-CV-02683     Yes    1138789   09/03/10
                                              Vacation Key West, Inc., Ind & as Proposed Class
 152    34463009   McCaffrey       Vanessa    Rep vs. BP P.L.C., et al.                             Southern District of Florida       4:10-CV-10059-KMM Yes    1167814   09/03/10
                                              The National Vietnamese American Fisherman
 153    34485987   Ngo             Lo         Emergency Association, et al. v. BP PLC, et al.       Southern District of Texas         2:10-CV-02683     Yes    1140804   09/03/10
                                              Shemper, Ind & as Proposed Class Rep vs. BP                                              2:10-CV-138-KS-                    09/03/10;
 154    34461706   Shemper         Jacob      P.L.C, et al.                                         Southern District of Mississippi   MTP               Yes    1167805   09/30/10
                   Paul & Brian,
 155    No Stamp   LLC                        Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1149792   09/04/10
 156    No Stamp   Kenner          Maurice    Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1046711   09/05/10
                   Fish Trap
 157    34491243   Charters                   Fish Trap Charters, LLC et al. v. Transocean, et al   Southern District of Alabama       10-CV-02644       Yes    1094087   09/07/10
 158    34454212   O'Bryan         Larry      Larry O'Bryan, et al. v. BP, PLC, et al.              Western District of Kentucky       2:2010-CV-02992   Yes    3005207   09/07/10
 159    34470935   O'Bryan         Larry      Larry O'Bryan, et al. v. BP, PLC, et al.              Western District of Kentucky       2:2010-CV-02992   Yes    3005207   09/07/10
                   Ocean Reef
                   Realty, Inc.,
                   d/b/a Ocean
                   Reef Resorts,              Ocean Reef Realty, Inc v. Transocean Holdings,
 160    34491243   Inc.                       Inc., et al                                           Northern District of Florida       10-CV-02663       Yes    1060422   09/07/10
 161    No Stamp   Alexander       Alton      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    3009989   09/08/10
 162    No Stamp   Baker           Tyree      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1049816   09/08/10
 163    No Stamp   Bergeron        Andy       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1053742   09/08/10
 164    No Stamp   Boyette         Kevin      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1053772   09/08/10
                   C&J Seafood,
 165    No Stamp   Inc.                       Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1149735   09/08/10
 166    No Stamp   Clause          Daniel     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1053798   09/08/10
 167    No Stamp   Colby           Franklin   Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1053824   09/08/10
 168    No Stamp   Crenshaw        David      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472        Yes    1053897   09/08/10
                   D&T Marine,
 169    No Stamp   Inc.                       Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114         Yes   1149763   09/08/10
 170    No Stamp   Davis           Aaron      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         Yes   1053955   09/08/10
 171    No Stamp   Davis           Duane      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         Yes   1036381   09/08/10
 172    No Stamp   Davis Jr.       Charles    Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         Yes   1054018   09/08/10
 173    No Stamp   Durke           Coy        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         Yes   1054125   09/08/10
 174    No Stamp   Grindol         Jonathan   Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1752         Yes   3010010   09/08/10
                                                                                                                                       2:10-CV-02662-CJB-
 175    34495281   Harris          John       Harris v. Transocean, Ltd., et al.                    Northern District of Florida       SS                 Yes   1054337   09/08/10
                   John's
                   Seafood
                   Restaurant #
 176    No Stamp   2, Inc.                    Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1150916   09/08/10
                   L.V. Marine
 177    No Stamp   Corporation                Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1149749   09/08/10
 178    No Stamp   Le              John       Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1120905   09/08/10
                   Les Produce &
 179    No Stamp   Market, Inc.               Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1150939   09/08/10
                   M & Lorie, Inc.
 180    No Stamp   (Petro Mart)               Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114        Yes    1150690   09/08/10


Tab F                                                                                                                                                                                 Page 5 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 7 of 122

 181    No Stamp   Newman          John       Fruge, et al. v. BP, PLC, et al.              Eastern District of Louisiana   10-CV-1752   Yes   1019967   09/08/10
 182    No Stamp   Nguyen          Jason      Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1124864   09/08/10
 183    No Stamp   Rush            Tommie     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   3005781   09/08/10
 184    No Stamp   Saddler         Eddie      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   3005809   09/08/10
 185    No Stamp   Salter          Grady      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   3005819   09/08/10
 186    No Stamp   Sam             Joseph     Fruge, et al. v. BP, PLC, et al.              Eastern District of Louisiana   10-CV-1752   Yes   3005828   09/08/10
 187    No Stamp   Young           Franklin   Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   3008917   09/08/10
 188    No Stamp   Young           Ronald     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   3008918   09/08/10
 189    No Stamp   Young Jr.       Robert     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1036355   09/08/10
 190    No Stamp   Zeno            Terry      Fruge, et al. v. BP, PLC, et al.              Eastern District of Louisiana   10-CV-1752   Yes   3008920   09/08/10
 191    No Stamp   Bell            Danny      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1049873   09/09/10
 192    No Stamp   Bonner          Tyrone     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1050050   09/09/10
 193    No Stamp   Diggs           Kelvin     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1050640   09/09/10
 194    No Stamp   Diggs           Patrick    Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1048089   09/09/10
 195    No Stamp   Fain Jr.        Joe        Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1054166   09/09/10
 196    34482939   Floyd           Jeff       Gulf Crown Seafood, Inc., v. BP, Plc, et al   Eastern District of Louisiana   2:10-1344    Yes   1150617   09/09/10
 197    No Stamp   Haynie III      Leslie     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1047273   09/09/10
 198    No Stamp   Junker          Engene     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1054294   09/09/10
 199    No Stamp   Kelly Jr.       Wesley     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1052066   09/09/10
 200    No Stamp   Kile            Carrol     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1054310   09/09/10
 201    No Stamp   McLellan        Brendon    Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1051441   09/09/10
 202    No Stamp   McMillian       Calvin     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1051419   09/09/10
 203    No Stamp   Morris          Caszell    Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1048992   09/09/10
 204    No Stamp   Newhouse        Jeremy     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1036150   09/09/10
 205    No Stamp   Noel Jr.        Carroll    Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1051074   09/09/10
 206    No Stamp   Smith           Bryan      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1036251   09/09/10
 207    No Stamp   Smith           Curtis     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1053935   09/09/10
 208    No Stamp   Stilts          Steven     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1036262   09/09/10
 209    No Stamp   Trahan          Richard    Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1036278   09/09/10
 210    No Stamp   Underwood       Louis      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1070328   09/09/10
 211    No Stamp   Bui             Hoa        Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1149549   09/10/10
 212    No Stamp   Bui             Huong      Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1060010   09/10/10
 213    No Stamp   Dang            He         Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1024324   09/10/10
 214    No Stamp   Do              Mai        Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1024320   09/10/10
 215    No Stamp   Henry Jr.       Donald     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1050232   09/10/10
 216    No Stamp   Hoang           Nhan       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1071217   09/10/10
 217    No Stamp   Jones           Jerry      Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1049545   09/10/10
 218    No Stamp   Le              Dung       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1077045   09/10/10
 219    No Stamp   Le              Nhac       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1021070   09/10/10
                   Le Seafood
                   Enterprises,
                   LLC (Mid City
                   Seafood and
 220    No Stamp   Deli)                      Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1149806   09/10/10
                   Les Chicken,
 221    No Stamp   Inc.                       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1149816   09/10/10
 222    No Stamp   Long            Neardey    Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1115512   09/10/10
 223    No Stamp   Martin Sr.      John       Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1051664   09/10/10
 224    No Stamp   Nguyen          Da         Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1152221   09/10/10
 225    No Stamp   Nguyen          Duong      Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1134955   09/10/10
 226    No Stamp   Nguyen          Eric       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1054415   09/10/10
 227    No Stamp   Nguyen          Hien       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1135475   09/10/10
 228    No Stamp   Nguyen          Hung       Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1149573   09/10/10
 229    No Stamp   Nguyen          Huong      Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1151812   09/10/10
 230    No Stamp   Nguyen          Kha        Le, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-2114   Yes   1025033   09/10/10
 231    No Stamp   Perry           Dwayne     Mitchell, et al. v. BP, PLC, et al.           Eastern District of Louisiana   10-CV-1472   Yes   1053308   09/10/10


Tab F                                                                                                                                                               Page 6 of 22
                                                      Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 8 of 122

                                                  Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 232    No Stamp   Sanders          Darlyn        Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3011698   09/10/10
 233    No Stamp   Tran             Duyen         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1071202   09/10/10
                                                  Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 234    No Stamp   Vincent          James         Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3011824   09/10/10
 235    No Stamp   Vo               Dung          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1024312   09/10/10
 236    No Stamp   Vo               Loi           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1152038   09/10/10
 237    No Stamp   Yates            William       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1046553   09/10/10
 238    No Stamp   Tran             Tu            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1075610   09/11/10
 239    No Stamp   Williams         Carlton       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1079886   09/12/10

                   Captain John's
 240    No Stamp   Seafood, Inc.                  Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1150711   09/13/10
 241    No Stamp   Doggett Sr.    Darrlyl         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1047149   09/13/10
 242    No Stamp   Druilhet       Marlon          Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   1108180   09/13/10
                                                  Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 243    No Stamp   Eggert           Anthony       Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3013362   09/13/10
                   Khamphoy
                   Senabandith,
                   Inc. (John's
                   Seafood
 244    No Stamp   Restaurant)                    Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1149841   09/13/10
 245    No Stamp   Ly               Kia           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1042055   09/13/10
 246    No Stamp   Marten           Eric          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1139376   09/13/10
 247    No Stamp   Mason            Anthony       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1049383   09/13/10
 248    No Stamp   Mason            Ronnie        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1049330   09/13/10
 249    No Stamp   Mitchell         Stephen       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1048676   09/13/10
 250    No Stamp   Mitchell         Steven        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1004490   09/13/10
 251    No Stamp   Nguyen           David         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1021494   09/13/10
 252    No Stamp   Nguyen           Du            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1152050   09/13/10
 253    No Stamp   Nguyen           Hung          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1135172   09/13/10
 254    No Stamp   Nguyen           Vuong         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1100011   09/13/10
 255    No Stamp   Owens            Austin        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1025216   09/13/10
 256    No Stamp   Peoples          Darrell       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   3004727   09/13/10
 257    No Stamp   Pham             Chinh         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1136457   09/13/10
 258    No Stamp   Pham             Eric          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1055209   09/13/10
 259    No Stamp   Quach            James         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1152088   09/13/10
 260    No Stamp   Quach            Jennifer      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1044319   09/13/10
 261    No Stamp   Tran             Duong         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1104113   09/13/10
 262    No Stamp   Tran             Em            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1135122   09/13/10
 263    No Stamp   Tran             Kim           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1100048   09/13/10
 264    No Stamp   Troung           Phuong        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1152024   09/13/10
 265    No Stamp   Truong           Kham          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1075558   09/13/10
 266    No Stamp   Truong           Pat (Phuoc)   Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1078391   09/13/10
 267    No Stamp   Vu               Hoang         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1069501   09/13/10
                   West Park
                   Market & Dell,
 268    No Stamp   Inc.                           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1149706   09/13/10
 269    No Stamp   White            Willard       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1036335   09/13/10
 270    No Stamp   White            Willard       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1036315   09/13/10
 271    No Stamp   Blue             Leroy         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1046460   09/14/10
                   BRB
                   Enterprises,
 272    34478170   L.L.C.                         Richard C. Brondum, et al v. BP, PLC, et al        Eastern District of Louisiana   2:10-CV-1613   Yes   1087701   09/14/10
 273    No Stamp   Brondum          Richard       Richard C. Brondum, et al v. BP, PLC, et al        Eastern District of Louisiana   2:10-CV-1613   Yes   1131364   09/14/10
 274    No Stamp   Charles          Donald        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1049311   09/14/10


Tab F                                                                                                                                                                          Page 7 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 9 of 122

 275    No Stamp   Charles          Kente     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1050422   09/14/10
 276    No Stamp   Chretein Sr.     Lash      Fruge, et al. v. BP, Plc, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   3014673   09/14/10
 277    No Stamp   Dameron          Carl      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1048163   09/14/10
 278    No Stamp   Davis            William   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1050563   09/14/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 279    No Stamp   Guillot          Adam      Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3014212   09/14/10
 280    No Stamp   Harding          Emerson   Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   3014034   09/14/10
 281    No Stamp   Harris           Deon      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051029   09/14/10
 282    No Stamp   Harris           Eric      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051646   09/14/10
 283    No Stamp   Harrison         Keldrex   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1050308   09/14/10
 284    No Stamp   Hartzog          Ronnie    Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   1092585   09/14/10
 285    No Stamp   Hayes            Rickie    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1050252   09/14/10
 286    No Stamp   Hoang            Tina      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1069117   09/14/10
 287    No Stamp   Jones            Joe       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1085659   09/14/10
 288    No Stamp   Jones            Kevin     Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   1041515   09/14/10
 289    No Stamp   Jones Jr.        George    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1047588   09/14/10
                   Lady More,
 290    No Stamp   LLC                        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1149861   09/14/10
 291    No Stamp   Le               Thaun     Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1132200   09/14/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 292    No Stamp   Marvis           Craig     Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3014030   09/14/10
 293    No Stamp   Mayne            Jonas     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051525   09/14/10
 294    No Stamp   McCorvey         Shawn     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051487   09/14/10
 295    No Stamp   McLellan         Dustin    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051457   09/14/10
 296    No Stamp   Mitchell         Justin    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1046794   09/14/10
 297    No Stamp   Moore            Adam      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1046847   09/14/10
 298    No Stamp   Moore            Joshua    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051339   09/14/10
                   Mrs. Kay, Inc.
                   d/b/a D & K
 299    No Stamp   Food Mart                  Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151129   09/14/10
 300    No Stamp   Murrell          Eddie     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1051189   09/14/10
 301    No Stamp   Murrell          McCline   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1047345   09/14/10
                   Natural Nine,
 302    No Stamp   LLC                        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1149868   09/14/10
 303    No Stamp   Nguyen           Duc       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1025502   09/14/10
 304    No Stamp   Noel             John      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1049176   09/14/10
                   Osaka Thai
 305    No Stamp   Corporation                Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151052   09/14/10
 306    No Stamp   Penn             Jessie    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1087387   09/14/10
 307    No Stamp   Pham             Hong      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151434   09/14/10
 308    No Stamp   Phan             Hung      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151367   09/14/10
 309    No Stamp   Phan             Vui       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151832   09/14/10
 310    No Stamp   Reels            Clark     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1053112   09/14/10
 311    No Stamp   Roane Jr.        Arthur    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1048271   09/14/10
 312    No Stamp   Roberts          Leon      Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752     Yes   3005691   09/14/10
 313    No Stamp   Schools Jr.      Lawson    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1047850   09/14/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 314    No Stamp   Shadowwolf       John      Company North America, Inc., et al.                Southern District of Texas      10-4225        Yes   3013875   09/14/10
                   Shinto
 315    No Stamp   Restaurant                 Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114     Yes   1151073   09/14/10
 316    No Stamp   Sigler           Tony      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1052573   09/14/10
 317    No Stamp   Smith            Timothy   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1053429   09/14/10

                   Speck Chaser
 318    34477946   Charters                   Richard C. Brondum, et al v. BP, PLC, et al        Eastern District of Louisiana   2:10-CV-1613   Yes   1131364   09/14/10
 319    No Stamp   Stanley      Gary          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472     Yes   1053000   09/14/10


Tab F                                                                                                                                                                      Page 8 of 22
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 10 of 122

 320    No Stamp   Stevenson       George      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1052434   09/14/10
 321    No Stamp   Tran            Bien        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1071223   09/14/10
 322    No Stamp   Tran            Binh        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1134881   09/14/10
 323    No Stamp   Tran            Che         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1100035   09/14/10
 324    No Stamp   Tran            Micki       Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1079010   09/14/10
                   Tu do
                   Vietnamese
                   Restaurant,
 325    No Stamp   Inc.                        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1149851   09/14/10
 326    No Stamp   Vu              Kim-Anh     Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1151391   09/14/10
 327    No Stamp   Waddy           Kelvin      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1052347   09/14/10
                                               Sunrise Rentals Enterprises, et al v. BP, Plc., et al;
 328    34479400   Wendelburg      Carrie      10-CV-261                                                Southern District of Alabama    10-3248       Yes   3014692   09/14/10
                                               Sunrise Rentals Enterprises, et al v. BP, Plc., et al;
 329    34482632   Wendelburg      Carrie      10-CV-261                                                Southern District of Alabama    10-3248       Yes   3014514   09/14/10
 330    No Stamp   Williams        Dennis      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1046937   09/14/10
 331    No Stamp   Williams        Nicholas    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1052259   09/14/10
 332    No Stamp   Williams        Randall     Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   3007592   09/14/10
 333    No Stamp   Young           Jimmy       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   3008916   09/14/10
 334    No Stamp   Arrington Sr.   Feldon      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1048855   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 335    No Stamp   Belton          Brian       Company North America, Inc., et al.                      Southern District of Texas      10-4225       Yes   3015760   09/15/10
 336    No Stamp   Borne           Kim         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1046664   09/15/10
 337    No Stamp   Bosarge         Michael     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1046507   09/15/10
 338    No Stamp   Burks           Aarien      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050091   09/15/10
 339    No Stamp   Bush            Sam         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1047727   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 340    No Stamp   Butler          Kirk        Company North America, Inc., et al.                      Southern District of Texas      10-4225       Yes   3015514   09/15/10
 341    No Stamp   Camara          Edwin       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   1107069   09/15/10
 342    No Stamp   Campbell        Kendrick    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1068784   09/15/10
 343    No Stamp   Carter Jr.      Albert      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1046703   09/15/10
 344    No Stamp   Chretein Jr.    Lash        Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   3015562   09/15/10
 345    No Stamp   Christopher     James       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050448   09/15/10
 346    No Stamp   Cline           Michael     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1047041   09/15/10
 347    No Stamp   Coleman         Dennis      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050476   09/15/10
 348    No Stamp   Demouey         Thomas      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1047140   09/15/10
 349    No Stamp   Fontenot        Keith       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1047877   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 350    No Stamp   Frye            Micheal     Company North America, Inc., et al.                      Southern District of Texas      10-4225       Yes   3015643   09/15/10
 351    No Stamp   Gathers         Harold      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1046633   09/15/10
 352    No Stamp   Gillyard        Darion      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050846   09/15/10
 353    No Stamp   Gillyard        Dominique   Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050816   09/15/10
 354    No Stamp   Godette         James       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1047192   09/15/10
 355    No Stamp   Green           Larry       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050895   09/15/10
 356    No Stamp   Greene Sr.      Timothy     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1036581   09/15/10
 357    No Stamp   Gruben          Kenneth     Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   3014925   09/15/10
 358    No Stamp   Harrison        Brandon     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050337   09/15/10
                   Hetherington
 359    No Stamp   Jr.             Elliot      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050226   09/15/10
 360    No Stamp   Hodas           Carrie      David Meyer, et al.                                      Southern District of Alabama    2:10CV02650   Yes   1099056   09/15/10
 361    No Stamp   Hopkins         Agedruis    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050184   09/15/10
 362    No Stamp   Hugue           Harry       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1049070   09/15/10
 363    No Stamp   Hunnings        David       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472    Yes   1050184   09/15/10
 364    No Stamp   Huynh           Mau         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1137468   09/15/10
 365    No Stamp   Huynh           Ngan        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114    Yes   1134897   09/15/10
 366    No Stamp   Jefferson       Larry       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752    Yes   3015713   09/15/10


Tab F                                                                                                                                                                            Page 9 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 11 of 122

 367    No Stamp   Johnnie       Curry         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1079964   09/15/10
 368    No Stamp   Jones         Richard       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1049089   09/15/10
 369    No Stamp   Kelly         Larry         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1052041   09/15/10
 370    No Stamp   Lai           Thuy-Ha       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135241   09/15/10
 371    No Stamp   Lancelin      Robert        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1051872   09/15/10
 372    No Stamp   Laws          Carroll       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1051814   09/15/10
 373    No Stamp   Le            Chau          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1024458   09/15/10
 374    No Stamp   Le            Luu           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1024852   09/15/10
 375    No Stamp   LeDay         Gregory       Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752   Yes   3015733   09/15/10
 376    No Stamp   LeDay         Tracy         Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752   Yes   3015756   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 377    No Stamp   Liprie        Anthony       Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015611   09/15/10
 378    No Stamp   Lonzo         Christopher   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1051742   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 379    No Stamp   Luce          Louis         Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015180   09/15/10
 380    No Stamp   Nettles       James         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1079367   09/15/10
 381    No Stamp   Nguyen        Canyh         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1152103   09/15/10
 382    No Stamp   Nguyen        Chau          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135258   09/15/10
 383    No Stamp   Nguyen        Jessica       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135269   09/15/10
 384    No Stamp   Nguyen        Joe           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1151445   09/15/10
 385    No Stamp   Nguyen        Kim-Thoa      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1054427   09/15/10
 386    No Stamp   Nguyen        Long          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1134905   09/15/10
 387    No Stamp   Nguyen        Mary          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1151459   09/15/10
 388    No Stamp   Nguyen        Oanh          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135681   09/15/10
 389    No Stamp   Nguyen        Tam           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135103   09/15/10
 390    No Stamp   Nguyen        Thuy          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135108   09/15/10
 391    No Stamp   Odom          Roy           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1036174   09/15/10
 392    No Stamp   Parker        Columbus      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1048286   09/15/10
 393    No Stamp   Patterson     Bob           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1036587   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 394    No Stamp   Peeples       William       Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015241   09/15/10
 395    No Stamp   Peoples       Marshall      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1049002   09/15/10
 396    No Stamp   Peoples       Roy           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1049480   09/15/10
 397    No Stamp   Petry Jr.     George        Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752   Yes   1106392   09/15/10
 398    No Stamp   Pham          Chon          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1075542   09/15/10
 399    No Stamp   Polk          Montrell      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1053226   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 400    No Stamp   Poppele       Andrew        Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015083   09/15/10
 401    No Stamp   Pugh          James         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1053165   09/15/10
 402    No Stamp   Readom        John          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1053131   09/15/10
 403    No Stamp   Robertson     Raymond       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1047387   09/15/10
 404    No Stamp   Schools III   L.P. Lawson   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1052702   09/15/10
 405    No Stamp   Scott         Robert        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1052634   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 406    No Stamp   Sharp         Jimmy         Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015393   09/15/10
 407    No Stamp   Shelton       Norman        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1047821   09/15/10
 408    No Stamp   Smith         Dale          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1052556   09/15/10
 409    No Stamp   Smith Jr.     Willie        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1047448   09/15/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 410    No Stamp   Talebli       Robert        Company North America, Inc., et al.                Southern District of Texas      10-4225      Yes   3015021   09/15/10
 411    No Stamp   Tran          Nhan          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1134890   09/15/10
 412    No Stamp   Tran          Thang         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1077848   09/15/10
 413    No Stamp   Vo            Minh          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1152004   09/15/10
 414    No Stamp   Vo            Phoung        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114   Yes   1135182   09/15/10
 415    No Stamp   Wilmore       Christopher   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1053644   09/15/10
 416    No Stamp   Ball          Darryl        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472   Yes   1047774   09/16/10


Tab F                                                                                                                                                                     Page 10 of 22
                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 12 of 122

 417    No Stamp   Bell           Jerry       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1049886   09/16/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 418    No Stamp   Bernard        Darren      Company North America, Inc., et al.                Southern District of Texas      10-4225       Yes   3013282   09/16/10
 419    No Stamp   Betancourt     Enrique     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1046971   09/16/10
 420    No Stamp   Brown          Bonzell     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1050071   09/16/10
 421    No Stamp   Bui            Theu        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1066601   09/16/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 422    No Stamp   Carr           David       Company North America, Inc., et al.                Southern District of Texas      10-4225       Yes   3016336   09/16/10
 423    No Stamp   Conway Jr.     Larry       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1050523   09/16/10
 424    No Stamp   Conway Sr.     Larry       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1047088   09/16/10
 425    No Stamp   Conway Sr.     Roscoe      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1046544   09/16/10
 426    No Stamp   Dias           Vincent     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1048929   09/16/10
 427    No Stamp   Fletcher       Cortlan     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1047903   09/16/10
 428    No Stamp   Foster         Adolphus    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1048293   09/16/10
 429    No Stamp   Francis        Jerald      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1048336   09/16/10
 430    No Stamp   Gaines, Jr.    Edward      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1050704   09/16/10
 431    34489239   Garbin         Vatroslav   Michael Ivic, et al v. BP, Plc, et al              Eastern District of Louisiana   10-CV-01249   Yes   1134463   09/16/10
 432    No Stamp   Garcia         Harold      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1049057   09/16/10
 433    No Stamp   George         Brandon     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1050750   09/16/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 434    No Stamp   Gibbs          Michele     Company North America, Inc., et al.                Southern District of Texas      10-4225       Yes   3016062   09/16/10
 435    No Stamp   Grady Jr.      O'Dell      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1050861   09/16/10
 436    No Stamp   Greene         Rayburn     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1052177   09/16/10
 437    No Stamp   Huynh          Anh         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1135155   09/16/10
 438    No Stamp   Huynh          Tuoi        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1098648   09/16/10
 439    No Stamp   Johnson        Clyde       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1047639   09/16/10
 440    No Stamp   Kenner         William     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1051965   09/16/10
 441    No Stamp   Labbe          Lorie       Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752    Yes   3016198   09/16/10
 442    No Stamp   Le             Tam         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1114291   09/16/10
 443    No Stamp   LeBlanc        Sha'Da      Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1752    Yes   3016503   09/16/10
 444    No Stamp   Levine         Adam        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1051758   09/16/10
 445    No Stamp   Lombardo       Matthew     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1053567   09/16/10
 446    No Stamp   Lu             David       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1024316   09/16/10
 447    No Stamp   Lu             Liet        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1024328   09/16/10
 448    No Stamp   Mitchell Jr.   Curtis      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1046760   09/16/10
 449    No Stamp   Newhouse       David       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1046862   09/16/10
 450    No Stamp   Newton         Frederick   Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1048710   09/16/10
 451    No Stamp   Nguyen         Bang        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1059143   09/16/10
 452    No Stamp   Nguyen         Chi         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1151474   09/16/10
 453    No Stamp   Nguyen         Christina   Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1120397   09/16/10
 454    No Stamp   Nguyen         Thanh       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1152141   09/16/10
 455    No Stamp   Nguyen         Thim        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1130339   09/16/10
 456    No Stamp   Pham           Diep        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1109769   09/16/10
 457    No Stamp   Pham           Ky          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1135250   09/16/10
 458    No Stamp   Pham           Si          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1083436   09/16/10
 459    No Stamp   Pham           Terry       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1152014   09/16/10
 460    No Stamp   Phillips       Demitcha    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1053293   09/16/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 461    No Stamp   Rafes          David       Company North America, Inc., et al.                Southern District of Texas      10-4225       Yes   3014329   09/16/10
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 462    No Stamp   Rice           Wilburn     Company North America, Inc., et al.                Southern District of Texas      10-4225       Yes   3016251   09/16/10
 463    No Stamp   Richardson     Edward      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1047363   09/16/10
 464    No Stamp   Ross, III      Wilbert     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1052824   09/16/10
 465    No Stamp   Sanders        Jason       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1052796   09/16/10
 466    No Stamp   Smith          Patrick     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472    Yes   1053611   09/16/10
 467    No Stamp   Thach          Vil         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-2114    Yes   1071396   09/16/10


Tab F                                                                                                                                                                     Page 11 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 13 of 122

 468    No Stamp   Thai          Tam           Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1134250   09/16/10
 469    No Stamp   Tran          Billy         Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1012960   09/16/10
 470    34477318   Truong        Tho           Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1151350   09/16/10
 471    No Stamp   Vu            Luot          Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1026376   09/16/10
 472    No Stamp   Walker        Charlie       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1049142   09/16/10
 473    No Stamp   Wallace       Claude        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1052327   09/16/10
 474    No Stamp   Washington    Robert        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1049501   09/16/10
 475    No Stamp   Wiltz         Felton        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1053731   09/16/10
 476    No Stamp   Abshire       Brad          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1049697   09/17/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 477    No Stamp   Bernard       Edward        Company North America, Inc., et al.                   Southern District of Texas      10-4225          Yes   3018190   09/17/10
 478    No Stamp   Bessard Sr.   Chris         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1049975   09/17/10
 479    No Stamp   Besteda       Alex          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1050007   09/17/10
 480    No Stamp   Bossley       Chester       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1048902   09/17/10
 481    No Stamp   Boyd          Major         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1046690   09/17/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 482    No Stamp   Broussard     Margo         Company North America, Inc., et al.                   Southern District of Texas      10-4225          Yes   3017926   09/17/10
 483    No Stamp   Carter        Johnie        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1050123   09/17/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 484    No Stamp   Clark         Fred          Company North America, Inc., et al.                   Southern District of Texas      10-4225          Yes   3018024   09/17/10
 485    No Stamp   Cole          John          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1050454   09/17/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 486    No Stamp   Crumpton      Raymond       Company North America, Inc., et al.                   Southern District of Texas      10-4225          Yes   3017883   09/17/10
 487    No Stamp   Dameron       Michael       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1048365   09/17/10
 488    No Stamp   Dunigan       Jerry         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1054074   09/17/10
 489    No Stamp   Edwards       Donnie        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1048068   09/17/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 490    No Stamp   Evans         Jarrett       Company North America, Inc., et al.                   Southern District of Texas      10-4225          Yes   3018147   09/17/10
 491    No Stamp   Fauntleroy    Frankie       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1047972   09/17/10
 492    No Stamp   Fauntleroy    Terry         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1047950   09/17/10
 493    No Stamp   Felton        Swannie       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1047929   09/17/10
 494    No Stamp   Fisher        Joseph        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1047698   09/17/10
 495    No Stamp   Folts         Steven        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1046607   09/17/10
 496    No Stamp   Gibbs         William       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1050800   09/17/10
 497    No Stamp   Ho            Ret           Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1135228   09/17/10
 498    34482939   Kelsch        Christopher   CJK Fab & Consulting v. BP, Plc, et al                Eastern District of Louisiana   2:10-CV-02839    Yes   1038420   09/17/10
 499    No Stamp   Knight        Derrick       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1051957   09/17/10
 500    No Stamp   Lee           Altonio       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1026530   09/17/10
 501    No Stamp   Levere        Waverly       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1051801   09/17/10
 502    No Stamp   Lewis         Lester        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1049106   09/17/10
 503    No Stamp   Mason         Calvin        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1048596   09/17/10
 504    No Stamp   Nguyen        Thanh         Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1134924   09/17/10
 505    No Stamp   Nguyen        Thanh         Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1152148   09/17/10
 506    No Stamp   Nguyen        Thuan         Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1135202   09/17/10
 507    No Stamp   Nguyen        Trang         Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114       Yes   1136446   09/17/10
 508    No Stamp   Peoples       Santez        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1053333   09/17/10
 509    No Stamp   Pillette      Arnold        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1053259   09/17/10
 510    34455203   Schaff        Darren        Captain Darren P. Schaff v. BP, Plc, et al            Eastern District of Louisiana   10-01484         Yes   1020980   09/17/10
 511    No Stamp   Sigler        Lee Anthony   Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1052611   09/17/10
 512    No Stamp   Simmons       Gerald        Capt Ander, Inc. v. BP, PLC, et al.                   Northern District of Florida    10-4205          Yes   3017354   09/17/10
 513    No Stamp   Sisson        Raymond       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1053412   09/17/10
                                               Jack Arias, et al. v. BP Company North America,
 514    No Stamp   Sparacino     Maria         Inc., et al.                                          Southern District of Texas      10-4224          Yes   3018241   09/17/10
 515    No Stamp   Spates        Baylan        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1052513   09/17/10
 516    34460859   Stelly        Toby          William Gregoire, et al v. Transocean, Ltd., et al.   Eastern District of Louisiana   02:10-CV-01351   Yes   1032976   09/17/10
 517    No Stamp   Stewart Jr.   John          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472       Yes   1052404   09/17/10


Tab F                                                                                                                                                                            Page 12 of 22
                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 14 of 122

 518    No Stamp   Tran             Ha         Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114          Yes   1054389   09/17/10
 519    No Stamp   Williams         Dimitrik   Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472          Yes   1053450   09/17/10
 520    No Stamp   Johnson          Colby      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472          Yes   1052117   09/18/10
                                               American Gulf Seafood LLC, et al. vs. BP, PLC, et
 521    34486281   Barthelomew      Wanda      al.                                                  Eastern District of Louisiana    2:10-CV-01970       Yes   3020337   09/19/10
 522    No Stamp   Joiner           James      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472          Yes   1054286   09/19/10
 523    No Stamp   Steele           William    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472          Yes   1052459   09/19/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 524    No Stamp   Debrow           John       Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3021889   09/20/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 525    No Stamp   Holtrey          George     Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3022157   09/20/10
 526    34447949   Lantier, et al   Rickey     Rickey Laintier, et al vs. BP America Inc., et al    Eastern District of Louisiana    10-4144             Yes   1106038   09/20/10
 527    No Stamp   Le               Duc        Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114          Yes   1135466   09/20/10
 528    No Stamp   LeBlanc          Carlton    Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   3016450   09/20/10
 529    No Stamp   Palmer           Wayne      Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   1128097   09/20/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 530    No Stamp   Plumb            Vincent    Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3021695   09/20/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 531    No Stamp   Sinku            Jon        Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3022036   09/20/10
                                               Jack Arias, et al. v. BP Company North America,
 532    No Stamp   Corliss          Roger      Inc., et al.                                         Southern District of Texas       10-4224             Yes   3018487   09/21/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 533    No Stamp   Kidder           Mark       Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3024201   09/21/10
 534    No Stamp   Noel             Samuel     Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   1106372   09/21/10
 535    34485748   Gaskins          Matthew    Matthew Gaskins v. BP, Plc, et al                    US District Court Western Disc   2:20-CV-00738       Yes   1129879   09/22/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 536    No Stamp    Howard          Thomas     Company North America, Inc., et al.                  Southern District of Texas       10-4225             Yes   3029261   09/22/10
        34473312;34                            Billy's Seafood et al v Transocean Holdings et al
 537    472566      Parks           Billy      (See Attached)                                       Southern District of Alabama     10-VV-215           Yes   1167494   09/22/10
 538    No Stamp    Sarris          George     The Fish Market Restaurant, Inc. v. BP, Plc, et al   Southern District of Alabama     10-4192             Yes   3030122   09/22/10
                                               Dr. Seymour Stricker, Ind & as Proposed Class Rep                                     3:10-CV-00229-LC-
 539    34463141   Stricker         Seymour    vs. BP P.L.C., et al.                                Northern District of Florida     EMT                 Yes   1169106   09/22/10
                                               Timmons Restaurant Partners, Ltd. d/b/a Tony's, et
 540    34487414   Vallone          Lauri      al. vs. BP Company North America, et al              Southern District of Texas       10-4237             Yes   3016929   09/22/10
 541    No Stamp   Andrus           Floyd      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472          Yes   3032726   09/23/10
 542    No Stamp   Ben              Rogers     Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   3033564   09/23/10
 543    No Stamp   Broussard        Mark       Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   3035022   09/23/10
 544    No Stamp   Carrera          Gilberto   Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   3035174   09/23/10
 545    No Stamp   Ceaser Jr.       Willie     Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana    10-CV-1752          Yes   3035323   09/23/10
 546    No Stamp   Hodas            Kier       David Meyer, et al.                                  Southern District of Alabama     2:10CV02650         Yes   3034328   09/23/10
 547    34488395   Jurisic          Jakov      Michael Ivic, et al v. BP, Plc, et al                Eastern District of Louisiana    10-CV-01249         Yes   1111236   09/23/10
 548    34488779   Jurisic          Jakov      Michael Ivic, et al v. BP, Plc, et al                Eastern District of Louisiana    10-CV-01249         Yes   1134455   09/23/10
 549    No Stamp   Senabandith      Khamphoy   Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114          Yes   1125778   09/23/10
                   T & T Foot
 550    No Stamp   Mart, Inc.                  Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114          Yes   1151536   09/23/10
                                               Dana Banks v. Transocean LTD, et al - 10-CV-10045-
 551    34470478   Banks            Dana       KMM                                                Southern District of Florida       2:10CV02979         Yes   3036890   09/24/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 552    No Stamp   Day              Worth      Company North America, Inc., et al.                Southern District of Texas         10-4225             Yes   3037071   09/24/10
 553    No Stamp   Frederick        Charlie    Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752          Yes   3037423   09/24/10
 554    No Stamp   Lewis            Johnny     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472          Yes   1047534   09/24/10
 555    No Stamp   Morgan           Jeb        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472          Yes   1061293   09/24/10
 556    No Stamp   Nguyen           Thanh      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114          Yes   1134913   09/24/10
 557    No Stamp   Barks            Ricky      Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752          Yes   3040614   09/26/10
 558    No Stamp   DeShields        Brandon    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472          Yes   3040614   09/26/10
 559    No Stamp   Ball Jr.         William    Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472          Yes   1049208   09/27/10


Tab F                                                                                                                                                                               Page 13 of 22
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 15 of 122

 560    No Stamp   Bell             Joseph      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1069566   09/27/10
 561    No Stamp   Evans Sr.        James       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1048000   09/27/10
                                                James E. Fisher and Kate C. Fisher v. BP, PLC., et       Circuit Court of Baldwin County,
 562    34482632   Fisher           James       al, CV-2010-901237                                       Alabama                            10-4187         Yes   1126362   09/27/10
                                                James E. Fisher and Kate C. Fisher v. BP, PLC., et       Circuit Court of Baldwin County,
 563    34482632   Fisher           Kate        al, CV-2010-901237                                       Alabama                            10-4187         Yes   1126362   09/27/10
 564    No Stamp   Huynh            Duc         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1135191   09/27/10
 565    No Stamp   Le               Michael     Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1125737   09/27/10
 566    No Stamp   Le               Michelle    Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1151136   09/27/10
 567    34493417   Raffield         Eugene      Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida       2:10-CV-03102   Yes   3023321   09/27/10
 568    34486735   Raffield         Eugene      Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida       2:10-CV-03102   Yes   3023321   09/27/10
 569    No Stamp   Sparks           Ron         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1048185   09/27/10
 570    No Stamp   Broussard        Cori        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1049163   09/28/10
 571    No Stamp   Cessac           Thomas      Fruge, et al. v. BP, Plc, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3045391   09/28/10
 572    No Stamp   Combs            Kim         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1046146   09/28/10
 573    No Stamp   Dang             Xuan        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1042084   09/28/10
 574    No Stamp   Davis            Joseph      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3045455   09/28/10
 575    34489490   Dekovic          Danijel     Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana      10-CV-01249     Yes   1042902   09/28/10
 576    No Stamp   Doung            My          Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1024856   09/28/10
 577    No Stamp   Eldridge         Jamario     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1048028   09/28/10
 578    No Stamp   Foreman          Jerrian     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1047863   09/28/10
 579    No Stamp   Gregory          Raymond     Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   1079986   09/28/10
 580    No Stamp   Guidry           Demond      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1050906   09/28/10
 581    No Stamp   Guidry Jr.       James       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3045583   09/28/10
 582    No Stamp   Gutknecht        Jeffrey     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1050951   09/28/10
 583    No Stamp   Hobbs            David       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3045632   09/28/10
 584    No Stamp   Hudson           Travis      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3045676   09/28/10
 585    No Stamp   Huntley          Eric        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   3045676   09/28/10
 586    No Stamp   Johnson          Bernard     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1048848   09/28/10
 587    No Stamp   Johnwell         Tommie      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046143   09/28/10
 588    No Stamp   Lemelle          Mark        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   3046376   09/28/10
 589    No Stamp   Lorden           Merlin      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046493   09/28/10
 590    No Stamp   Luvert Jr.       Eugene      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1088314   09/28/10
 591    No Stamp   Mitchell         Brett       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1048633   09/28/10
 592    No Stamp   Morris Jr.       Maurice     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1051225   09/28/10
 593    No Stamp   Mouton           Curtis      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046532   09/28/10
 594    No Stamp   Nguyen           Bao         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1134943   09/28/10
 595    No Stamp   Nguyen           Edward      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046278   09/28/10
 596    No Stamp   Nguyen           Myha        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1149687   09/28/10
 597    No Stamp   Nguyen           Tom         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1095708   09/28/10
 598    No Stamp   Nguyen           Trung       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046120   09/28/10
 599    No Stamp   Noel             Franklin    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1049439   09/28/10
                                                Fishing Magician Charters, LLC v. BP (See
 600    34468595   Nunez            Catherine   Attached)                                                Eastern District of Louisiana      10-1338         Yes   1135192   09/28/10
 601    No Stamp   Nunez            Victor      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   3046413   09/28/10
 602    No Stamp   Odom             Ray         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1051054   09/28/10
 603    No Stamp   Proctor          Jermiah     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1079908   09/28/10
 604    No Stamp   Richard          Wayne       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472      Yes   1052927   09/28/10
 605    No Stamp   Ton              Trinh       Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1134872   09/28/10
 606    No Stamp   Tran             Thanh       Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1071239   09/28/10
 607    No Stamp   Holmes           Elijah      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752      Yes   1064556   09/29/10
                   MC Mart, LLC
                   (Greensburg
                   Seafood &
 608    No Stamp   Deli)                        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana      10-CV-2114      Yes   1149781   09/29/10
 609    34478457   Rodriguez, Jr.   Joseph      Papa Rod, Inc. et al v. BP, PLC et al                    Southern District of Alabama       10-3250         Yes   3047944   09/29/10


Tab F                                                                                                                                                                                  Page 14 of 22
                                                      Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 16 of 122

 610    No Stamp   Ta               Ly            Le, et al. v. BP, PLC, et al.                              Eastern District of Louisiana   10-CV-2114        Yes    1151858   09/29/10
 611    No Stamp   Williams         Beatrice      Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3007613   09/29/10
 612    No Stamp   Brown            Ronald        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1052977   09/30/10
 613    No Stamp   Chang            Mi            Le, et al. v. BP, PLC, et al.                              Eastern District of Louisiana   10-CV-2114        Yes    1151551   09/30/10
 614    No Stamp   Crockett         Alfred        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1053547   09/30/10
 615    No Stamp   Hyatt            Christopher   Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3053242   09/30/10
 616    No Stamp   Levy             Robert        Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3052780   09/30/10
 617    No Stamp   Mitchell         Cornell       Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3052650   09/30/10
 618    No Stamp   Nguyen           Tony          Le, et al. v. BP, PLC, et al.                              Eastern District of Louisiana   10-CV-2114        Yes    1151585   09/30/10
 619    No Stamp   Reels            Alonza        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1048275   09/30/10
                                                  American Gulf Seafood LLC, et al. vs. BP, PLC, et
 620    34486281   Smith            Brian         al.                                                        Eastern District of Louisiana   2:10-CV-01970     Yes    1028196   09/30/10
 621    No Stamp   Vo               Quoc          Le, et al. v. BP, PLC, et al.                              Eastern District of Louisiana   10-CV-2114        Yes    1149682   09/30/10
 622    No Stamp   Callaway         Waylon        Waylon C Callaway v. QBP PLC, et al.                       Southern District of Alabama    10-3257           Yes    3067553   10/01/10
                                                  Juan Esquivel, et al. v. BP Company North America,
 623    No Stamp   Cardiel          Ruben         Inc., et al.                                               Southern District of Texas      10-4214           Yes    3067624   10/01/10
 624    34440333   Leger            Scott         Cajun Offshore Charters, LLC v. BP, PLC, et al             Eastern District of Louisiana   10-1341           Yes    1076464   10/01/10

                   Orange Beach                   Orange Beach Marina, Inc., et al. v. Transocean
 625    34491243   Marina, Inc.                   Holdings, Inc., et al                                      Southern District of Alabama    10-CV-2651        Yes    1087889   10/01/10
 626    34444148   Brigtsen         Frank         A Bar & Grill with a Bite, Inc., et al v. BP, PLC, et al   Eastern District of Louisiana   10-01499          Yes    3086146   10/02/10   01/19/11
 627    34443201   Brigtsen         Frank         A Bar & Grill with a Bite, Inc., et al v. BP, PLC, et al   Eastern District of Louisiana   10-01499          Yes    3086256   10/02/10
 628    No Stamp   Merida           Jose          Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    1106593   10/02/10
 629    No Stamp   Williams         Michael       Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    1106593   10/02/10
 630    No Stamp   Reed             Curley        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1053119   10/03/10
                                                  Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 631    No Stamp   Shedrick         Daniel        Company North America, Inc., et al.                        Southern District of Texas      10-4225            Yes   1130119   10/03/10
 632    No Stamp   Shirley          Richard       Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472         Yes   1048249   10/03/10
 633    No Stamp   Smith            Welford       Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472         Yes   1052537   10/03/10
 634    34471244   Alexie           Felix         Felix Alexie, Jr., et al. v. BP, PLC, et al.               USDC, Eastern District          10-1250            Yes   1049764   10/04/10
                                                  Bruce Kyle Bang v. BP, PLC, BP Products North                                              2:10-CV-02097-CJB-
 635    34422543   Bang             Bruce         America, Inc., et al                                       Eastern District of Louisiana   SS                 Yes   1096281   10/04/10
                                                  American Gulf Seafood LLC, et al. vs. BP, PLC, et
 636    34486281   Celestin         Donald        al.                                                        Eastern District of Louisiana   2:10-CV-01970     Yes    1107288   10/04/10
 637    34741937   Drawdy           Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.           Eastern District of Louisiana   10-2660           Yes    1126525   10/04/10
 638    No Stamp   Drawdy           Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.           Eastern District of Louisiana   10-2660           Yes    1126525   10/04/10
 639    No Stamp   Ivey             Joseph        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1050143   10/04/10
 640    No Stamp   Maye             Robert        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1098905   10/04/10
 641    No Stamp   McMillian        Roderick      Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1051407   10/04/10
 642    No Stamp   Morris           Oris          Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1036547   10/04/10
 643    No Stamp   Smith            Ruston        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1049133   10/04/10
 644    No Stamp   Veney            Kendrick      Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1048744   10/04/10
 645    34483429   Alexandria       Curtis        Fruge, et al. v. BP, Plc, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    1106491   10/05/10
 646    No Stamp   Amburn           Preston       Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1053454   10/05/10
 647    No Stamp   Ball             Clarence      Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1074383   10/05/10
                   Blue Water
                   Yacht Sales &                  Blue Water Yacht Sales, etc. v. Transocean
 648    34491243   Services, Inc.                 Holdings, Inc., et al.                                     Southern District of Alabama    10-CV-02656       Yes    1101018   10/05/10
 649    No Stamp   Dahlen           Richard       Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3101581   10/05/10
 650    No Stamp   Doxey            William       Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    1137296   10/05/10
 651    No Stamp   Druilhet         William       Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1087371   10/05/10
 652    No Stamp   Fowlkes          Larry         Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1048934   10/05/10
 653    No Stamp   Fruge            John          Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    1106933   10/05/10
 654    No Stamp   Guzman           Damian        Fruge, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-1752        Yes    3102848   10/05/10
 655    No Stamp   Heathmon         Isaiah        Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1069630   10/05/10
 656    No Stamp   Hudson Jr.       Roosevelt     Mitchell, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1472        Yes    1069624   10/05/10


Tab F                                                                                                                                                                                      Page 15 of 22
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 17 of 122

 657    No Stamp   Hutchins        Kenneth     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1069624   10/05/10
 658    No Stamp   Morris Jr.      Jerry       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1051293   10/05/10
 659    No Stamp   Penn            Sammie      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1041291   10/05/10
 660    No Stamp   Perkins         Shelton     Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3004800   10/05/10
 661    No Stamp   Richardson      Trinity     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1079900   10/05/10
 662    No Stamp   Cascio          Joshua      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1049325   10/06/10
 663    No Stamp   Cox Jr.         Melvin      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3036924   10/06/10
 664    No Stamp   Dameron         Jeffrey     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1079876   10/06/10
 665    No Stamp   Gallagher       Kevin       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1053479   10/06/10
 666    No Stamp   Guzman          Fernando    Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   1107036   10/06/10
                   Guzman-
 667    No Stamp   Ramirez         Adrian      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3105593   10/06/10
 668    No Stamp   Meaux           Joseph      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   1106332   10/06/10
 669    No Stamp   Prejean         Arthur      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3005228   10/06/10
 670    No Stamp   Pugh            Donald      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1051019   10/06/10
 671    No Stamp   Watson          Shaun       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1110817   10/06/10
 672    No Stamp   Ardoin          Nicholas    Fruge, et al. v. BP, Plc, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3117750   10/07/10
                                               Alpasito, Inc., et al. v. BP Company North America,
 673    No Stamp   Boudreaux       Wallace     Inc., et al.                                          Southern District of Texas      10-4216         Yes   3118523   10/07/10
 674    No Stamp   Nguyen          Dang        Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114      Yes   3115521   10/07/10
 675    34486183   Roberts         Larry       Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   1074755   10/07/10
 676    34389429   Russell         Scott       Bradley Shivers, et al v. BP, PLC, et al              Southern District of Alabama    1:10-CV-381     Yes   1129494   10/07/10
 677    No Stamp   Thomas          Junius      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1054194   10/07/10
 678    No Stamp   Mendoza         Timothy     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1051394   10/08/10
                                               Alpasito, Inc., et al. v. BP Company North America,                                                                   10/08/10;
 679    No Stamp   Loupe          Penny        Inc., et al.                                          Southern District of Texas      10-4216         Yes   3141555   10/11/10
 680    34490554   Cooper         Acy          Acy J. Cooper, Jr., et al. v. BP, PLC, et al.         Eastern District of Louisiana   10-1229         Yes   1005590   10/11/10
                   Fort Morgan
                   Sales, Rentals
                   &
                   Development,                Fort Morgan Sales, Rentals & Development, Inc., et
 681    34491243   Inc.                        al. v. Transocean Holdings, Inc., et al.              Southern District of Alabama    10-CV-02645     Yes   1135680   10/12/10    01/14/11
 682    No Stamp   Ball           William      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1049827   10/12/10
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 683    No Stamp   Hudson          Brandon     Company North America, Inc., et al.                   Southern District of Texas      10-4225         Yes   3166250   10/13/10
                                               T&D Fishery, LLC et al. v. BP PLC et al. 2:10-CV-
 684    34477885   Roussel         Delvin      01332                                                 Eastern District of Louisiana   2:10-CV-01332   Yes   1099653   10/13/10
 685    No Stamp   Smith Jr.       David       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3006458   10/13/10
                   Copeland's of
                   New Orleans,                Copeland's of New Orleans, Inc.; Cheesecake
 686    34474635   Inc.                        Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC     Eastern District of Louisiana   10-1926         Yes   1099922   10/14/10
                   Copeland's of
                   New Orleans,                Copeland's of New Orleans, Inc.; Cheesecake
 687    34493900   Inc.                        Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC     Eastern District of Louisiana   10-1926         Yes   1099922   10/14/10
 688    No Stamp   Day             Charles     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1050595   10/14/10
 689    No Stamp   Hill            Kevin       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1085599   10/14/10
 690    No Stamp   Lett            Terrance    Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1110844   10/14/10
 691    34455203   Verdin          Irene       Captain Irene D. Verdin v. BP,Plc, et al              Eastern District of Louisiana   10-CV-1842      Yes   3014154   10/14/10
 692    No Stamp   Benoit          Jeffrey     Fruge, et al. v. BP, Plc, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3186789   10/15/10
 693    No Stamp   Shelton         Steve       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   3006090   10/15/10
 694    No Stamp   Williams        Solomon     Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3007624   10/15/10
 695    No Stamp   Thomas          Damien      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1085631   10/16/10
 696    No Stamp   LeBlanc         Wanda       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   3016484   10/17/10
 697    No Stamp   Benfield        Nathaniel   Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      Yes   1122232   10/18/10
 698    No Stamp   Noel, Sr.       Carroll     Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1051063   10/18/10
 699    No Stamp   Shelvin Sr.     Brad        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      Yes   1052563   10/18/10


Tab F                                                                                                                                                                            Page 16 of 22
                                                        Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 18 of 122

                                                     Troy Wetzel, et al v. Transocean Ltd., et al
 700    34472831      Tayamen         Mark           (Intervenor)                                           Eastern District of Louisiana   10-1222         Yes   1080039   10/18/10
                                                     Troy Wetzel, et al v. Transocean Ltd., et al
 701    34492944      Tayamen         Mark           (Intervenor)                                           Eastern District of Louisiana   10-1222         Yes   1080039   10/18/10
 702    No Stamp      Campbell        Kareem         Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   1044623   10/19/10
 703    No Stamp      Fisher          Herbert        Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   1106916   10/20/10
                      Revenue
                      Properties
                      Southland
                      Limited                        Revenue Properties Southland Limited Partnership
 704    34474900      Partnership                    v. BP, PLC et al                                       Eastern District of Louisiana   10-1947         Yes   1172581   10/20/10
                      Revenue
                      Properties
                      Southland
                      Limited                        Revenue Properties Southland Limited Partnership
 705    34494147      Partnership                    v. BP, PLC et al                                       Eastern District of Louisiana   10-1947         Yes   1172581   10/20/10
 706    34489273      Rodriquez Jr.   Joseph         Sea Eagle Fisheries, Inc., et al. v. BP, PLC, et al.   Southern District of Alabama    10-2661         Yes   3239658   10/20/10
 707    No Stamp      Chretein        Julius         Fruge, et al. v. BP, Plc, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3015546   10/21/10
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 708    No Stamp      Clark           Raymond        Company North America, Inc., et al.                    Southern District of Texas      10-4225         Yes   3042397   10/21/10
 709    No Stamp      Druilhet        Gerald         Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   1106833   10/21/10
 710    No Stamp      Fairley         John           Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472      Yes   1039994   10/21/10
 711    No Stamp      Hearn           Clifton        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472      Yes   1054280   10/21/10
 712    No Stamp      Toups           Linwood        Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3007058   10/21/10
        34482005;34
 713    491153        Neumeyer Jr.    Rodney         Charles C. Elmer, et al. v. BP, P.L.C., et al.         Eastern District of Louisiana   10-1515         Yes   3274908   10/24/10
                                                     Acy J. Cooper, Jr., et al. v. BP, PLC, BP Products
 714    34491967      Anderson        Ronald         North AAM., et al.                                     Eastern District of Louisiana                   Yes   1072061   10/25/10
 715    No Stamp      Borders         Ronald         Fruge, et al. v. BP, Plc, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3291073   10/26/10
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 716    34486281      Caywood         Conrad         al.                                                    Eastern District of Louisiana   2:10-CV-01970   Yes   3295152   10/26/10
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 717    34486281      Caywood         Kenneth        al.                                                    Eastern District of Louisiana   2:10-CV-01970   Yes   3295152   10/26/10
 718    No Stamp      Doxey           Barrett        Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3017491   10/26/10
 719    No Stamp      Trejo           Gregorio       Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3007148   10/26/10
                                                     Alpasito, Inc., et al. v. BP Company North America,
 720    No Stamp      Boudreaux       Kalei          Inc., et al.                                           Southern District of Texas      10-4216         Yes   3119043   10/27/10
                                                     Alpasito, Inc., et al. v. BP Company North America,
 721    No Stamp      Boudreaux       Wallace        Inc., et al.                                           Southern District of Texas      10-4216         Yes   3167214   10/27/10
 722    No Stamp      Bosarge         Barney         Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472      Yes   1079031   10/28/10
                                                     Gulf Shores West Beach Investments, LLC et al v
 723    No Stamp      Elkins          Terry;Janice   Transocean Holdings, Inc. et al (See Attached)         Southern District of Alabama    10-CV-213       Yes   1046940   10/28/10
                      Elkins as                      Gulf Shores West Beach Investments, LLC et al v
 724    No Stamp      Trustees        Terry;Janice   Transocean Holdings, Inc. et al (See Attached)         Southern District of Alabama    10-CV-213       Yes   1046940   10/28/10
                                                     Bryan C. Carrone and Raymond K. Landry,
                                                     Individually and on Behalf of Themselves and all
 725    34487660      Landry          Raymond        others Similarly Situated                              Eastern District of Louisiana   2:10-CV-01315   Yes   1135296   10/28/10
                      Margaritaville,                Fort Morgan Sales, Rentals & Development, Inc., et
 726    34491243      LLC                            al. v. Transocean Holdings, Inc., et al                Southern District of Alabama    10-CV-02645     Yes   1072783   10/28/10
 727    No Stamp      McCall          Theodore       Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472      Yes   1051503   10/28/10
 728    No Stamp      Swire           Lionel         Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752      Yes   3006661   10/28/10
                                                     Gulf Shores West Beach Investments, LLC et al v
 729    No Stamp      Elkins          Terry;Janice   Transocean Holdings, Inc. et al (See Attached)         Southern District of Alabama    10-CV-213       Yes   3320463   10/29/10
 730    No Stamp      Petitjean       John           John Petitjean; et al. v. BP, PLC, et al.              Northern District of Florida    10-4201         Yes   3318920   10/29/10
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 731    No Stamp      Brooks          Timothy        Company North America, Inc., et al.                    Southern District of Texas      10-4225         Yes   3016558   11/01/10


Tab F                                                                                                                                                                                  Page 17 of 22
                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 19 of 122

                                                 Gulf Shores West Beach Investments, LLC et al v
 732    34481394   Elkins        Terry           Transocean Holdings, Inc. et al (See Attached)           Southern District of Alabama    10-CV-213        Yes   1047943   11/02/10
                                                 Gulf Shores West Beach Investments, LLC et al v
 733    No Stamp   Goldsworthy   Susan;Richard   Transocean Holdings, Inc. et al (See Attached)           Southern District of Alabama    10-CV-213        Yes   1047985   11/02/10
 734    No Stamp   Tran          Manh            Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana   10-CV-2114       Yes   1098538   11/02/10
                                                 Destin, et al. c. BP PLC, et al. - Case No. 3:10-CV-
 735    34471245   Destin        Dewey           00141 MCR EMT                                            Northern District of Florida                     Yes   3345856   11/03/10
 736    34489616   Murray        Arthur          Winnie's Artsy Cafe, LLC v. BP, PLC, et al               Eastern District of Louisiana   2:10-CV-02820    Yes   3098749   11/03/10
 737    34489616   Murray        Arthur          Winnie's Artsy Cafe, LLC v. BP, plc, et al               Eastern District of Louisiana   2:10-CV-02820    Yes   3098749   11/03/10

 738    34485148   Rash          Steven          Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671    Yes   3347969   11/03/10

 739    34493417   Rash          Steven          Water Street Seafood Inc., et al. v. B.P., PLC., et al Northern District of Florida      2:10-CV-02671    Yes   3347969   11/03/10
                   Sorenson-                     Professional Bars, Inc. d/b/a Brass Monkey, Ind & as                                     4:10-CV-10056-
 740    34462702   Flowers       Judith          Proposed Class Rep vs. BP P.L.C., et al.               Southern District of Florida      Martinez/Brown   Yes   1174393   11/03/10
 741    No Stamp   Baily         Willis          Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana     10-CV-1472       Yes   1049742   11/04/10
 742    No Stamp   Bartie        Sean            Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-1752       Yes   1014538   11/04/10
                                                 Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 743    No Stamp   Bruce         Michael         Company North America, Inc., et al.                    Southern District of Texas        10-4225          Yes   3021788   11/04/10
 744    No Stamp   Burton        Christopher     Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana     10-CV-1472       Yes   1052209   11/04/10
 745    No Stamp   Henderson     Godwin          Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-1752       Yes   1107077   11/04/10
 746    No Stamp   McBride       Clarence        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana     10-CV-1472       Yes   1079944   11/04/10
 747    No Stamp   McGhee        Antonia         Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana     10-CV-1472       Yes   1040340   11/04/10
 748    No Stamp   Summers       Marvin          Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana     10-CV-1472       Yes   3006660   11/04/10
 749    No Stamp   Wright        Kent            Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-1752       Yes   3008912   11/04/10
 750    No Stamp   Cleary        Ronnie          Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-1752       Yes   3358257   11/05/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 751    No Stamp   Carinhas      Jack            Inc., et al.                                           Southern District of Texas        10-4216          Yes   3213092   11/06/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 752    No Stamp   Hernandez     Arturo          Inc., et al.                                           Southern District of Texas        10-4216          Yes   3303831   11/06/10
                                                 Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 753    No Stamp   Hinds         Scott           Company North America, Inc., et al.                    Southern District of Texas        10-4225          Yes   3301417   11/06/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 754    No Stamp   Linwood       Dolby           Inc., et al.                                           Southern District of Texas        10-4216          Yes   3213092   11/06/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 755    No Stamp   Linwood       Dolby           Inc., et al.                                           Southern District of Texas        10-4216          Yes   3213092   11/06/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 756    No Stamp   Linwood       Dolby           Inc., et al.                                           Southern District of Texas        10-4216          Yes   3212813   11/06/10
                                                 Alpasito, Inc., et al. v. BP Company North America,
 757    No Stamp   Linwood       Dolby           Inc., et al.                                           Southern District of Texas        10-4216          Yes   3213092   11/06/10
                                                 Felix C. Aguilar, et al. vs. BP Company North
 758    No Stamp   Martinez      Hector          America, et al.                                        Southern District of Texas        10-4220          Yes   3175153   11/06/10
                                                 Felix C. Aguilar, et al. vs. BP Company North
 759    No Stamp   Martinez      Juan            America, et al.                                        Southern District of Texas        10-4220          Yes   3175927   11/06/10
                                                 Jack Arias, et al. v. BP Company North America,
 760    No Stamp   May           Sharon          Inc., et al.                                           Southern District of Texas        10-4224          Yes   3115051   11/06/10
                                                 Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 761    No Stamp   Michael       Debbie          Company North America, Inc., et al.                    Southern District of Texas        10-4225          Yes   3177247   11/06/10
                                                 Felix C. Aguilar, et al. vs. BP Company North
 762    No Stamp   Ochoa         Artemio         America, et al.                                        Southern District of Texas        10-4220          Yes   3248900   11/06/10
                                                 Felix C. Aguilar, et al. vs. BP Company North
 763    No Stamp   Rey           Mariano         America, et al.                                        Southern District of Texas        10-4220          Yes   3114963   11/06/10
                                                 Juan Esquivel, et al. v. BP Company North America,
 764    No Stamp   Rodriguez     Isauro          Inc., et al.                                           Southern District of Texas        10-4214          Yes   3340393   11/06/10
                                                 Juan Exquivel, et al. v. BP Company North America,
 765    No Stamp   Zapata        Juan            Inc., et al.                                           Southern District of Texas        10-4214          Yes   3341036   11/06/10


Tab F                                                                                                                                                                                 Page 18 of 22
                                            Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 20 of 122

                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 766    34487414   Andelin    Daniel     Company North America, Inc., et al.                   Southern District of Texas         10-4225       Yes   3301858   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 767    No Stamp   Linwood    Dolby      Inc., et al.                                          Southern District of Texas         10-4216       Yes   3212151   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 768    No Stamp   Linwood    Dolby      Inc., et al.                                          Southern District of Texas         10-4216       Yes   3212390   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 769    No Stamp   Linwood    Dolby      Inc., et al.                                          Southern District of Texas         10-4216       Yes   3213650   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 770    No Stamp   Linwood    Dolby      Inc., et al.                                          Southern District of Texas         10-4216       Yes   3213412   11/07/10
                                         Felix C. Aguilar, et al. vs. BP Company North
 771    No Stamp   Torres     Thomas     America, et al.                                       Southern District of Texas         10-4220       Yes   3146348   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 772    34487414   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3187767   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 773    No Stamp   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3187963   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 774    No Stamp   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3187873   11/07/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 775    No Stamp   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3188051   11/07/10
                                         Felix C. Aguilar, et al. v. BP Company North
 776    No Stamp   Chavez     Simon      America, Inc., et al.                                 Southern District of Texas         10-4220       Yes   3320309   11/08/10
                                         Juan Esquivel, et al. v. BP Company North America,
 777    No Stamp   Gasca      Jose       Inc., et al.                                          Southern District of Texas         10-4214       Yes   3070663   11/08/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 778    No Stamp   Lawler     Dennis     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3303767   11/08/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 779    No Stamp   Linwood    Dolby      Inc., et al.                                          Southern District of Texas         10-4216       Yes   3213538   11/08/10
                                         Juan Esquivel, et al. vs. BP Company North
 780    No Stamp   Roque      Javier     America, Inc., et al.                                 Southern District of Texas         10-4214       Yes   3303125   11/08/10
                                         Felix C. Aguilar, et al. vs. BP Company North
 781    No Stamp   Sandoval   Juan       America, et al.                                       Southern District of Texas         10-4220       Yes   3311854   11/08/10
                                         Juan Esquivel, et al. v. BP Company North America,
 782    No Stamp   Silguero   Ubaldo     Inc., et al.                                          Southern District of Texas         10-4214       Yes   3117311   11/08/10
                                         Felix C. Aguilar, et al. vs. BP Company North
 783    No Stamp   Tamay      Edgar      America, et al.                                       Southern District of Texas         10-4220       Yes   3146838   11/08/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 784    No Stamp   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3188111   11/08/10
                                         Alpasito, Inc., et al. v. BP Company North America,
 785    No Stamp   Tower      Leonor     Inc., et al.                                          Southern District of Texas         10-4216       Yes   3187565   11/08/10
                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 786    No Stamp   Willits    Thomas     Company North America, Inc., et al.                   Southern District of Texas         10-4225       Yes   3237521   11/08/10
                                         Felix C. Aguilar, et al. v. BP Company North
 787    No Stamp   Castro     Jose       America, Inc., et al.                                 Southern District of Texas         10-4220       Yes   3109575   11/09/10
                                         Juan Esquivel, et al. vs. BP Company North
 788    No Stamp   Esquivel   Juan       America, Inc., et al.                                 Southern District of Texas         10-4214       Yes   3094151   11/09/10
                                         Juan Esquivel, et al. vs. BP Company North
 789    No Stamp   Martinez   Jose       America, Inc., et al.                                 Southern District of Texas         10-4214       Yes   3375369   11/09/10
                                         Cause No. 2010-38791; James Hebert v. BP PLC,         District Court of Harris County,
 790    34487961   Hebert     Jimmy      BJ Servives Company, et al.                           Texas                                            Yes   3348779   11/10/10
                                         Juan Esquivel, et al. vs. BP Company North
 791    No Stamp   Martinez   Jose       America, Inc., et al.                                 Southern District of Texas         10-4214       Yes   3334768   11/10/10
                                         Jack Arias, et al. v. BP Company North America,
 792    No Stamp   Cary       Beverly    Inc., et al.                                          Southern District of Texas         10-4224       Yes   3022997   11/11/10
 793    34478457   Donnell    John       Donnell v. Transocean, LTD et al                      Southern District of Florida       2:10CV02982   Yes   3382549   11/11/10
 794    No Stamp   Bessard    Keldrick   Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1752    Yes   1106559   11/12/10


Tab F                                                                                                                                                                      Page 19 of 22
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 21 of 122

 795    No Stamp   Green          Derrick       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    1050877   11/12/10
                                                Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 796    No Stamp   Lee            John          Company North America, Inc., et al.                      Southern District of Texas      10-4225           Yes    3116529   11/12/10
 797    No Stamp   Mitchell       Christopher   Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    1130089   11/12/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 798    No Stamp   Paz            Francisco     America, et al.                                          Southern District of Texas      10-4220           Yes    3180426   11/12/10
                                                Groomer Seafood, Inc. vs. BP Company North
 799    34487414   Groomer        Richard       America, Inc., et al.                                    Eastern District of Louisiana                     Yes    3392087   11/13/10
                                                Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 800    No Stamp   Ladnier        Scottie       Company North America, Inc., et al.                      Southern District of Texas      10-4225           Yes    3340350   11/13/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 801    No Stamp   Ledezma        Jose          America, et al.                                          Southern District of Texas      10-4220           Yes    3116389   11/13/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 802    No Stamp   Longoria       Vincent       America, et al.                                          Southern District of Texas      10-4220            Yes   3169660   11/13/10
 803    No Stamp   Allen          Scotty        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472         Yes   1049718   11/14/10
 804    No Stamp   Gage           Brad          Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472         Yes   1050682   11/14/10
 805    No Stamp   Latigue        Austin        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472         Yes   1079894   11/14/10
 806    No Stamp   Martin Jr.     Bobby         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472         Yes   1048550   11/14/10
 807    No Stamp   Watson         Isadore       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472         Yes   1041478   11/14/10
                                                Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 808    34483188   Berryman       Rebecca       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3382822   11/15/10
                                                Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 809    34483188   Berryman       Timothy       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3382883   11/15/10
                                                Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 810    34488980   Berryman       Timothy       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3382883   11/15/10
 811    No Stamp   Augustine      Kevin         Fruge, et al. v. BP, Plc, et al.                         Eastern District of Louisiana   10-CV-1752         Yes   3402502   11/16/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 812    No Stamp   Guajardo       Julio         America, et al.                                          Southern District of Texas      10-4220           Yes    3156988   11/16/10
                                                Alpasito, Inc., et al. v. BP Company North America,
 813    No Stamp   Harrington     Iris          Inc., et al.                                             Southern District of Texas      10-4216            Yes   3210567   11/16/10
                                                Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 814    34488980   James          Timothy       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3379029   11/16/10
                                                Floyd, Floyd Pearce of Beaumont. LP et al v. BP,                                         2:10-CV-03116-CJB-
 815    34483188   Lane           Ricky         Plc, et al                                               Eastern District of Louisiana   SS                 Yes   3383719   11/16/10
 816    No Stamp   Sarris         George        The Fish Market Restaurant, Inc. v. BP, Plc, et al       Southern District of Alabama    10-4192            Yes   3404482   11/16/10
                                                Samuel Chernin, et al. v. BP Company North
 817    No Stamp   Walsh          Stephen       America, Inc., et al.                                    Southern District of Texas      10-4223           Yes    3372914   11/16/10
 818    No Stamp   Ball           William       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    3406154   11/17/10
 819    No Stamp   Chretien       Edward        Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    1122477   11/17/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 820    No Stamp   German         Mendoza       America, et al                                           Southern District of Texas      10-4220           Yes    3115116   11/17/10
                                                Felix C. Aguilar, et al. vs. BP Company North
 821    No Stamp   Ochoa          Marco         America, et al.                                          Southern District of Texas      10-4220           Yes    3180101   11/17/10
 822    No Stamp   Thornton Jr.   Bernard       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    1061237   11/17/10
 823    34472490   Alfonso        Jeanette      Robin v. Seacor Marine                                   Eastern District of Louisiana   2:10-CV-01156     Yes    3412357   11/18/10
                   Alumni
 824    34483373   Association    Rummel        Robin v. Seacor Marine                              Eastern District of Louisiana        2:10-CV-01156     Yes    3411270   11/18/10
                                                Bones & Campbell Enterprises, Inc. v. BP P.L.C., et
 825    34480942   Campbell       Gene          al                                                  Eastern District of Louisiana        2:10CV-03068      Yes    3382658   11/18/10
 826    No Stamp   Johnson        Octavius      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana        10-CV-1472        Yes    1026272   11/18/10

 827    34485148   Lima           Steven        Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1057364   11/18/10

 828    34493417   Lima           Steven        Water Street Seafood Inc., et al. v. B.P., PLC., et al   Northern District of Florida    2:10-CV-02671     Yes    1057364   11/18/10
 829    34472639   Scott          Karen         Robin v. Seacor Marine                                   Eastern District of Louisiana   2:10-CV-01156     Yes    3411637   11/18/10
 830    No Stamp   Chretein       Jonathon      Fruge, et al. v. BP, Plc, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    3014784   11/19/10


Tab F                                                                                                                                                                                  Page 20 of 22
                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 22 of 122

 831    No Stamp   Cole Sr.      Terrell    Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752         Yes   3351503    11/19/10
                                                                                                                                     2:10-CV-01387-CJB-
 832    34450315   Cook          Urban      Sophisticated Lady, L.L.C., et al. vs. BP, PIC, et al.   Eastern District of Louisiana   SS                 Yes   3418422    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 833    34483866   Floyd         Bret       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3377433    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 834    34484152   Floyd         Bret       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3378034    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 835    34489272   Floyd         Bret       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3380332    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 836    34489272   Floyd         Bret       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3378034    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 837    34489475   Floyd         Bret       PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3377433    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 838    34484152   Landry        Floyd      PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3377433    11/19/10
                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                       2:10-CV-03116-CJB-
 839    34489475   Landry        Floyd      PLC, et al                                               Eastern District of Louisiana   SS                 Yes   3377854    11/19/10
 840    No Stamp   White         Eddie      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752         Yes   3007576    11/19/10
                                            Felix C. Aguilar, et al. vs. BP Company North
 841    No Stamp   Escodedo      Benito     America, et al.                                          Southern District of Texas      10-4220           Yes    3119064    11/22/10
 842    No Stamp   Grice         Germaine   Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    3402994    11/22/10
 843    34494645   Hudley        Daniel     Daniel Hudley v. BP, PLC, et. al.                        Southern District of Alabama    10-4200           Yes    3439165    11/22/10
                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 844    No Stamp   Mullen        Tavia      Company North America, Inc., et al.                      Southern District of Texas      10-4225           Yes    3373309    11/22/10
 845    No Stamp   Reliford      Kerry      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    3005505    11/22/10
 846    No Stamp   Churchwell    Caleb      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    1046981    11/23/10
 847    34488226   Ivic          Michael    Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249       Yes    1042856    11/23/10
 848    34489635   Jurisic       Jakov      Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249       Yes    1111298    11/23/10
 849    No Stamp   Mitchell      Charles    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    1051367    11/23/10
                                            Felix C. Aguilar, et al. vs. BP Company North
 850    No Stamp   Ochoa         Gloria     America, et al.                                          Southern District of Texas      10-4220           Yes    3248970    11/23/10
 851    No Stamp   Savoy         Leroy      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    1133542    11/23/10
                   Santa Cruz               Felix C. Aguilar, et al. vs. BP Company North
 852    No Stamp   Alvizo        Victor     America, et al.                                          Southern District of Texas      10-4220           Yes    3216656    11/24/10
                                            Felix C. Aguilar, et al. vs. BP Company North
 853    No Stamp   Medrano       Evaristo   America, et al.                                          Southern District of Texas      10-4220           Yes    3176455    11/27/10
 854    No Stamp   Brown         Jason      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-1752        Yes    1107158    12/01/10
                   Decatur
 855    34475070   Hotels, LLC              Decatur Hotels, LLC, et al vs. BP, PLC, et al            Eastern District of Louisiana   10-1767           Yes    1059911    12/01/10
                   Decatur
 856    34494009   Hotels, LLC              Decatur Hotels, LLC, et al vs. BP, PLC, et al            Eastern District of Louisiana   10-1767           Yes    1059911    12/01/10
 857    No Stamp   Weissmann     Richard    Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    3007377    12/03/10
 858    No Stamp   Miller        Brian      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1472        Yes    1051384    12/09/10
                                                                                                                                                                         8/23/2010;
                                                                                                                                                                         10/14/2010;
 859    34486183   Nguyen        Duong      Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   2:10-CV-2116      Yes    11444969   10/15/2010
                                                                                                                                                                         8/27/2010;
 860    No Stamp   Sander        Gerald     Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    01074890   9/10/2010
                                                                                                                                                                         8/28/10;
 861    34740043   Drawdy        Terry      Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660           Yes    1132172    9/01/10
                                                                                                                                                                         8/28/10;
 862    No Stamp   Drawdy        Terry      Terry Drawdy, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   10-2660           Yes    1132172    9/01/10
                                                                                                                                                                         9/1/2010;
                                                                                                                                                                         10/5/2010;
 863    No Stamp   Lingoni       John       Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452     Yes    01080734   10/6/2010



Tab F                                                                                                                                                                                  Page 21 of 22
                                                     Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 23 of 122

                   T & E Seafood,                 Billy Wilkerson, et al. v. Transocean Holdings, Inc.,                                                                           9/17/2010;
 864    34491243   Inc.                           et al.                                                  Southern District of Alabama       10-CV-02643        Yes   01087814    9/21/2010
                                                  Nguyen, Ind & as Proposed Class Rep vs. BP                                                 1:10-CV-241-HSO-         1004888 &   9/3/2010;
 865    34461226   Nguyen           Kimberly;Do   P.L.C., et al.                                          Southern District of Mississippi   JMR                Yes   1167851     9/30/2010




Tab F                                                                                                                                                                                          Page 22 of 22
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 24 of 122




                         Tab G
                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 25 of 122


    Lexis Nexis                                                                                                                           Claim
   File & Serve E-                                                                                                     Original EDLA      Filed
       Service      Plaintiff Last     Plaintiff First                                                                   Civil Action     With       GCCF Claim      QP Received
       Number           Name               Name                Original Case Caption               Original Court         Number         GCCF         Number             Date
 1 34493530        Creppel, Jr.      Isadore             Isadore Creppel v. BP, PLC et al      Eastern District       CV-10-CV-01346    Yes       1094836          01/08/11

                                                         FishTrap Charters, LLC, et al. v.     Southern District of
 2 34494050        Ingram            Jon                 Transcocean Holdings, Inc., et al. Alabama                   10-CV-02644       Yes       1048032          01/04/11
                                                         Felix C. Aguilar, et al. vs. BP       Southern District of
 3 No Stamp        Leon              Walter              Company North America, et al.         Texas                  10-4220           Yes       3168999/103464   1/4/2011
                                                         Billy Wilkerson, et al. v. Transocean Southern District of
 4 34491243        Wilkerson         Billy               Holdings, Inc., et al.                Alabama                10-CV-02643       Yes       01048747         1/18/2011
                                                                                               Southern District of
 5 34478457        Wyss              William             Weiss v. Transocean, Ltd. et al       Florida                2:10CV02978       Yes       3173624          01/10/11
                                                                                               Southern District of   4:10-CV-10044-
 6 34457920        Wyss              William             Weiss v. Transocean, Ltd. et al       Florida                KMM               Yes       3173624          01/10/11




Tab G                                                                                                                                                                     Page 1 of 1
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 26 of 122




                         Tab H
                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 27 of 122
      Lexis Nexis                                                                                                                 Claim
    File & Serve E-                                                                                             Original EDLA     Filed     GCCF     Presented
        Service      Plaintiff    Plaintiff First                                                                Civil Action     With      Claim    Final Claim
        Number      Last Name         Name                  Original Case Caption            Original Court        Number         GCCF     Number     to GCCF
                                                    Terry Drawdy, et al. v. Transocean,    Eastern District of
1   34741854       Drawdy        Terry              Ltd., et al.                           Louisiana            10-2660          Yes      1131489    12/15/10
                                                    Terry Drawdy, et al. v. Transocean,    Eastern District of
2   No Stamp       Drawdy        Terry              Ltd., et al.                           Louisiana            10-2660          Yes      1131489    12/15/10
                                                                                           Eastern District of
3   No Stamp       Efferson      Alvery             Schmalz et al v. Transocean Ltd et al. Louisiana            2:10-CV-01452    Yes      1053565    01/11/11
                                                                                           Eastern District of
4   No Stamp       Evans         Robert             Schmalz et al v. Transocean Ltd et al. Louisiana            2:10-CV-01452    Yes      01087048   1/18/2011
                                                                                           Northern District of MDL Docket No:
5   34490828       Gard          Karrie             2:10-CV-03092                          Florida              2179             Yes      1147723    01/10/11
                                                                                           Eastern District of
6   No Stamp       Guidry        Sam                Fruge, et al. v. BP, PLC, et al.       Louisiana            10-CV-1752       Yes      3099845    12/03/10
                                                                                           Eastern District of
7   No Stamp       Johansen      Maria              Schmalz et al v. Transocean Ltd et al. Louisiana            2:10-CV-01452    Yes      01080697   1/18/2011
                                                                                           Eastern District of
8   No Stamp       Kreger        Roy                Schmalz et al v. Transocean Ltd et al. Louisiana            2:10-CV-01452    Yes      1041823    01/04/11

                                                    Hao Van Le d/b/a Bluewater Seafood
                                                    v. BP, PLC, et al.; USDC ND,         USDC, Panama
9   34488964       Le            Hoa Van            Panama City, Florida - 5:10-cv-00124 City, FL              10-3103           Yes      1117000    01/24/11
                                                    Ecco Solutions d/b/a Ecco Fish USA,
                                                    et al. v. BP Company North America, Southern District
10 No Stamp        Matherne      Timothy            Inc., et al.                         of Texas              10-4225           Yes      3018083    12/29/10
                                                                                         Eastern District of
11 No Stamp        Nguyen        Ngoc               Le, et al. v. BP, PLC, et al.        Louisiana             10-CV-2114        Yes      1021737    12/24/10
                                                    James C. Balius et al. v. BP PLC et Southern District
12 34495147        Seymour       Timothy            al.                                  of Mississippi        10-3271           Yes      1128365    12/16/10
                                                                                         Eastern District of
13 No Stamp        Simon         John               Mitchell, et al. v. BP, PLC, et al.  Louisiana             10-CV-1472        Yes      1048212    01/10/11
                                                                                         Southern District
14 34471014        Trahan        Shannon            Shannon Trahan, et al vs BP, et al   of Alabama            1:10CV00198       Yes      3417497    01/07/11




Tab H                                                                                                                                                  Page 1 of 1
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 28 of 122




                           Tab I
                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 29 of 122


         Lexis Nexis                                                                                                                  Claim
        File & Serve E-                                                                                              Original EDLA    Filed   GCCF         Presented       Complied with OPA
            Service     Plaintiff Last    Plaintiff First                                                             Civil Action    With    Claim      Final Claim to      Presentment
           Number          Name               Name             Original Case Caption             Original Court         Number        GCCF    Number         GCCF           Requirements?
                                                                                            Eastern District of
 1      No Stamp        Charbonnet       Linda              Direct Filing Short Form        Louisiana               MDL 2179         Yes      1182621    12/16/2010       No
                                                                                            Eastern District of
 2      No Stamp        Charbonnet       Robert             Direct Filing Short Form        Louisiana               MDL 2179         Yes      1182620    12/16/2010       No
                                                                                            Eastern District of
 3      36016618        Davis            Everett            Direct Filing Short Form        Louisiana               MDL 2179         Yes      1183312    12/20/2010       No
                                                                                            Eastern District of
 4      No Stamp        Davis            Everett            Direct Filing Short Form        Louisiana               MDL 2179         Yes      1183312    12/20/2010       No
                                                            Terry Drawdy, et al. v.         Eastern District of
 5      34741854        Drawdy           Terry              Transocean, Ltd., et al.        Louisiana               10-2660          Yes      1131489    12/15/10         No
                                                            Terry Drawdy, et al. v.         Eastern District of
 6      No Stamp        Drawdy           Terry              Transocean, Ltd., et al.        Louisiana               10-2660          Yes      1131489    12/15/10         No
                                                            Schmalz et al v. Transocean     Eastern District of
 7      No Stamp        Efferson         Alvery             Ltd et al.                      Louisiana               2:10-CV-01452    Yes      1053565    01/11/11         No
                                                            Schmalz et al v. Transocean     Eastern District of
 8      No Stamp        Evans            Robert             Ltd et al.                      Louisiana               2:10-CV-01452    Yes      01087048   1/18/2011        No
                                                            Jack Arias, et al. v. BP
                                                            Company North America, Inc., Southern District of
 9      No Stamp        Forster          Arlene             et al.                           Texas                  10-4224          Yes      3022886    11/03/10         No
                                                            Marine Horizons, Inc. et. al v. Southern District of
 10     34445563        Gams             Robert             BP, PLC et. al                   Alabama                02657            Yes      1133219    08/25/10         No
                                                            Marine Horizons, Inc. et. al v. Southern District of
 11     34445987        Gams             Robert             BP, PLC et. al                   Alabama                02657            Yes      1133219    08/25/10         No
                                                                                             Northern District of   MDL Docket No:
 12     34490828        Gard             Karrie             2:10-CV-03092                    Florida                2179             Yes      1147723    01/10/11         No
                                                                                             Eastern District of
 13     No Stamp        Guidry           Sam                Fruge, et al. v. BP, PLC, et al. Louisiana              10-CV-1752       Yes      3099845    12/03/10         No
                                                            Robin, et al. Seacor Marine
                                                            LLC, et al. 2:10-cv-01986-CJB- Eastern District of      2:10-CV-01986-
 14     34484457        Herrera          Fanny              SS                               Louisiana              CJB-SS           Yes      3085290    10/02/10         No
                                                                                             Southern District of
 15     34482254        Hobson           Preston            Hobson v. BP, Plc, et al         Alabama                10-3258          Yes      1106669    09/23/10         No
                                                            Schmalz et al v. Transocean Eastern District of
 16     No Stamp        Johansen         Maria              Ltd et al.                       Louisiana              2:10-CV-01452    Yes      01080697   1/18/2011        No
                                                            Schmalz et al v. Transocean Eastern District of
 17     No Stamp        Kreger           Roy                Ltd et al.                       Louisiana              2:10-CV-01452    Yes      1041823    01/04/11         No
                                                            Paul Lavigne, et al., v. BP,     Southern District of   2:10-CV-
 18     34449161        Lavigne          Paul               PLC, et al.                      Alabama                2654CJB-SS       Yes      1172436    10/19/10         No

                                                            Hao Van Le d/b/a Bluewater
                                                            Seafood v. BP, PLC, et al.;
                                                            USDC ND, Panama City,
 19     34488964        Le               Hoa Van            Florida - 5:10-cv-00124         USDC, Panama City, FL 10-3103            Yes      1117000    01/24/11         No



Tab I                                                                                                                                                                                Page 1 of 2
                                        Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 30 of 122

                                                                            Eastern District of
 20     34471829   Long       Dardenella      Robin v. Seacor Marine        Louisiana             2:10-CV-01156   Yes   7210356   11/12/10   No
                                              Ecco Solutions d/b/a Ecco
                                              Fish USA, et al. v. BP
                                              Company North America, Inc., Southern District of
 21     No Stamp   Lopez      Johnny          et al.                        Texas                 10-4225         Yes   3014911   09/15/10   No
                                              Ecco Solutions d/b/a Ecco
                                              Fish USA, et al. v. BP
                                              Company North America, Inc., Southern District of
 22     No Stamp   Louis      Dwayne          et al.                        Texas                 10-4225         Yes   3014444   09/14/10   No
                                              Ecco Solutions d/b/a Ecco
                                              Fish USA, et al. v. BP
                                              Company North America, Inc., Southern District of
 23     No Stamp   Matherne   Timothy         et al.                        Texas                 10-4225         Yes   3018083   12/29/10   No
                                                                            Eastern District of
 24     No Stamp   Nguyen     Ngoc            Le, et al. v. BP, PLC, et al. Louisiana             10-CV-2114      Yes   1021737   12/24/10   No




Tab I                                                                                                                                             Page 2 of 2
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 31 of 122




                           Tab J
                                                     Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 32 of 122

        Lexis Nexis File                                                                                                                                               Claim   Complied with
          & Serve E-                                                                                                      Original EDLA    Claim                       Filed        OPA
            Service      Plaintiff Last    Plaintiff First                                                                 Civil Action    Filed        BP Claim       With     Presentation
           Number            Name              Name                Original Case Caption              Original Court         Number       With BP       Number         GCCF    Requirements?
                                                                                                   Eastern District of
1       34486183         Abadie           Al                 Abadie, et al vs. BP, P.L.C, et al    Louisiana              2:10 CV 2116    Yes       6866124158125     No       No
                                                                                                   Eastern District of
2       34486183         Abadie           Don                Abadie et al vs. BP, PLC et al        Louisiana              2:10 CV 2116    Yes       6866124162165     No       No
                                                             American Gulf Seafood LLC, et al. Eastern District of
3       34486281         Annalaro         Paul               vs. BP, PLC, et al.                   Louisiana              2:10-CV-01970 Yes         6866124165450     No       No
                                                                                                   Eastern District of
4       34486183         Atkins           Ralph              Abadie, et al vs. BP, P.L.C, et al    Louisiana              2:10 CV 2116    Yes       6866124521600     No       No
                                                                                                   Eastern District of
5       34486183         Aucoin           Earl               Abadie, et al vs. BP, P.L.C, et al    Louisiana              2:10 CV 2116    Yes       6866124161030     No       No
                                                             Charles C. Elmer, et al. v. BP,       Eastern District of
6       34482005         Baas, Jr.        Fredrick           P.L.C, et al.                         Louisiana              10-1515         Yes       6866-124-158909 No         No
                                                             Darleen Jacobs Levy vs.               Eastern District of
7       No Stamp         Bailey           Patricia           Transocean, LTD, et al                Louisiana              10-1245         Yes       3205761           No       No
                                                                                                   Eastern District of
8       34486183         Billiot          Joseph             Abadie et al vs BP, P.L.C. et al      Louisiana              2:10 CV 2116    Yes       6866124158012     No       No
                                                                                                   Southern District of
9       34494744         Bosarge          Robert             Sevel, et al v. BP, PLC, et al        Mississippi            2:10CV02677     Yes       Will Supplement   No       No
                                                             Dr. & Mrs. Teodoro Ortega, et al.,    Northern District of
10      34480819         Bowman           Ronald             vs. BP, et al.                        Florida                10-193          Yes       6866-124-175559 No         No
                                                             Dr. & Mrs. Teodoro Ortega, et al.,    Northern District of
11      34480690         Broxson          Timothy            vs. BP, et al.                        Florida                10-193          Yes       6866-124-175561 No         No
                                                             Robin Seafood Co., Inc., et al v. BP, Eastern District of
12      34494744         Campo            Ernie              PPLC, et al                           Louisiana              2:10CV1314      Yes       6866124150353     No       No
                                                                                                   Eastern District of
13      34486183         Carson           Louie              Abadie et al vs. BP, P.L.C. et al     Louisiana              2:10 CV 2116    Yes       6866124217764     No       No
                                                                                                   Eastern District of
14      34486183         Chelade          Rodney             Abadie et al vs. BP P.L.C., et al     Louisiana              2:10 CV 2116    Yes       6866124153464     No       No
                                                                                                   Eastern District of
15      34486183         Chester          Chris              Abadie et al vs. BP, P.L.C. et al     Louisiana              2:10 CV 2116    Yes       6866124153847     No       No

                                                             2010-25245; Kleppinger, et al vs.     District Court of
16      34456028         Choy             Christopher        Transocean, et al                     Harris County, Texas 10-3168           Yes                         No       No
                                                             Dr. & Mrs. Teodoro Ortega, et al.,    Northern District of
17      34484341         Cooper           Lynn               vs. BP, et al.                        Florida              10-193            Yes       6866-124-152414 No         No
                                                             Dr. & Mrs. Teodoro Ortega, et al.,    Northern District of
18      34481026         Craighead        Michael            vs. BP, et al.                        Florida              10-193            Yes       6866-124-19284    No       No
                                                             Dr. & Mrs. Teodoro Ortega, et al.,    Northern District of
19      34481107         Craighead        Pamela             vs. BP, et al.                        Florida              10-193            Yes       6866-124-19284    No       No
                                                                                                   Eastern District of
20      34486183         Crosby           Sai                Abadie et al vs. BP P.L.C. et al      Louisiana            2:10 CV 2116      Yes       6866124160967     No       No
                                                                                                   Eastern District of
21      34486183         Cumbie           Dryan              Abadie et al vs. BP P.L.C. et al      Louisiana            2:10 CV 2116      Yes       6866124158254     No       No
                                                                                                   Eastern District of
22      34486183         Dantin           Archie             Abadie et al vs. BP P.L.C. et al      Louisiana            2:10 CV 2116      Yes       6866124161311     No       No


Tab J                                                                                                                                                                               Page 1 of 5
                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 33 of 122

                                                                                         Eastern District of
23      34486183       Dantin       Archie           Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 2116    Yes   6866124161312    No   No
                                                     Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
24      34476655       De La Piedra Cheribeth        vs. BP, et al.                      Florida                10-193          Yes   6866-124-175562 No    No
                                                     Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
25      34476179       De La Piedra Enrique          vs. BP, et al.                      Florida                10-193          Yes   6866-124-175562 No    No
                                                                                         Eastern District of
26      34486183       Dugar        Ronnie           Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 2116    Yes   68661242333581 No     No
                                                                                         US District Court                            6.8661241566e+0
27      34485748       Dugas        Eugene           Eugene B. Dugas v. BP, Plc, et al   Eastern Disc           10-1322         Yes   12              No    No
                                                                                         Eastern District of
28      No Stamp       Duncan       Kentri           Mitchell, et al. v. BP, PLC, et al. Louisiana              10-CV-1472      Yes   6866-124-170455 No    No
                                                                                         Eastern District of
29      34486183       Dunning      Steven           Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 2116    Yes   68661241489906 No     No
                                                                                         Eastern District of
30      34486183       Esponge      Reed             Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 2116    Yes   6866124159410    No   No
                                                                                         Eastern District of
31      34472850       Estaves      Rickey           Robin v. Seacor Marine              Louisiana              2:10-CV-01156 Yes     3181664          No   No
        34484946;34485                               Robin, et al. Seacor Marine LLC, et Eastern District of    2:10-CV-01986-
32      195            Eugene       Leferve          al. 2:10-cv-01986-CJB-SS            Louisiana              CJB-SS         Yes    561952           No   No
                                                                                         Eastern District of
33      34486183       Firmanty     Doug             Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 2116    Yes   6866124152370    No   No
                                                     Darleen Jacobs Levy vs.             Eastern District of
34      No Stamp       Flot         Tonja            Transocean, LTD, et al              Louisiana              10-1245         Yes   3227648          No   No
                                                     J&M Boat Rentals LLC v. BP PLC, Eastern District of
35      34449662       Frelich      Frank            et al                               Louisiana              2:10-1747      Yes    6866124216987   No    No
                                                     ROBIN, et al. Seacor Marine LLC, et Eastern District of    2:10-CV-01986-        6.8661245587e+0
36      34483206       Frilot       Larry            al. 2:10-cv-01986-CJB-SS            Louisiana              CJB-SS         Yes    12              No    No
                                                     Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
37      34481243       Garrett      Teresa           vs. BP, et al.                      Florida                10-193          Yes   6866-124-175563 No    No
                                                                                         Eastern District of
38      34486183       Griffin      Ben              Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 2116    Yes   6866124164339    No   No
                                                                                         Eastern District of
39      34486183       Griffin      Don              Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 2116    Yes   6866124215415    No   No
                                                                                         Eastern District of
40      34486183       Grimmeh      Riley            Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 2116    Yes   124148963        No   No
                                                     Christopher R. Schorr, et al v. BP, Eastern District of
41      34517999       Guy          David            PLC et al                           Louisiana              10-2989         Yes   177754           No   No
                                                     Christopher R. Schorr, et al v. BP, Eastern District of
42      34803960       Guy          David            PLC et al                           Louisiana              10-2989         Yes   177754           No   No
                                                                                         Eastern District of
43      34486183       Harbiston    David            Abadie et al vs. BP P.L.C, et al    Louisiana              2:10 CV 2116    Yes   6866-124155568   No   No
                                                                                         Eastern District of
44      34486183       Hopkins      Karen            Abadie et al vs. BP, P.L.C. et al   Louisiana              2:10 CV 02116   Yes   6866124148559    No   No
                                                                                         Eastern District of
45      34486183       Huynh        Hoa              Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 2116    Yes   6866124150303    No   No
                                                                                         Eastern District of
46      34486183       Huynh        John             Abadie et al vs. BP P.L.C. et al    Louisiana              2:10 CV 02116   Yes   165274           No   No



Tab J                                                                                                                                                            Page 2 of 5
                                           Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 34 of 122

                                                                                      Eastern District of
47      34486183   Huynh        Thai (Dao)        Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 02116   Yes   6866124217934     No   No
                                                  Firehouse Restaurant LLC et al v.   Eastern District of
48      34435447   Irvin        Melvin            BP PLC et al                        Louisiana              2:10-CV-01445 Yes                       No   No
                                                                                      Eastern District of
49      34486183   Jackson      Robert            Abadie et al vs. BP P.L.C., et al   Louisiana              2:10 CV 02116 Yes     6866124156949     No   No
                                                  Robin, et al. Seacor Marine LLC, et Eastern District of    2:10-CV-01986-
50      34484763   Janice       Leferve           al. 2:10-cv-01986-CJB-SS            Louisiana              CJB-SS         Yes    561952            No   No
                                                  Burke, et al. v. BP Corporation     Southern District of
51      34443208   Junghann     Brenda            North America, Inc., et al.         Alabama                                Yes   Unknown           No   No
                                                  Burke, et al. v. BP Corporation     Southern District of
52      34443208   Junghann     Jorg              North America, Inc., et al.         Alabama                                Yes   Unknown           No   No
                                                  American Gulf Seafood LLC, et al. Eastern District of
53      34486281   Laird        John              vs. BP, PLC, et al.                 Louisiana              2:10-CV-01970 Yes                       No   No
                                                                                      Eastern District of
54      34486183   Le Diane     Patricia          Abadie et al vs. BP, P.L.C. et al   Louisiana              2:10 CV 02116   Yes   6866124220347     No   No
                                                                                      Southern District of
55      34494744   LeBlanc      Dexter            Sevel, et al v. BP, PLC, et al      Mississippi            2:10CV02677     Yes   Will Supplement   No   No
                                                                                      Eastern District of
56      34486183   Ly           Men Thi           Abadie et al vs. BP, P.L.C, et al   Louisiana              2:10 CV 02116   Yes   6866124149155     No   No
                                                                                      Eastern District of
57      34486183   McKnight     Richard           Abadie, et al vs. BP, P.L.C et al.  Louisiana              2:10 VS. 02116 Yes    124148983         No   No
                                                                                      Northern District of   MDL Docket No:
58      34490828   Mohl         Carly             2:10-CV-03092                       Florida                2179           Yes    169348            No   No
                                                                                      Northern District of   MDL Docket No:
59      34490828   Mohl         Lawrence          2:10-CV-03092                       Florida                2179           Yes    169348            No   No
                                                                                      Eastern District of
60      34486183   Montelbano   Jack              Abadie, et al vs. BP, P.L.C., et al Louisiana              2:10 CV 02116   Yes   6866124576260     No   No
                                                  Ecco Solutions d/b/a Ecco Fish
                                                  USA, et al. v. BP Company North     Southern District of
61      No Stamp   Moore        Chris             America, Inc., et al.               Texas                  10-4225         Yes   6866-124-538939 No     No
                                                                                      Eastern District of
62      No Stamp   Mouton       Tyler             Mitchell, et al. v. BP, PLC, et al. Louisiana              10-CV-1472      Yes   6866124170421     No   No
                                                                                      Eastern District of
63      34486183   Murray       Marie             Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124212169     No   No
                                                  American Gulf Seafood LLC, et al. Eastern District of
64      34486281   Necaise      Steve             vs. BP, PLC, et al.                 Louisiana              2:10-CV-01970 Yes                       No   No
                                                                                      Eastern District of
65      34486183   Ngo          Francis           Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124212166     No   No
                                                                                      Eastern District of
66      34486183   Nguyen       Ben               Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124154283     No   No
                                                                                      Eastern District of
67      34486183   Nguyen       Ho                Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124152156     No   No
                                                                                      Eastern District of
68      34486183   Nguyen       Hong              Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124149154     No   No
                                                                                      Eastern District of
69      34486183   Nguyen       Johnny            Abadie, et al v. BP, P.L.C., et al  Louisiana              2:10-CV-2116    Yes   6866124147993     No   No
                                                  Kha Van Nguyen et al. v. BP, PLC, Eastern District of
70      34489840   Nguyen       Kha               et al.                              Louisiana              2:10-CV-01741 Yes     01115610          No   No


Tab J                                                                                                                                                          Page 3 of 5
                                            Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 35 of 122

                                                                                       Eastern District of
71      34486183       Nguyen     Lang             Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124154281   No    No
                                                                                       Eastern District of
72      34486183       Nguyen     Minh             Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124154280   No    No
                                                                                       Eastern District of
73      34486183       Nguyen     Ngou             Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124154284   No    No
                                                                                       Eastern District of
74      34486183       Nguyen     Phe              Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124159408   No    No
                                                                                       Eastern District of
75      34486183       Nguyen     Teo              Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124154330   No    No
76      34486183       Nguyen     Tim                                                  XXXXX                                   Yes   6866124154279   No    No
                                                                                       Eastern District of
77      34486183       Nyancon    Terrai           Abadie et al vs. BP P.L.C. et al    Louisiana               2:10 CV 02116   Yes   6866124162844   No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
78      34477387       Ortega     Estela           vs. BP, et al.                      Florida                 10-193          Yes   6866-124-189039 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of                          6866-124-189039
79      34477118       Ortega     Teodoro          vs. BP, et al.                      Florida                 10-193          Yes   & 1890          No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
80      34479585       Passman    Malanie          vs. BP, et al.                      Florida                 10-193          Yes   6866-124-194286 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
81      34479585       Passman    Melanie          vs. BP, et al.                      Florida                 10-193         Yes    6866-124-194286 No    No
                                                                                       Middle District of      3:10-CV-00326-
82      34435689       Paul       Delisa           1st Rate LLC v. BP PLC et al        Louisiana               JVP-DLD        Yes                    No    No
                                                                                       Eastern District of
83      34486183       Pham       Dvanson          Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   68661241475639 No     No
                                                                                       Eastern District of
84      34486183       Poon       Jason            Abadie, et al v. BP, P.L.C., et al  Louisiana               2:10-CV-2116    Yes   6866124214714   No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
85      34480619       Reisberg   Mary             vs. BP, et al.                      Florida                 10-193          Yes   6866-124-175543 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
86      34480524       Reisberg   Michael          vs. BP, et al.                      Florida                 10-193          Yes   6866-124-175543 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
87      34480619       Riesberg   Mary             vs. BP, et al.                      Florida                 10-193          Yes   6866-124-175543 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,  Northern District of
88      34480524       Riesberg   Michael          vs. BP, et al.                      Florida                 10-193         Yes    6866-124-175543 No    No
        34475210;34475                             Robin, et al. v. Seacor Marine LLC, Eastern District of     2:10-CV-01986-        1026007 &
89      516            Robin      Terry            et al. 2:10-CV-01986-CJB-SS         Louisiana               CJB-SS         Yes    1026011          No   No
                                                                                                                                     68661249418-
                                                                                        Eastern District of                          Business;6866124
90      34486183       Schwartz   Shelli           Abadie, et al v. BP, P.L.C., et al   Louisiana              2:10-CV-2116    Yes   155883           No   No
                                                   Darleen Jacobs Levy vs.              Eastern District of
91      No Stamp       Simmons    Verna            Transocean, LTD, et al               Louisiana              10-1245         Yes   6866-124-148030 No    No
                                                   Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of
92      34482066       Stack      Gregory          vs. BP, et al.                       Florida                10-193          Yes   6866-124-194286 No    No
                                                   Rodney Theriot v. Halliburton        Eastern District of
93      34490672       Theriot    Rodney           Energy Services, Inc., et al.        Louisiana              10-1560         Yes                   No    No
                                                                                        Eastern District of
94      34486183       Thomas     Maude            Abadie, et al v. BP, P.L.C., et al   Louisiana              2:10-CV-2116    Yes   6866124163240   No    No



Tab J                                                                                                                                                           Page 4 of 5
                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 36 of 122

                                                                                      Southern District of
95      34492030   Townsend     John             Sevel et al v. BP, PLC et al         Mississippi            1:10-CV-00179 Yes                    No   No
                                                                                      Eastern District of
96      34486183   Trahan       Adam             Abadie, et al v. BP, P.L.C., et al   Louisiana              2010-CV-2116   Yes   6866124160783   No   No
                                                                                      Eastern District of
97      34486183   Tran         Kiet             Abadie, et al v. BP, P.L.C., et al   Louisiana              2010-CV-2116   Yes   6866144155381   No   No
                                                                                      Eastern District of
98      34486183   Tran         Son              Abadie, et al v. BP, P.L.C., et al   Louisiana              2010-CV-2116   Yes   6866124158817   No   No
                                                                                      Eastern District of
99      34486183   Tran         Tuong            Abadie, et al v. BP, P.L.C., et al   Louisiana              2010-CV-2116   Yes   6866124158817   No   No
                                                                                      Eastern District of
100 34486183       Truong       Dung             Abadie, et al v. BP, P.L.C., et al   Louisiana              2010-CV-2116   Yes   Unknown         No   No
                                                                                      Eastern District of
101 34486183       Van          Duong            Abadie, et al v. BP, P.L.C., et al   Louisiana              20:10-CV-2116 Yes    6866124220439   No   No
                                                                                      Eastern District of
102 34486183       Vo           Si               Abadie, et al v. BP, P.L.C., et al   Louisiana              20:10-CV-2116 Yes    6866124154120   No   No
                                                                                      Eastern District of
103 34493289       Weaver       Donald           Rodrigue, et al v. BP, PLC, et al    Louisiana              10-1325        Yes                   No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of
104 34477541       Wells        Edwin            vs. BP, et al.                       Florida                10-193         Yes   6866-124-214332 No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of
105 34479233       Wells        Julia            vs. BP, et al.                       Florida                10-193         Yes   6866-124-214332 No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of
106 34480010       Wells        Melinda          vs. BP, et al.                       Florida                10-193         Yes   6866-124-179271 No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of
107 34479915       Wells        Vance Keith      vs. BP, et al.                       Florida                10-193         Yes   6866-124-179271 No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                        6866-124-
108 34479679       Williamson   Angel            vs. BP, et al.                       Florida                10-193         Yes   1755214         No   No
                                                 Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                        6866-124-
109 34479792       Williamson   Michael          vs. BP, et al.                       Florida                10-193         Yes   1755214         No   No
                                                                                      Southern District of   2:10-CV-03177-
110 34520485       Wright       Micah            Micah Wright v. BP, PLC, et al       Texas                  CJB-SS         Yes   M1019AL0000447 No    No
                                                 Richard C. Brondum, et al v. BP,     Eastern District of
111 34478387                                     PLC, et al                           Louisiana              2:10-CV-1613   Yes   6866124526106   No   No




Tab J                                                                                                                                                       Page 5 of 5
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 37 of 122




                      Tab K-1
                                                                        Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 38 of 122


                                                                                                                                                                                                                                 Complaint
            Lexis                                                                                                          Damage or                                                                              PPF Alleges     Alleges
          Nexis File                                                                                              Original Destruction   Removal                                                                    Physical   Physical Injury
          & Serve E-                                                                                            EDLA Civil  to Real or    and/or                                                                   Injury to a      to a
           Service Plaintiff Last Plaintiff First                                                                  Action    Personal    Clean Up                                                                 Proprietary   Proprietary
           Number     Name            Name                Original Case Caption             Original Court        Number     Property     Costs           Brief Description/Primary Valuation of Claim              Interest      Interest
                                                                                                                3:10-CV-
                                                                                         Middle District of     00326-JVP-
  1       34435689 Paul            Delisa           1st Rate LLC v. BP PLC et al         Louisiana              DLD        Yes           No         N/A                                                           No           No
                                                                                         Eastern District of    2:10-CV-
  2       34486183 Nguyen          Duong            Abadie, et al v. BP, P.L.C., et al   Louisiana              2116       Yes           No         B1 Economic Loss & Personal Property                         No            No
                                                                                                                                                    This is an economic loss and emotional distress claim
                                                                                                                                                    arising out of the Deep Water Horizon Oil Spill. Mr. Ford is
                                                                                                                                                    representing himself and others similarly situated who own
                                                                                                                                                    residential, investment or rental properties along the
                                                                                                                                                    beaches, shores, marshes, harbors and/or bays in FL and
                                                                                                                                                    has been personally, financially and emotionally impacted
                                                                                                                                                    by the Spill and its effects financially, including but not
                                                                                                                                                    limited to diminution of property value, as well as the
                                                                                                                                                    emotional trauma, worry, fear and aggravation relating to
                                                                                                                                                    these events all of which continues through the present
                                                                                                                                                    time. Florida property sales and rentals have been
                                                                                                                                                    devastated by these events and the defendants wrongful
                                                                                                                                                    conduct results in a decline in sales and other related
                                                                                                                                                    tourist activity.

                                                                                                                                                    Mr. Ford previously submitted interim "Emergency Payment
                                                                                                                                                    Claims" to the GCCF as BP's contractor to pay OPA interim
                                                                                                                                                    claims in an amount in excess of $24,000.00 for his
                                                                                                                                                    economic losses only he has suffered and will continue to
                                                                                                                                                    suffer through March of 2011 and has not been paid that
                                                                                                                1:10-CV-                            amount in full to date. Additionally, he has not been
                                                    Alan F. Ford, Ind & as Proposed      Southern District of   00292-CG-                           compensated in full for all damages claimed in this matter,
  3       34459994 Ford            Alan             Class Rep vs. BP P.L.C., et al.      Alabama                C         Yes            No         as the economic losses continue to be incurred, have not    No             No

                                                                                                                                                    Claim brought by a representative of a class who asserts
                                                                                                                                                    claims for any person(s), entity(ies), company(ies),
                                                                                                                                                    corporation(s), and/or limited liability company(ies) who
                                                                                                                                                    reside, own or lease land or property that was damaged or
                                                    Aleen Grieshaber, et al. V. BP       Southern District of   1:10-CV-                            whose use and/or enjoyment of that property was damaged
  4       34460859 Grieshaber      Aleen            Products North America, Inc., et al. Mississippi            00185      Yes           No         or diminished due to the oil spill at issue in this litigation No          No

                                                                                                                                                    Claim brought by a representative of a class who asserts
                                                                                                                                                    claims for any person(s), entity(ies), company(ies),
                                                                                                                                                    corporation(s), and/or limited liability company(ies) who
                                                                                                                                                    reside, own or lease land or property that was damaged or
                                                    Aleen Grieshaber, et al. V. BP       Southern District of   1:10-CV-                            whose use and/or enjoyment of that property was damaged
  5       34460859 Grieshaber      James            Products North America, Inc., et al. Mississippi            00185      Yes           No         or diminished due to the oil spill at issue in this litigation No          No
                                                                                                                                                    Damage to natural resources, including oyster beds. Cost
                                                    Bartol John Taliancich, Sr. v. BP, Eastern District of      2:10-cv-                            of clean up of oyster beds. Loss of wages, loss of way of
  6       34486250 Taliancich      Bartol           PLC, et al                         Louisiana                01489      Yes           Yes        life, loss of income (past and future)                         No          No
                                                    Bryan C. Carrone and Raymond K.
                                                    Landry, Individually and on Behalf
                                                    of Themselves and all others       Eastern District of      2:10-CV-                            Mr. Landry has owned his business for a very long time. In
  7       34487660 Landry          Raymond          Similarly Situated                 Louisiana                01315      Yes           No         2008, 2009, & 2010 Mr. Landry was self employed               No           No
                                                                                       Eastern District of
  8       34493976 Buras           Howard           Buras, et al v. BP, PLC, et al     Louisiana                2:10-02994 Yes           No         Property Damage                                               No           No
                                                                                       Eastern District of
  9       34493976 Reyes           Lisa             Buras, et al v. BP, PLC, et al     Louisiana                2:10-02994 Yes           No         Property Damage                                               No           No




Tab K-1                                                                                                                                                                                                                                   1 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 39 of 122


                                            Capt. Charlie Thomason's Bayou
                                            Charters, INC. et al vs. BP, PLC,
                   BK&D                     BP Products North America, Inc.,     Eastern District of     10-CV-
  10      34494063 Properties               et al                                Louisiana               01422       Yes   No                                                                No    No
                                            Capt. Charlie Thomason's Bayou
                                            Charters, Inc. et al vs. BP, PLC,                                                    See attached list of medical providers and complete
                                            BP Products North America, Inc.,     Eastern District of     10-CV-                  authorization forms attached hereto as Exhibit "A" and
  11      34494300 Deogracias   Raymond     et al                                Louisiana               01422       Yes   No    Exhibit "B"                                                 No    No
                                            Capt. Charlie Thomason's Bayou
                                            Charters, Inc. et al vs. BP, PLC,
                                            BP Products North America, Inc.,     Eastern District of     10-CV-
  12      34494300 Melerine     Barry       et al                                Louisiana               01422       Yes   No                                                                No    No
                                            Capt. Charlie Thomason's Bayou
                                            Charters, Inc. et al vs. BP, PLC,
                                            BP Products North America, Inc.,     Eastern District of     10-CV-
  13      34494300 Nuccio       David       et al                                Louisiana               01422       Yes   No                                                                No    No
                                            Capt. Charlie Thomason's Bayou
                                            Charters, INC. et al vs. BP, PLC,
                                            BP Products North America, Inc.,     Eastern District of     10-CV-
  14      34493851 Schild       Steven      et al                                Louisiana               01422       Yes   No                                                                No    No
                                            Capt. Charlie Thomason's Bayou
                                            Charters, Inc. et al vs. BP, PLC,
                                            BP Products North America, Inc.,     Eastern District of     10-CV-
  15      34494300 Thomason     Charlie     et al                                Louisiana               01422       Yes   No                                                                No    No
                                                                                 US District Court for
                                                                                 the No. Dist. of        3:01-CV-                Plaintiff is seeking monetary compensation for diminished
                                            Dacien Thane Creech v.               Florida, Pensacola      00158-RV-               property value, removal and remediation costs, as well as
  16      No Stamp Creech       Dacien      Transocean, Ltd., et al.             Div.                    EMT         Yes   Yes   lost rental revenue.                                       No     No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  17      34480819 Bowman       Ronald      vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                    No     No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  18      34480690 Broxson      Timothy     vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                    No     No
                                                                                                                                 Diminution of Property Value claim re: LaMer Condominium
                                                                                                                                 Association as Termination Trustee for the real property
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            located in Escambia County, Florida. Part of a Mass Tort
  19      34484341 Cooper       Lynn        vs. BP, et al.                       Florida                 10-193      Yes   No    lawsuit filed against BP, et al                            No     No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  20      34481026 Craighead    Michael     vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                    No     No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  21      34481107 Craighead    Pamela      vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                    No     No

                                                                                                                                 Diminution of Property Value claim re: properties located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Escambia County and Pinellas County, Florida. Part of a
  22      34476179 De La Piedra Enrique     vs. BP, et al.                       Florida                 10-193      Yes   No    Mass Tort lawsuit filed against BP, et al                    No   No

                                                                                                                                 Diminution of Property Value claim re: properties located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Escambia County and Pinellas County, Florida. Part of a
  23      34476655 De La Piedra Cheribeth   vs. BP, et al.                       Florida                 10-193      Yes   No    Mass Tort lawsuit filed against BP, et al                    No   No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  24      34479483 Donoghue     Patricia    vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                      No   No
                                                                                                                                 Diminution of Property Value claim re: property located in
                                            Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                            Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  25      34481243 Garrett      Teresa      vs. BP, et al.                       Florida                 10-193      Yes   No    filed against BP, et al                                      No   No




Tab K-1                                                                                                                                                                                                 2 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 40 of 122



                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County and Santa Rosa County, Florida. Part of
  26      34477118 Ortega       Teodoro       vs. BP, et al.                       Florida                10-193   Yes   No   a Mass Tort lawsuit filed against BP, et al                  No     No

                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County and Santa Rosa County, Florida. Part of
  27      34477387 Ortega       Estela        vs. BP, et al.                       Florida                10-193   Yes   No   a Mass Tort lawsuit filed against BP, et al                    No   No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  28      34479585 Passman      Melanie       vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                        No   No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  29      34479585 Passman      Malanie       vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                        No   No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  30      34480524 Reisberg     Michael       vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                        No   No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  31      34480619 Reisberg     Mary          vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                        No   No
                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County, Florida. Part of a Mass Tort lawsuit filed
  32      34480524 Riesberg     Michael       vs. BP, et al.                       Florida                10-193   Yes   No   against BP, et al                                              No   No
                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County, Florida. Part of a Mass Tort lawsuit filed
  33      34480619 Riesberg     Mary          vs. BP, et al.                       Florida                10-193   Yes   No   against BP, et al                                              No   No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  34      34482066 Stack        Gregory       vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                        No   No

                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Okaloosa County, and Walton County,
  35      34477541 Wells        Edwin         vs. BP, et al.                       Florida                10-193   Yes   No   Florida. Part of a Mass Tort lawsuit filed against BP, et al No     No

                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Okaloosa County, and Walton County,
  36      34479233 Wells        Julia         vs. BP, et al.                       Florida                10-193   Yes   No   Florida. Part of a Mass Tort lawsuit filed against BP, et al No     No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  37      34479915 Wells        Vance Keith   vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                      No     No
                                                                                                                              Diminution of Property Value claim re: property located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Santa Rosa County, Florida. Part of a Mass Tort lawsuit
  38      34480010 Wells        Melinda       vs. BP, et al.                       Florida                10-193   Yes   No   filed against BP, et al                                      No     No

                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County and Santa Rosa County, Florida. Part of
  39      34479679 Williamson   Angel         vs. BP, et al.                       Florida                10-193   Yes   No   a Mass Tort lawsuit filed against BP, et al                  No     No

                                                                                                                              Diminution of Property Value claim re: properties located in
                                              Dr. & Mrs. Teodoro Ortega, et al.,   Northern District of                       Escambia County and Santa Rosa County, Florida. Part of
  40      34479792 Williamson   Michael       vs. BP, et al.                       Florida                10-193   Yes   No   a Mass Tort lawsuit filed against BP, et al                  No     No




Tab K-1                                                                                                                                                                                                3 of 72
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 41 of 122


                                                                                                                           This is an economic loss and emotional distress claim
                                                                                                                           arising out of the Deep Water Horizon Oil Spill. Dr. Stricker
                                                                                                                           is representing himself and others similarly situated who
                                                                                                                           own residential or investment properties along the beaches,
                                                                                                                           shores, marshes, harbors and/or bays in FL and has been
                                                                                                                           personally, financially and emotionally impacted by the Spill
                                                                                                                           and its effects financially, including but not limited to
                                                                                                                           diminution of property value, as well as the emotional
                                                                                                                           trauma, worry, fear and aggravation relating to these events
                                                                                                                           all of which continues through the present time. Florida
                                                                                                                           property sales have been devastated by these events and
                                                                                                                           the defendants wrongful conduct results in a decline in
                                                                                                                           sales and other related tourist activity.

                                                                                                                           Dr. Stricker previously submitted interim "Emergency
                                                                                                                           Payment Claims" to the GCCF as BP's contractor to pay
                                                                                                                           OPA interim claims in an amount in excess of $35,990.76
                                                                                                                           for his economic losses only he has suffered and will
                                                                                                                           continue to suffer through March of 2011 and has not been
                                          Dr. Seymour Stricker, Ind & as                            3:10-CV-               paid that amount in full. Dr. Stricker's claim was denied.
                                          Proposed Class Rep vs. BP P.L.C., Northern District of    00229-LC-              Additionally, he has not been compensated in full for all
  41      34463141 Stricker     Seymour   et al.                            Florida                 EMT         Yes   No   damages claimed in this matter, as the economic losses     No        No

                                                                             Eastern District of    2:10-cv-               Diminution in value of property located at # 3 Alluvial Key,
  42      34474496 Boettner     Edward    Edward Boettner vs. BP, PLC, et al Louisiana              01764       Yes   No   Lot 46, Proctors Landing S/D, St. Bernard, LA 70085             No   No

                                                                             Eastern District of    2:10-cv-               Diminution in value of property located at # 3 Alluvial Key,
  43      34493809 Boettner     Edward    Edward Boettner vs. BP, PLC, et al Louisiana              01764       Yes   No   Lot 46, Proctors Landing S/D, St. Bernard, LA 70085             No   No
                                          Firehouse Restaurant LLC et al v. Eastern District of     2:10-CV-
  44      34435447 Irvin        Melvin    BP PLC et al                       Louisiana              01445       Yes   No   N/A                                                             No   No

                                                                                                                           Mr. Hutchinson brings this claim on behalf of himself and
                                                                                                                           others similarly situated. He is a commercial fisherman, and
                                                                                                                           a coastal property/real estate owner. His claim is for lost
                                                                                                                           earnings, damage to his business and damage to his real
                                                                                                                           property at 2813 Delacroix Highway, St. Bernard, LA
                                                                                                                           70085. His claim is also for emotional distress, worry, fear,
                                          Fishing Magician Charters, LLC v.   Eastern District of   2:10-cv-               aggravation including his worries about his health relating
  45      34468612 Hutchinson   Justin    BP (See Attached)                   Louisiana             01338       Yes   No   to exposure to oil and dispersants                            No     No
                                                                                                                           Pamela Hutchinson is the wife of claimant Justin
                                                                                                                           Hutchinson S She makes a claim for damage to her real
                                                                                                                           property as the house is apparently in her name and
                                                                                                                           Justin's name. She also makes a claim for emotional
                                          Fishing Magician Charters, LLC v.   Eastern District of   2:10-cv-               distress, fear, aggravation and worry Her claim is also for
  46      34468617 Hutchinson   Pamela    BP (See Attached)                   Louisiana             01338       Yes   No   loss of subsistence                                           No     No

                                                                                                                           Mr. Hutchinson brings this claim on behalf of himself and
                                                                                                                           others similarly situated. He is a commercial fisherman, and
                                                                                                                           a coastal property/real estate owner. His claim is for lost
                                                                                                                           earnings, damage to his business and damage to his real
                                                                                                                           property at 2813 Delacroix Highway, St. Bernard, LA
                                                                                                                           70085. His claim is also for emotional distress, worry, fear,
                   Hutchinson             Fishing Magician Charters, LLC v.   Eastern District of   2:10-cv-               aggravation including his worries about his health relating
  47      34468612 Sr.          Justin    BP (See Attached)                   Louisiana             01338       Yes   No   to exposure to oil and dispersants                            No     No




Tab K-1                                                                                                                                                                                              4 of 72
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 42 of 122


                                                                                                                             Mr. Nunez, on behalf of himself and others similarly
                                                                                                                             situated brings a claim for damages. He owns oyster leases
                                                                                                                             and is a commercial fisherman and an oysterman. His
                                                                                                                             claim is for economic losses, emotional distress, damage to
                                                                                                                             his real property, worry, fear and aggravation. Mr.Nunez
                                                                                                                             submitted a claim to the GCCF and received an emergency
                                                                                                                             payment of only $42,000.00. It is difficult to determine the
                                                                                                                             extent of his future losses as the impact of the oil and
                                         Fishing Magician Charters, LLC v.     Eastern District of    2:10-cv-               dispersant on future oyster populations is still under
  48      34468600 Nunez       Jeffrey   BP (See Attached)                     Louisiana              01338       Yes   No   investigation                                                No     No

                                                                                                                             Claim on behalf of Johnny Nunez individually and on behalf
                                                                                                                             of Fishing Magician Charters, LLC and as class
                                                                                                                             representative of others similarly situated.
                                                                                                                             BP Claim: 6866124149188 for losses.

                                                                                                                             Value of GCCF claims 1149541;1135171 has yet to be
                                                                                                                             determined.

                                                                                                                             This Claim is on behalf of Mr. Nunez individually and on
                                                                                                                             behalf of others similarly situated. He is a charter boat
                                                                                                                             operator, a fisherman, a small business owner and an
                                                                                                                             oyster lease holder in Louisiana. His claim is for economic
                                                                                                                             losses, emotional distress damage to his business, loss of
                                                                                                                             subsistence and includes a claim for his aggravation, fear
                                                                                                                             and emotional trauma. He filed a claim with GCCF but has
                                                                               Eastern District of    2:10-cv-               not been paid in full for his losses. Mr. Nunez also claims
  49      34468593 Nunez Jr.   Johnny    Fishing Magicians Charter v. BP       Louisiana              01338       Yes   No   losses relating to his ownership of real property           No      No
                                                                               Eastern District of    2:10-CV-
  50      34461695 Galliano    Carol     Galliano, et al vs. BP, PLC, et al    Louisiana              02715J(1)   Yes   No   Loss of use and enjoyment of fishing camp                     No    No
                                                                               Eastern District of    2:10-CV-
  51      34461695 Galliano    Carl      Galliano, et al vs. BP, PLC, et al    Louisiana              02715J(1)   Yes   No   Loss of using and enjoyment of fishing camp                   No    No
                                                                               Eastern District of
  52      34493923 Gautreaux   Laura     Gautreaux, et al v. BP, PLC, et al    Louisiana              10-1539     Yes   No   Property Damage                                               No    No

                                                                                                                             Claimant claims that the market value of the property has
                                                                                                                             been adversely affected and diminished. The extent of that
                                                                                                                             damage has not been determined at this point.
                                         Hopkins, et al. v. Transocean, Ltd., Southern District of
  53      34498422 Warhurst    Laverne   et al.                               Alabama                             Yes   No   Plaintiff is 1/2 owner of duplex                              No    No

                                                                                                                             Claimant claims that the market value of the property has
                                                                                                                             been adversely affected and diminished. The extent of that
                                                                                                                             damage has not been determined at this point.
                                         Hopkins, et al. v. Transocean, Ltd., Southern District of
  54      34498422 Warhurst    Martha    et al.                               Alabama                             Yes   No   Plaintiff is 1/2 owner of duplex                              No    No

                                                                                                                             Claimant claims that the market value of the property has
                                         Hopkins, et al. v. Transocean, Ltd., Southern District of                           been adversely affected and diminished. The extent of that
  55      34498422                       et al.                               Alabama                             Yes   No   damage has not been determined at this point               No       No
                                                                              Eastern District of     2:10-CV-               Loss of earnings, profit; loss of income; loss of use of
  56      34469094 Babin       Joey      Joey L. Babin v. BP Plc, et al       Louisiana               03300       Yes   No   vessel                                                     No       No

                                         John Faris & John Faris Properties, Eastern District of      2:10-CV-
  57      34485987 Faris       John      LLC, II v. BP, PLC, et al           Tennessee                02998       Yes   No   Diminution of property value                                  No    No

                                                                                                                             Dr. Barnes has lot rental income due to the oil spill. He will
                                                                                                                             continue to lose rental income. Also, the value of Dr.
                                                                                                                             Barnes' Property located in orange Beach, AL, has been
                                         Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-               diminished. Dr.Barnes has also lost earnings/Profits from
  58      34490452 Barnes      Harry     PLC, et al.                           Alabama                00200       Yes   No   not being able to run his charter boat, "The Necessity."       No   No


Tab K-1                                                                                                                                                                                               5 of 72
                                                                Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 43 of 122



                   LP                                                                                                            LP Properties, LLC, has Suffered losses in rental income
                   Properties,               Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-               due to the oil spill. Also, property held by LP Properties,
  59      34490452 LLC           N/A         PLC, et al.                           Alabama                00200      Yes   No    LLC, has diminished in value due to the oil spill                No   No
                                                                                                                                 Dr. Smith has lost rental income due to the oil spill. He will
                                                                                                                                 continue to lose rental income. Also, the Value of Dr.
                                             Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-               Smith's Property Located in Orange Beach, AL, Has been
  60      34490452 Smith         Judson      PLC, et al.                           Alabama                00200      Yes   No    diminished                                                       No   No
                                                                                                                                 Mrs. Smith Has Lost Rental Income Due To The Oil Spill.
                                                                                                                                 He Will Continue To Lose Rental Income. Also, The Value
                                             Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-               Of Mrs. Smith's Property Located In Orange Beach, AL,
  61      34490452 Smith         Sherri      PLC, et al.                           Alabama                00200      Yes   No    Has Been Diminished                                              No   No
                                             Marine Horizons, Inc. et. al v. BP,   Southern District of   2:10-cv-               Plaintiff's charter fishing business was destroyed by the oil
  62      34445563 Gams          Robert      PLC et. al                            Alabama                02657      Yes   No    spill                                                            No   No
                                             Marine Horizons, Inc. et. al v. BP,   Southern District of   2:10-cv-               Plaintiff's charter fishing business was destroyed by the oil
  63      34445987 Gams          Robert      PLC et. al                            Alabama                02657      Yes   No    spill                                                            No   No

                                                                                                                                 Micah Wright owns properties along the Gulf Coast and his
                                                                                                                                 income is derived from ownership of a realtor business. As
                                                                                                                                 a result of the Gulf Coast Oil Spill, Mr. Wright has suffered
                                                                                                                                 losses to his income and property. Mr. Wright will provide
                                                                                                                                 his loss statements at the appropriate time due to the
                                                                                                                                 limited space provided in this form. Also, Mr. Wright has
                                                                                                          2:10-CV-               received payments for his business and his personal
                                                                                   Southern District of   03177-CJB-             damages from BP through a claim filed by the Alabama
  64      34520485 Wright        Micah       Micah Wright v. BP, PLC, et al        Texas                  SS         Yes   No    Associations of Realtors                                       No     No
                                                                                                                                 This is a class action brought pursuant to Rule 23 of the
                                                                                                                                 Federal Rules of Civil Procedure on behalf of all Florida
                                                                                                                                 homeowners of real property whose enjoyment of the
                                                                                                                                 property has been impaired by, and/or whose properties
                                                                                                                                 have declined in value as a result of, the April 20, 2010,
                                                                                                                                 Deepwater Horizon ("Deepwater Horizon") oil rig explosion,
                                                                                                                                 fire and resultant oil spill (the "Class"), and the subsequent
                                 Julian      Michelle West, et al. v. BP, PLC et Northern District of                            sinking of that rig and discharge of oil into the surrounding
  65      34475870 Irby          B;Marilyn   al. (10-CV-274 ND FL)               Florida                             Yes   No    water                                                          No     No
                                                                                                                                 This is a class action brought pursuant to Rule 23 of the
                                                                                                                                 Federal Rules of Civil Procedure on behalf of all Florida
                                                                                                                                 homeowners of real property whose enjoyment of the
                                                                                                                                 property has been impaired by, and/or whose properties
                                                                                                                                 have declined in value as a result of, the April 20, 2010,
                                                                                                                                 Deepwater Horizon ("Deepwater Horizon") oil rig explosion,
                                                                                                                                 fire and resultant oil spill (the "Class"), and the subsequent
                                             Michelle West, et al. v. BP, PLC et Northern District of                            sinking of that rig and discharge of oil into the surrounding
  66      34473237 West          Michelle    al. (10-CV-274 ND FL)               Florida                             Yes   No    water                                                          No     No
                                                                                                                                 Joseph Oser both individually and as representative of the
                                                                                                                                 class of Louisiana residents living in the coastal zone who
                                                                                                                                 sustained damages and/or loss as a result of the spill, and
                                                                                                                                 claims damages for economic loss, damage or destruction
                                                                                                                                 to real or personal property, earnings/profit loss and
                                             Oser, et al. v. Transocean, Ltd., et Eastern District of     2:10-CV-               removal and/or clean up costs on behalf and all others
  67      34473085 Oser          Joseph      al.                                  Louisiana               1829       Yes   Yes   similarly situated                                             No     No

                                                                                                                                 Percy Parker both individually and as representative of the
                                                                                                                                 class of Louisiana residents living in the Coastal zone who
                                                                                                                                 sustained damages and/or loss as a result of the spill,
                                                                                   Eastern District of    2:10-cv-               claims damages for economic loss and personal injury for
  68      34446656 Parker        Percy       Percy Parker v. BP, PLC, et al        Louisiana              01411      Yes   No    his behalf and all others similarly situated                No        No




Tab K-1                                                                                                                                                                                                     6 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 44 of 122



                                                                                                                               As a direct and proximate result of Defendants' negligence,
                                                                                                                               gross negligence, trespass, strict liability, and willful,
                                                                                                                               wanton and careless disregard for Plaintiffs' rights, Plaintiffs
                                                                                                                               have suffered losses in the form of, but not limited to, loss
                                                                                                                               of income, the creation of conditions harmful to human
                                                                                                                               health and the environment, the loss of beneficial use,
                                                                                                                               enjoyment, and exclusive possession of their property,
                                           Sarah H. Moore, et al. v. BP, PLC,   Southern District of   2:10-CV-                diminished value of their oyster beds and property, for
  69      34488824 Harrington   Harris     et al.                               Alabama                03253       Yes   Yes   which they are entitled to be compensated                        No   No
                                           Tammy Stevenson, et al vs. BP,       Eastern District of    2:10-CV-
  70      34461695 Stevenson    Tammy      PLC, et al                           Louisiana              01611J(1)   Yes   No    Loss of Income                                                 No     No
                                                                                Eastern District of    2:10-cv-
  71      34494301 Doukas       John       Thigpen, et al v. BP, PLC, et al     Louisiana              03273       Yes   No    Property Damage                                                 No    No
                                                                                                                               Van Duyn both individually and as representative of the
                                                                                                                               class of Mississippi residents living within the coastal zone
                                           Van Duyn v. BP, PLC, et al., 1:10-                                                  who sustained damages and/or loss of use of the natural
                                           cv-183-HSO-JMR, S.D. Miss.,        Southern District of                             resources as a result of the spill on her behalf and all others
  72      34470605 Breme        Margaret   Southern Div.                      Mississippi              10-2680     Yes   No    similarly situated                                              No    No
                                                                                                                               Van Duyn both individually and as representative of the
                                                                                                                               class of Mississippi residents living within the coastal zone
                                           Van Duyn v. BP, PLC, et al., 1:10-                                                  who sustained damages and/or loss of use of the natural
                                           CV-183-HSO-JMR, S.D. Miss.,        Southern District of                             resources as a result of the spill on her behalf and all others
  73      34470605 Knight       Charles    Southern Div.                      Mississippi              10-2680     Yes   No    similarly situated                                              No    No
                                                                                                                               Van Duyn both individually and as representative of the
                                                                                                                               class of Mississippi residents living within the coastal zone
                                           Van Duyn v. BP, PLC, et al., 1:10-                                                  who sustained damages and/or loss of use of the natural
                                           CV-183-HSO-JMR, S.D. Miss.,        Southern District of                             resources as a result of the spill on her behalf and all others
  74      34470605 Van Duyn     Stacey     Southern Div.                      Mississippi              10-2680     Yes   No    similarly situated                                              No    No

                                                                                                                               Mr. Lynch has claims for personal injury, property damage,
                                                                                                                               lost wages, loss of wage earning capacity, past, present,
                                                                                                                               and future medicals, pain and suffering, and punative
                                                                                                                               damages, etc. Health Care Providers are:
                                                                                                                               1. Grenada lake Medical Center
                                                                                                                               2. Dr. Darley Solomon
                                                                                                                               3. University of South Alabama Med. Ctr.
                                                                                                                               4. Grenada Living Center
                                                                                                                               5. Greenwood Orthopedic Clinic
                                                                                                                               6. Dr. Howard Katz
                                                                                                                               7. Dr. Mark Webb
                                                                                                                               8. Dr. James Irby
                                                                                                                               Mr. Lynch has been employed by Art Catering, Inc. since
  75      34472273 Lynch        Phillip                                         XXXXX                              Yes   No    2008                                                       No

                                                                                                                               Mr. Lynch has claims for personal injury, property damage,
                                                                                                                               lost wages, loss of wage earning capacity, past, present,
                                                                                                                               and future medicals, pain and suffering, and punative
                                                                                                                               damages, etc. Health Care Providers are:
                                                                                                                               1. Grenada lake Medical Center
                                                                                                                               2. Dr. Darley Solomon
                                                                                                                               3. University of South Alabama Med. Ctr.
                                                                                                                               4. Grenada Living Center
                                                                                                                               5. Greenwood Orthopedic Clinic
                                                                                                                               6. Dr. Howard Katz
                                                                                                                               7. Dr. Mark Webb
                                                                                                                               8. Dr. James Irby
                                                                                                                               Mr. Lynch has been employed by Art Catering, Inc. since
  76      34482406 Lynch        Phillip                                         XXXXX                              Yes   No    2008                                                       No
                                                                                Southern District of   2:10-CV-
  77      34485987 Ngo          Lo                                              Texas                  02683       Yes   No                                                                   No     No


Tab K-1                                                                                                                                                                                                   7 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 45 of 122


                                                                                                                                   This case does not really fit the Plaintiff claim forms, as the
                                                                                                                                   case is based on enforcement of federal environmental
                                                                                                                                   statutes pursuant to the citizen suit provisions of the Clean
                                                                                                                                   Water Act, Emergency Planning and Community Right-to-
                                                                                                                                   Know Act (EPCRA) and the Comprehensive Environmental
                                                                                                                                   Response, Compensation and Liability Act (CERCLA). The
                                                                                                                                   above checked claims types do not fully and directly fit and
                                                                                                                                   are checked only because they represent elements of the
                                                                                                                                   civil penalty calculation factors. To some extent, all the
                                                                                                                                   boxes above apply as penalty factor influences. The
                                                                                                                                   primary claims are for civil penalties and injunctive and
                                                                                                                                   remedial relief. The forms requested by this section (health
                   Center for                                                                                                      care providers and employers) are not applicable
                   Biological                 Center for Biological Diversity v.     Eastern District of    2:10-CV-
  78      34348622 Diversity       N/A        BP America, et al.                     Louisiana              01768      No    Yes                                                                     No    No
                                                                                     Eastern District of
  79      35904237 Charbonnet      Barbara    Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No
                                                                                     Eastern District of
  80      No Stamp Charbonnet      Barbara    Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No
                                                                                     Eastern District of
  81      35903675 Charbonnet      Jack       Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No
                                                                                     Eastern District of
  82      No Stamp Charbonnet      Jack       Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No
                                                                                     Eastern District of
  83      No Stamp Charbonnet      Jane       Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil                                                    No
                                                                                     Eastern District of
  84      35905072 Charbonnet      Jane       Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil                                                    No
                                                                                     Eastern District of
  85      No Stamp Charbonnet      Kenny      Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No
                                                                                     Eastern District of
  86      No Stamp Charbonnet      Linda      Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from property                                      No
                                                                                     Eastern District of
  87      No Stamp Charbonnet      Robert     Direct Filing Short Form               Louisiana              MDL 2179   Yes   Yes   Removal of oil from premises                                      No

  88
                                              (2 Cases) Gulf Restoration
                   Gulf                       Network, et al. v. Salazar, et al.;                           2:10-CV-
                   Restoration                Gulf Restoration Network, et al., v.   Eastern District of    01497-KDE-
  89      No Stamp Network, Inc.              U.S Dep't of the Interior, et al.      Louisiana              ALC        No    No    N/A                                                               N/A   N/A
                                              (2 Cases) Gulf Restoration
                                              Network, et al. v. Salazar, et al.;                           2:10-CV-
                   Sierra Club,               Gulf Restoration Network, et al., v.   Eastern District of    01497-KDE-
  90      No Stamp Inc.                       U.S Dep't of the Interior, et al.      Louisiana              ALC        No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  91      34490828 Doyle           Robert     2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  92      34490828 Gard            Karrie     2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  93      34490828 Gelabert        Manuel     2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  94      34490828 Haynie          Mary       2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  95      34490828 Haynie          Terrance   2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

                                                                                     Northern District of   MDL Docket
  96      34490828 Mohl            Carly      2:10-CV-03092                          Florida                No: 2179   No    No    N/A                                                               N/A   N/A

Tab K-1                                                                                                                                                                                                          8 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 46 of 122



                                                                                     Northern District of   MDL Docket
  97      34490828 Mohl          Lawrence    2:10-CV-03092                           Florida                No: 2179   No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bit, Inc., et al. Eastern District of     2:10-cv-
  98      34490790 Menard        Michael     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
          34493533;                          A Bar & Grill with A Bit, Inc., et al. Eastern District of     2:10-cv-
  99      34470987 Segreto       Salvadore   v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc, et al. Eastern District of     2:10-cv-
  100     34491781 Borges        William     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with a Bite, Inc., et al Eastern District of     2:10-cv-
  101     34444754 [Illegible]   Paul        v. BP, PLC, et al                       Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with a Bite, Inc., et al Eastern District of     2:10-cv-
  102     34443201 Brigtsen      Frank       v. BP, PLC, et al                       Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with a Bite, Inc., et al Eastern District of     2:10-cv-
  103     34444148 Brigtsen      Frank       v. BP, PLC, et al                       Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc., et al. Eastern District of    2:10-cv-
  104     34492530 Tusa          Anthony     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc., et al. Eastern District of    2:10-cv-
  105     34492428 Tusa          Anthony     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc., et al. Eastern District of    2:10-cv-
  106     34492195 Tusa          Anthony     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc., et al. Eastern District of    2:10-cv-
  107     34492313 Tusa          Anthony     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                             A Bar & Grill with A Bite, Inc., et al. Eastern District of    2:10-cv-
  108     34492706 Tusa          Anthony     v. BP, PLC, et al.                      Louisiana              01499      No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  109     34486183 Billiot       Joseph      Abadie et al vs BP, P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  110     34486183 Ho            Dang Van    Abadie et al vs. BP P.L.C               Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  111     34486183 Harbiston     David       Abadie et al vs. BP P.L.C, et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  112     34486183 Hebert        Joey        Abadie et al vs. BP P.L.C, et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  113     34486183 Collins       Andrea      Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  114     34486183 Collins       Robert      Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  115     34486183 Crosby        Sai         Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  116     34486183 Cumbie        Dryan       Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  117     34486183 Dantin        Archie      Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  118     34486183 Dantin        Archie      Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  119     34486183 Driggers      William     Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  120     34486183 Dugar         Ronnie      Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  121     34486183 Dung          Tran Van    Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  122     34486183 Firmanty      Doug        Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  123     34486183 Forest        Vanessa     Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  124     34486183 Griffin       Ben         Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  125     34486183 Guidry        Clinton     Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A
                                                                                     Eastern District of    2:10 CV
  126     34486183 Huynh         Hoa         Abadie et al vs. BP P.L.C. et al        Louisiana              2116       No   No   N/A         N/A   N/A


Tab K-1                                                                                                                                                  9 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 47 of 122


                                                                                Eastern District of   2:10 CV
  127     34486183 Huynh      John         Abadie et al vs. BP P.L.C. et al     Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  128     34486183 Huynh      Loi Huu      Abadie et al vs. BP P.L.C. et al     Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  129     34486183 Le         Phong Hong Abadie et al vs. BP P.L.C. et al       Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  130     34486183 Nyancon    Terrai       Abadie et al vs. BP P.L.C. et al     Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  131     34486183 Chelade    Rodney       Abadie et al vs. BP P.L.C., et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  132     34486183 Dunning    Steven       Abadie et al vs. BP P.L.C., et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  133     34486183 Esponge    Reed         Abadie et al vs. BP P.L.C., et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  134     34486183 Griffin    Don          Abadie et al vs. BP P.L.C., et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  135     34486183 Grimmeh    Riley        Abadie et al vs. BP P.L.C., et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  136     34486183 Huynh      Andy         Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  137     34486183 Huynh      Hai          Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  138     34486183 Huynh      Jaw          Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  139     34486183 Huynh      Thai (Dao)   Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  140     34486183 Jackson    Robert       Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  141     34486183 Ladd       Breanne      Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  142     34486183 Lai        Phuong Vu    Abadie et al vs. BP P.L.C., et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  143     34486183 Dung       Truong       Abadie et al vs. BP PLC              Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  144     34486183 Ly         Men Thi      Abadie et al vs. BP, P.L.C, et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  145     34486183 Carson     Louie        Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                              Nguyen                                            Eastern District of   2:10 CV
  146     34486183 Chau       Huanh        Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  147     34486183 Chester    Chris        Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  148     34486183 Dang       Cuong        Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  149     34486183 Danos      George       Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  150     34486183 Hebert     Mark         Abadie et al vs. BP, P.L.C. et al    Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  151     34486183 Hopkins    Karen        Abadie et al vs. BP, P.L.C. et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  152     34486183 Le Diane   Patricia     Abadie et al vs. BP, P.L.C. et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  153     34486183 Loe        Thon         Abadie et al vs. BP, P.L.C. et al    Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  154     34486183 Abadie     Don          Abadie et al vs. BP, PLC et al       Louisiana             2116       No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10 CV
  155     34486183 Ly         Rim Chi      Abadie et al vs. BP, PLC, et al      Louisiana             02116      No   No   N/A             N/A   N/A
                                                                                Eastern District of   2:10-CV-
  156     34486183 Murray     Marie        Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                10 of 72
                                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 48 of 122


                                                                           Eastern District of   2:10-CV-
  157     34486183 Ngo      Francis   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  158     34486183 Ngo      Thao      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  159     34486183 Ngoe     Tran      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  160     34486183 Nguyen   Ben       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  161     34486183 Nguyen   Binn      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  162     34486183 Nguyen   Chavlie   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  163     34486183 Nguyen   Doan      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  164     34486183 Nguyen   Duc       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  165     34486183 Nguyen   Hai       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  166     34486183 Nguyen   Henry     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  167     34486183 Nguyen   Ho        Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  168     34486183 Nguyen   Hong      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  169     34486183 Nguyen   Johnny    Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  170     34486183 Nguyen   Khang     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  171     34486183 Nguyen   Kho       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  172     34486183 Nguyen   Kim       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  173     34486183 Nguyen   Lang      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  174     34486183 Nguyen   Men       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  175     34486183 Nguyen   Minh      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  176     34486183 Nguyen   Nghia     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  177     34486183 Nguyen   Ngou      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  178     34486183 Nguyen   Phe       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  179     34486183 Nguyen   Ri        Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  180     34486183 Nguyen   Roi       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  181     34486183 Nguyen   Sheldon   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  182     34486183 Nguyen   Teo       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  183     34486183 Nguyen   Thuy      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  184     34486183 Nguyen   Tong      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  185     34486183 Nguyen   Viet      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                           Eastern District of   2:10-CV-
  186     34486183 Nguyen   Vu        Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                           11 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 49 of 122


                                                                               Eastern District of   2:10-CV-
  187     34486183 Pham         Dvanson   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  188     34486183 Pham         Lan       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  189     34486183 Phan         Minn      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  190     34486183 Phan         Tam       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  191     34486183 Pitre        Keith     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  192     34486183 Polkey       Richard   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  193     34486183 Polkey       Ronald    Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  194     34486183 Poon         Jason     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  195     34486183 Quan         Nguyen    Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  196     34486183 Roberts      Larry     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  197     34486183 Roberts      Larry     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  198     34486183 Roberts      Larry     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  199     34486183 Schwartz     Shelli    Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  200     34486183 Terrebonne   Carol     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  201     34486183 Thann        Coa       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2:10-CV-
  202     34486183 Thomas       Maude     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  203     34486183 Thov         Lam       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  204     34486183 Toups        Francis   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  205     34486183 Toups        Todd      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  206     34486183 Trahan       Adam      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  207     34486183 Tran         Han       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  208     34486183 Tran         Kiet      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  209     34486183 Tran         Krystal   Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  210     34486183 Tran         Linn      Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  211     34486183 Tran         Ly        Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  212     34486183 Tran         Men       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  213     34486183 Tran         Son       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  214     34486183 Tran         Thach     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  215     34486183 Tran         Thi       Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A
                                                                               Eastern District of   2010-CV-
  216     34486183 Tran         Tuong     Abadie, et al v. BP, P.L.C., et al   Louisiana             2116       No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                               12 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 50 of 122


                                                                                Eastern District of    2010-CV-
  217     34486183 Truong       Dung      Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  218     34486183 Truong       Hen       Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  219     34486183 Truong       Man       Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  220     34486183 Truong       Nan       Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  221     34486183 Van          Cal       Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  222     34486183 Van          Duong     Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  223     34486183 Vegas        Percy     Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  224     34486183 Vo           Si        Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  225     34486183 Willis       Terry     Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    20:10-CV-
  226     34486183 Xieu         Lam       Abadie, et al v. BP, P.L.C., et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 VS.
  227     34486183 McKnight     Richard   Abadie, et al vs. BP, P.L.C et al.    Louisiana              02116       No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 CV
  228     34486183 Abadie       Al        Abadie, et al vs. BP, P.L.C, et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 CV
  229     34486183 Atkins       Ralph     Abadie, et al vs. BP, P.L.C, et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 CV
  230     34486183 Aucoin       Earl      Abadie, et al vs. BP, P.L.C, et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 CV
  231     34486183 Ballard      Albert    Abadie, et al vs. BP, P.L.C, et al    Louisiana              2116        No   No   N/A          N/A   N/A
                                                                                Eastern District of    2:10 CV
  232     34486183 Montelbano   Jack      Abadie, et al vs. BP, P.L.C., et al   Louisiana              02116       No   No   N/A          N/A   N/A
                                          Acy J. Cooper, Jr., et al. v. BP,
                                          PLC, BP Products North AAM., et       Eastern District of
  233     34491967 Anderson     Ronald    al.                                   Louisiana                          No   No   N/A          N/A   N/A
                                          Acy J. Cooper, Jr., et al. v. BP,     Eastern District of    2:10-cv-
  234     34490554 Cooper       Acy       PLC, et al.                           Louisiana              01229       No   No   N/A          N/A   N/A

                                          Adam Alfano v. Transocean Ltd., et Southern District of      2:10CV0298
  235     34472294 Alfano       Adam      al - Case 10-10047-CIV-King           Florida                1          No    No   N/A          N/A   N/A
                                          Adventure Sports, II, Inc.v. BP, Plc, Southern District of   2:10-cv-
  236     No Stamp Mann         Tom       et al                                 Alabama                03243      No    No   N/A          N/A   N/A


                                          All Florida Keys Property
                                          Management, LLC, Individually and
                                          on Behalf of all Persons Similarly
                                          Situated, Plaintiff v. Transocean,
                                          Ltd., BP, PLC., Transocean
                                          Offshore Deepwater Drilling, Inc.,
                                          Transocean Deepwater, Inc.,         Southern District of
  237     34488534                        Products North America, Inc., Halli Florida                              No   No   N/A          N/A   N/A




Tab K-1                                                                                                                                               13 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 51 of 122




                                           All Florida Keys Property
                                           Management, LLC, Individually and
                                           on Behalf of all Persons Similarly
                                           Situated, Plaintiff, v. Transocean,
                                           Ltd., BP, P.LC., Transocean
                                           Offshore Deepwater Drilling, Inc.,
                                           Transocean Deepwater, Inc.,          Southern District of
  238     34490076                         Products North America, Inc., Hal Florida                              No   No   N/A           N/A   N/A
                                           All Florida Keys Property
                                           Management, LLC, Individually and
                                           on Behalf of all Persons Similarly
                                           Situated, Plaintiff, v.
                                           TRANSOCEAN, LTD., BP, PLC
                                           TRANSOCEAN OFFSHORE
                                           DEEPWATER DRILLING, INC.,
                                           TRANSOCEAN DEEPWATER,
                                           INC., PRODUCTS NORTH                 Southern District of
  239     34490730                         AMERICA, INC., HALLIB                Florida                           No   No   N/A           N/A   N/A
                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  240     No Stamp Garcia      Raul        North America, Inc.                  Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  241     No Stamp Abrego      Francisco   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  242     No Stamp Abrego      Francisco   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  243     No Stamp Abrego      Francisco   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  244     No Stamp Abrego      Francisco   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  245     No Stamp Abrego      Francisco   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  246     No Stamp Bautista    Juan        North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  247     No Stamp Borrego     Arturo      North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  248     No Stamp Boudreaux   Kalei       North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  249     No Stamp Boudreaux   Wallace     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  250     No Stamp Boudreaux   Wallace     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  251     No Stamp Cantu       Jimmy       North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  252     No Stamp Carinhas    Jack        North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                           Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  253     No Stamp Carinhas    Jack        North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                               14 of 72
                                                            Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 52 of 122



                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  254     No Stamp Carinhas     Jack     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  255     No Stamp Cepeda       Ismael   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  256     No Stamp Fernandez    Ismael   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  257     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  258     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  259     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  260     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  261     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  262     No Stamp Garcia       Raul     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  263     No Stamp Harrington   Iris     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  264     No Stamp Hernandez    Arturo   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  265     No Stamp Hernandez    Marcos   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  266     No Stamp Hernandez    Marcos   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  267     No Stamp Lawler       Dennis   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  268     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  269     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  270     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  271     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  272     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                         Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  273     No Stamp Linwood      Dolby    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A



Tab K-1                                                                                                                                             15 of 72
                                                           Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 53 of 122



                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  274     No Stamp Linwood    Dolby     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  275     No Stamp Linwood    Dolby     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  276     No Stamp Linwood    Dolby     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  277     No Stamp Loupe      Penny     North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  278     No Stamp Moore      Wenn      North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  279     No Stamp Reyes      Manuel    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  280     34487414 Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  281     No Stamp Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  282     No Stamp Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  283     No Stamp Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  284     No Stamp Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  285     No Stamp Tower      Leonor    North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A

                                        Alpasito, Inc., et al. v. BP Company Southern District of   2:10-cv-
  286     No Stamp Waller     Michael   North America, Inc., et al.          Texas                  04216      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  287     34486281 Annalaro   Paul      vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  288     34486281 Barthelomew Wanda    vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  289     34486281 Biggs      Jerry     vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  290     34486281 Bosarge    Richard   vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  291     34486281 Caywood    Conrad    vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  292     34486281 Caywood    Kenneth   vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  293     34486281 Celestin   Donald    vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  294     34486281 Laird      John      vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  295     34486281 Leyva      Jose      vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  296     34486281 Livings    Andrew    vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A
                                        American Gulf Seafood LLC, et al. Eastern District of       2:10-CV-
  297     34486281 Livings    John      vs. BP, PLC, et al.                  Louisiana              01970      No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                            16 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 54 of 122


                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  298     34486281 Martin        Stephen   vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  299     34486281 Necaise       Steve     vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  300     34486281 Ranko         Ellis     vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  301     34486281 Ronquille     Jerral    vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  302     34486281 Santiny       Joshua    vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  303     34486281 Smith         Brian     vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  304     34486281 Smith         Michael   vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           American Gulf Seafood LLC, et al. Eastern District of      2:10-CV-
  305     34486281 Vidrine       Ashley    vs. BP, PLC, et al.                 Louisiana              01970      No    No   N/A           N/A   N/A
                                           Anthony and Oana Ireland, et al. v. Northern District of
  306     34481526 Ireland       Oana      BP, PLC, et al                      Florida                10-4202    No    No   N/A           N/A   N/A
                                           Anthony and Oana Ireland, et al. v. Northern District of
  307     No Stamp Ireland       Anthony   BP, PLC, et al                      Florida                10-4202    No    No   N/A           N/A   N/A
                   Ascension               Ascension Marine, Inc. V. Nguyen Eastern District of
  308     34487258 Marine, Inc             vs. BP, PLC, et al.                 Louisiana              10-1857 "N" No   No   N/A           N/A   N/A
                                           Barber's Seafood, Inc. v. BP, PLC., Northern District of   2:10-CV-
  309     34487338 Barber        David     et al.                              Florida                03098       No   No   N/A           N/A   N/A
                                           Barber's Seafood, Inc. v. BP, PLC., Northern District of   2:10-CV-
  310     34493417 Barber        David     et al.                              Florida                03098       No   No   N/A           N/A   N/A
                                           Bayona Corporation d/b/a Bayona
                                           Restaurant, et al. v. Transocean,   Eastern District of    2:10-CV-
  311     34473531                         Ltd., et al.                        Louisiana              1839       No    No   N/A           N/A   N/A
                                           Ben Nelson, et al. v. Transocean, Southern District of     3:10-CV-
  312     34447079 Tipps         Roy       Ltd., et al                         Texas                  00172      No    No   N/A           N/A   N/A
                                           Ben Nelson, et al. v. Transocean, Southern District of     3:10-CV-
  313     34441279 Baron         Ned       Ltd., et al.                        Texas                  00172      No    No   N/A           N/A   N/A
                                           Ben Nelson, et al. v. Transocean, Southern District of     3:10-CV-
  314     34447079 Baron         Ned       Ltd., et al.                        Texas                  00172      No    No   N/A           N/A   N/A
                                           Ben Nelson, et al. v. Transocean, Southern District of     3:10-CV-
  315     34441279 Tipps         Roy       Ltd., et al.                        Texas                  00172      No    No   N/A           N/A   N/A
                                           Ben Robin, et al. v. BP, Plc, BP    Eastern District of    2:10-cv-
  316     34487389 Robin         Van       Products North AM., et al.          Louisiana              01248      No    No   N/A           N/A   N/A
                                           Ben Robin, et al. v. BP, Plc, BP    Eastern District of    2:10-cv-
  317     34487123 Robin         Van       Products North AM., et al.          Louisiana              01248      No    No   N/A           N/A   N/A
                                           Ben Robin, et al. v. BP, Plc, BP    Eastern District of    2:10-cv-
  318     34487860 Robin         Van       Products North AM., et al.          Louisiana              01248      No    No   N/A           N/A   N/A
                                           Ben Robin, et al. v. BP, Plc, BP    Eastern District of    2:10-cv-
  319     34486724 Robin         Van       Products North AM., et al.          Louisiana              01248      No    No   N/A           N/A   N/A
                                           Bill's Oyster House, et al v. BP,   Eastern District of    2:10-cv-
  320     34490399 Olivier       Ronald    Plc, et al                          Louisiana              01308      No    No   N/A           N/A   N/A
                                           Bill's Oyster House, et al v. BP,   Eastern District of    2:10-cv-
  321     34489498 Taylor        Diana     Plc, et al                          Louisiana              01308      No    No   N/A           N/A   N/A
                                           Bill's Oyster House, et al v. BP,   Eastern District of    2:10-cv-
  322     34490399 Taylor        Diana     Plc, et al                          Louisiana              01308      No    No   N/A           N/A   N/A
                                           Bill's Oyster House, et al v. BP,   Eastern District of    2:10-cv-
  323     34490399 Williams      Michael   Plc, et al                          Louisiana              01308      No    No   N/A           N/A   N/A
                                           Bill's Oyster House, et al v. BP,   Eastern District of    2:10-cv-
  324     34490399 Worthman      Nicole    Plc, et al                          Louisiana              01308      No    No   N/A           N/A   N/A
                                           Billy Wilkerson, et al. v.          Southern District of   10-CV-
  325     34491243                         Transocean Holdings, Inc., et al    Alabama                02643      No    No   N/A           N/A   N/A
                                           Billy Wilkerson, et al. v.          Southern District of   10-CV-
  326     34491243 Wilkerson     Billy     Transocean Holdings, Inc., et al.   Alabama                02643      No    No   N/A           N/A   N/A
                                           Billy Wilkerson, et al. v.          Southern District of   10-CV-
  327     34491243 Wilkerson     Tessa     Transocean Holdings, Inc., et al.   Alabama                02643      No    No   N/A           N/A   N/A


Tab K-1                                                                                                                                               17 of 72
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 55 of 122


                                          Billy Wilkerson, et al. v.            Southern District of   10-CV-
  328     34491243                        Transocean Holdings, Inc., et al.     Alabama                02643      No    No   N/A         N/A   N/A
                                          Billy Wilkerson, et al. v.            Southern District of
  329     34491243                        Transocean Holdings, Inc., et al.     Alabama                10-CV-2643 No    No   N/A         N/A   N/A
                                          Billy Wilkerson, et al. v.            Southern District of   10-CV-
  330     34491243                        Transocean Holdings, Inc., et al.     Alabama                02643      No    No   N/A         N/A   N/A
                                          Billy Wilkerson, et al. v.            Southern District of   10-CV-
  331     34491243                        Transocean Holdings, Inc., et al.     Alabama                02643      No    No   N/A         N/A   N/A

          34473312;                       Billy's Seafood et al v Transocean    Southern District of
  332     34472566 Parks        Billy     Holdings et al (See Attached)         Alabama                10-VV-215 No     No   N/A         N/A   N/A
                                          Blue Water Yacht Sales, etc. v.       Southern District of   10-CV-
  333     34491243 Long         John      Transocean Holdings, Inc., et al.     Alabama                02656      No    No   N/A         N/A   N/A
                                          Blue Water Yacht Sales, etc. v.       Southern District of   10-CV-
  334     34491243                        Transocean Holdings, Inc., et al.     Alabama                02656      No    No   N/A         N/A   N/A
                                                                                                       1:10-CV-
                                          Bobby Wilson, Ind & as Proposed Southern District of         00263-HSO-
  335     34460306 Wilson       Bobby     Class Rep vs. BP P.L.C., et al.      Mississippi             JMR        No    No   N/A         N/A   N/A
                                          Bon Secour Fisheries, Inc., et al v. Eastern District of     2:10-cv-
  336     34482939 Nelson       John      BP, Plc, et al.; 1:10-cv-00206       Louisiana               02646      No    No   N/A         N/A   N/A
                                          Bon Secour Fisheries, Inc., et al v. Southern District of    2:10-cv-
  337     34482939 Nelson       John      BP, Plc, et al.; 1:10-cv-00206       Alabama                 02646      No    No   N/A         N/A   N/A
                                          Bones & Campbell Enterprises,        Eastern District of     2:10CV-
  338     34480942 Campbell     Gene      Inc. v. BP P.L.C., et al             Louisiana               03068      No    No   N/A         N/A   N/A
                                          Bradford T. Picariello d/b/a Outlaw
                                          Sportfishing, et al. Ind & as                                4:10-CV-
                                          Proposed Class Rep vs. BP P.L.C., Southern District of       10054-King-
  339     34460495 Picarlello   Barford   et al.                               Florida                 Bandstra    No   No   N/A         N/A   N/A
                                          Bradley Shivers et al v. BP, PLC, et Southern District of    CV.10.0381.
  340     34558781 Mead         Mark      al                                   Alabama                 B           No   No   N/A         N/A   N/A
                                          Bradley Shivers et al v. BP, PLC, et Southern District of    CV.10.0381.
  341     34562658 Russell      Scott     al                                   Alabama                 B           No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP, PLC, Southern District of      CV-10-0381-
  342     34478973 Mead         Mark      et al                                Alabama                 B           No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP, PLC, Southern District of      1:10-CV-
  343     No Stamp Russell      Scott     et al                                Alabama                 00381       No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP, PLC, Southern District of      1:10-CV-
  344     34389429 Russell      Scott     et al                                Alabama                 00381       No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP, PLC, Southern District of      CV-10-0381-
  345     34478973 Russell      Scott     et al                                Alabama                 B           No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP, PLC, Southern District of      1:10-CV-
  346     34389429 Shivers      Bradley   et al                                Alabama                 00381       No   No   N/A         N/A   N/A
          34478973;                       Bradley Shivers, et al v. BP, PLC, Southern District of      CV-10-0381-
  347     34487538 Shivers      Bradley   et al                                Alabama                 B           No   No   N/A         N/A   N/A
                                          Bradley Shivers, et al v. BP., PLC, Southern District of     1:10-CV-
  348     34389429 Mead         Mark      et al                                Alabama                 00381       No   No   N/A         N/A   N/A
                                                                                                       2:10-CV-
                                          Bruce Kyle Bang v. BP, PLC, BP      Eastern District of      02097-CJB-
  349     34422543 Bang         Bruce     Products North America, Inc., et al Louisiana                SS          No   No   N/A         N/A   N/A
                                          Cajun Offshore Charters, LLC v.     Eastern District of
  350     34440333 Leger        Scott     BP, PLC, et al                      Louisiana                10-1341    No    No   N/A         N/A   N/A
                                                                              Eastern District of      2:10-CV-
  351     34477210                        Calvin J. Richard v. BP, PLC, et al Louisiana                1438       No    No   N/A         N/A   N/A
                                                                              Northern District of
  352     No Stamp Simmons      Gerald    Capt Ander, Inc. v. BP, PLC, et al. Florida                  10-4205    No    No   N/A         N/A   N/A
                                          Capt. Charlie Thomason's Bayou
                                          Charters, INC. et al vs. BP, PLC,
                                          BP Products North America, Inc., Eastern District of         10-CV-
  353     34493944 Betzer       Kevin     et al                               Louisiana                01422      No    No   N/A         N/A   N/A




Tab K-1                                                                                                                                              18 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 56 of 122


                                           Capt. Charlie Thomason's Bayou
                                           Charters, INC. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  354     34494131 Blache       Alan       et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  355     34494197 Blanchard    Chad       et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                   Charlies                Capt. Charlie Thomason's Bayou
                   Restaurant &            Charters, Inc. et al vs. BP, PLC,
                   Catering,               BP Products North America, Inc.,    Eastern District of   10-CV-
  356     34494300 LLC                     et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  357     34494300 Crawford     Alan       et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  358     34494300 Crawford     Linda      et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, INC. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  359     34493975 Deogracias   Jason      et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, INC. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  360     34494020 Deogracias   Johnny     et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  361     34494300 Gaspard      Juan       et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  362     34494300 Mones        Jason      et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  363     34494300 Levi         Reginald   et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  364     34494300 Melerine     Anna       et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  365     34494300 Melerine     Clinton    et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  366     34494300 Nuccio       Lawrence   et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, Inc. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  367     34494227 Serigne      Howard     et al                               Louisiana             01422    No   No   N/A               N/A   N/A
                                           Capt. Charlie Thomason's Bayou
                                           Charters, INC. et al vs. BP, PLC,
                                           BP Products North America, Inc.,    Eastern District of   10-CV-
  368     34494108 Serpas       Wilbur     et al                               Louisiana             01422    No   No   N/A               N/A   N/A



Tab K-1                                                                                                                                               19 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 57 of 122


                                              Captain Cherry D. Verdin v. BP,     Eastern District of
  369     34455203 Verdin       Cherry        Plc, et al                          Louisiana                10-CV-1841 No   No   N/A          N/A   N/A
                                              Captain Edward Lockridge, et al. v. Southern District of     2:10-cv-
  370     34487922 Lockridge    Edward        BP, PLC, et al.                     Alabama                  02659      No   No   N/A          N/A   N/A
                                              Captain Irene D. Verdin v. BP,Plc, Eastern District of
  371     34455203 Verdin       Irene         et al                               Louisiana                10-CV-1842 No   No   N/A          N/A   N/A
                                              Captain Kenny Barhanovich v. BP, U.S Dist. Court for
                                              plc, BP Products of North America, Southern Dist.of
  372     34600104 Barhanovich Kenny          Inc., et al                         Miss.                              No    No   N/A          N/A   N/A

  373     34494468 Matherne     Timothy       Capt'n Charlie Thomasons Bayou        XXXXX                            No    No   N/A          N/A   N/A
                                              Carden Simcox, et al. v. BP, PLC,     Middle District of     2:10CV-
  374     34486543 Simcox       Carden        et al., 3:10-cv-00514                 Tennessee              02999     No    No   N/A          N/A   N/A
                                              Cause No. 2010-25245: In Re:
                                              Stephen Stone and Sara Stone v.       District Court of      2:10-CV-
                                              Transocean Offshore Deepwater         Harris County,         03168-CJB-
  375     34417108 Stone        Sara          Drilling, Inc., et al                 Texas                  SS         No   No   N/A          N/A   N/A
                                              Cause No. 2010-25245: In Re:
                                              Stephen Stone and Sara Stone v.       District Court of      2:10-CV-
                                              Transocean Offshore Deepwater         Harris County,         03168-CJB-
  376     34417343 Stone        Sara          Drilling, Inc., et al                 Texas                  SS         No   No   N/A          N/A   N/A
                                              Cause No. 2010-25245: In Re:
                                              Stephen Stone and Sara Stone v.       District Court of      2:10-CV-
                                              Transocean Offshore Deepwater         Harris County,         03168-CJB-
  377     34417108 Stone        Stephen       Drilling, Inc., et al                 Texas                  SS         No   No   N/A          N/A   N/A
                                              Cause No. 2010-25245: In Re:
                                              Stephen Stone and Sara Stone v.       District Court of      2:10-CV-
                                              Transocean Offshore Deepwater         Harris County,         03168-CJB-
  378     34417343 Stone        Stephen       Drilling, Inc., et al                 Texas                  SS         No   No   N/A          N/A   N/A
                                              Cause No. 2010-38791; James           District Court of
                                              Hebert v. BP PLC, BJ Servives         Harris County,
  379     34487961 Hebert       Jimmy         Company, et al.                       Texas                            No    No   N/A          N/A   N/A
                                              Cause No. CV63537; Christopher
                                              Eldridge v. BP PLC, Offshore          County Court of
                                              Inland Marine & Oilfield Services,    Galveston County,
  380     34487961 Eldridge     Christopher   Inc., et al.                          Texas                            No    No   N/A          N/A   N/A
                                              Charles C. Elmer, et al. v. BP,       Eastern District of
  381     34482005 Eckert       Darryl        P.L.C, et al                          Louisiana              10-1515   No    No   N/A          N/A   N/A
                                              Charles C. Elmer, et al. v. BP,       Eastern District of
  382     34482005 Baas, Jr.    Fredrick      P.L.C, et al.                         Louisiana              10-1515   No    No   N/A          N/A   N/A
          34482005;                           Charles C. Elmer, et al. v. BP,       Eastern District of
  383     34491153 Neumeyer Jr. Rodney        P.L.C., et al.                        Louisiana              10-1515   No    No   N/A          N/A   N/A
                                                                                    Northern District of
  384     No Stamp Evans        Charles       Charles Evans v. BP, PLC, et al.      Florida                10-3094   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  385     34517999 Brown        Walter        PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  386     34517999 Brown        Andrea        PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  387     34517999 Chipka       Stephen       PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  388     34517999 Chipka       Heather       PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  389     34517999 Cook         Charles       PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  390     34517999 Cooley       Mark          PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  391     34517999 Cortez       Miguel        PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  392     34517999 Cortez       Kelly         PLC et al                             Louisiana              10-2989   No    No   N/A          N/A   N/A



Tab K-1                                                                                                                                                  20 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 58 of 122


                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  393     34517999 Depritto     Lucia         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  394     34517999 Dixon        Marie         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  395     34517999 Dixon        Stephen       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  396     34517999 French       Brooke        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  397     34517999 Galanti      Ronald        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  398     34517999 Gall         Lee           PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  399     34517999 Griffith     Cynthia       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  400     34517999 Guy          David         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  401     34517999 Koonin       Steven        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  402     34517999 Masterson    Deborah       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  403     34527052 Masterson    Joseph        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  404     34517999 McGowan      Robert        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  405     34517999 McGowan      Betty         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  406     34517999 Moscattini   Lori          PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  407     34517999 Moscattini   Roy           PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  408     34517999 Murphey      Michael       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  409     34517999 Murphy       Laura         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  410     34517999 Nimer        Michael       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  411     34527052 Nimer        Dona          PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  412     34517999 Nunn         Leslie        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  413     34517999 Nunn         William       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  414     34517999 Phelts       Tim           PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  415     34517999 Phelts       Allison       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  416     34517999 Rodriguez    Bridget       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  417     34517999 Rodriguez    Frank         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  418     34517999 Rosenberg    Rosenberg     PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  419     34517999 Schorr       Christopher   PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  420     34517999 Schorr       Kimberly      PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  421     34517999 Smith        Stephen       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  422     34517999 Tsoukalas    Chris         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A



Tab K-1                                                                                                                                                  21 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 59 of 122


                                              Christopher R. Schorr, et al v. BP, Eastern District of
  423     34517999 Waronker     Steven        PLC et al                           Louisiana                10-2989    No    No   N/A          N/A   N/A
                                              CJK Fab & Consulting v. BP, Plc,    Eastern District of      2:10-CV-
  424     34482939 Kelsch       Christopher   et al                               Louisiana                02839      No    No   N/A          N/A   N/A
                                                                                  Southern District of
  425     34463410 Contegni     Charles       Contegni V. Transocean Ltd., et al. Texas                               No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  426     34474635                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  427     34474635                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  428     34474635                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  429     34493900                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  430     34493900                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A
                                              Copeland's of New Orleans, Inc.;
                                              Cheesecake Bistro, LLC; and         Eastern District of
  431     34493900                            Sweet Fire & Ice, LLC v. BP, PLC Louisiana                   10-1926    No    No   N/A          N/A   N/A

                                              Cory Shepardson d/b/a Lower Keys                             4:10-CV-
                                              Charters, et al. Ind & as Proposed Southern District of      10054-King-
  432     34460658 Shepardson Cory            Class Rep vs. BP P.L.C., et al.    Florida                   Bandstra    No   No   N/A          N/A   N/A

                                              Cotton Bayou Marina d/b/a Tacky Southern District of         2:10-cv-
  433     No Stamp Kichler      Ken           Jack's Restaurant v. BP, Plc, et al Alabama                  03244      No    No   N/A          N/A   N/A
                                              Dana Banks v. Transocean LTD, et Southern District of        2:10CV0297
  434     34470478 Banks        Dana          al - 10-CV-10045-KMM                Florida                  9          No    No   N/A          N/A   N/A
                                                                                                           2:10-CV-
                                              Daniel Barker, et al vs. BP, et al    Southern District of   03267-CJB-
  435     34474893 Barker       Daniel        (See Below)                           Mississippi            SS         No    No   N/A          N/A   N/A
                                                                                    Southern District of   2:10-cv-
  436     34494645 Hudley       Daniel        Daniel Hudley v. BP, PLC, et. al.     Alabama                04200      No    No   N/A          N/A   N/A
                                              Daniels v. BP, PLC, et al., 1:10-CV-
                                              181-HSO-JMR, S.D. Miss.,             Southern District of
  437     34470605 Daniels      Ronnie        Southern Div.                        Mississippi             10-2679    No    No   N/A          N/A   N/A
                                              Darleen Jacobs Levy vs.              Eastern District of
  438     No Stamp Bradley      Charles       Transocean, LTD, et al               Louisiana               10-1245    No    No   N/A          N/A   N/A
                                              Darleen Jacobs Levy vs.              Eastern District of
  439     No Stamp Cage         Patrick       Transocean, LTD, et al               Louisiana               10-1245    No    No   N/A          N/A   N/A
                                              Darleen Jacobs Levy vs.              Eastern District of
  440     No Stamp Harper       Lewis         Transocean, LTD, et al               Louisiana               10-1245    No    No   N/A          N/A   N/A
                                              Darleen Jacobs Levy vs.              Eastern District of
  441     No Stamp Hicks         Ronald       Transocean, LTD, et al               Louisiana               10-1245    No    No   N/A          N/A   N/A
                     Home
                     Finders                  Darleen Jacobs Levy vs.               Eastern District of
  442     No Stamp International              Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A          N/A   N/A
          [Illegible                          Darleen Jacobs Levy vs.               Eastern District of
  443     stamp.]    Jay         Beverly      Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A          N/A   N/A
          [Illegible                          Darleen Jacobs Levy vs.               Eastern District of
  444     stamp.]    Kizzee      Anthony      Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A          N/A   N/A
                                              Darleen Jacobs Levy vs.               Eastern District of
  445     No Stamp Kizzee       Anthony       Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A          N/A   N/A
                                Mahesh        Darleen Jacobs Levy vs.               Eastern District of
  446     No Stamp Mistry       (Mike)        Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A          N/A   N/A



Tab K-1                                                                                                                                                   22 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 60 of 122


                                            Darleen Jacobs Levy vs.               Eastern District of
  447     No Stamp Reece          Kevin     Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A            N/A   N/A
                                            Darleen Jacobs Levy vs.               Eastern District of
  448     No Stamp Terrebonne     Paul      Transocean, LTD, et al                Louisiana              10-1245    No    No   N/A            N/A   N/A
                                            Darleen Jacobs Levy vs.               Eastern District of
  449     No Stamp Wolfson        Neil      Transocean, LTD, et al                Louisiana              10-1245     No   No   N/A            N/A   N/A
                                                                                  Southern District of   2:10CV0265
  450     No Stamp Denmark        Steve     David Meyer, et al.                   Alabama                0           No   No   N/A            N/A   N/A
                                                                                  Southern District of   2:10CV0265
  451     No Stamp Hodas          Carrie    David Meyer, et al.                   Alabama                0           No   No   N/A            N/A   N/A
                                                                                  Southern District of   2:10CV0265
  452     No Stamp Hodas          Kier      David Meyer, et al.                   Alabama                0           No   No   N/A            N/A   N/A
                                                                                  Southern District of   2:10CV0265
  453     34472566 Meyer          David     David Meyer, et al.                   Alabama                0           No   No   N/A            N/A   N/A
                                            Deborah Bird, et al. Ind & as                                4:10-CV-
                                            Proposed Class Rep vs. BP P.L.C., Southern District of       10054-King-
  454     34460822 Bird           Deborah   et al.                               Florida                 Bandstra    No   No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  455     34475070                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  456     34494009                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  457     34494009                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  458     34494009                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  459     34494009                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  460     34494009                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  461     34475070                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  462     34475070                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  463     34475070                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Decatur Hotels, LLC, et al vs. BP, Eastern District of
  464     34475070                          PLC, et al                           Louisiana               10-1767    No    No   N/A            N/A   N/A
                                            Defenders of Wildlife, et al. v. BP, Eastern District of     2:10-CV-
  465     No Stamp [Illegible]              PLC, et al.                          Louisiana               03879      No    No   N/A            N/A   N/A
                                            Defenders of Wildlife, et al. v. BP, Eastern District of     2:10-CV-
  466     No Stamp                          PLC, et al.                          Louisiana               03879      No    No   N/A            N/A   N/A
                                            Defenders of Wildlife, et al. v. BP. Eastern District of     2:10-CV-
  467     No Stamp [Illegible]              P.L.C. et al                         Louisiana               00879      No    No   N/A            N/A   N/A
                                                                                 Eastern District of     2:10-cv-
  468     34450953 Derouen        Kelly     Derouen, et al v. BP PLC, et al      Louisiana               01573      No    No   N/A            N/A   N/A
                                                                                 Eastern District of     2:10-cv-
  469     34506755 Derouen        Kelly     Derouen, et al v. BP PLC, et al      Louisiana               01573      No    No   N/A            N/A   N/A
                                                                                 Eastern District of     2:10-cv-
  470     34450953 Derouen        Uwell     Derouen, et al v. BP PLC, et al      Louisiana               01573      No    No   N/A            N/A   N/A
                                                                                 Eastern District of     2:10-cv-
  471     34506755 Derouen        Uwell     Derouen, et al v. BP PLC, et al      Louisiana               01573      No    No   N/A            N/A   N/A

                   Charter Boat
                   Seascape,                Destin Fishing Fleet, Inc, et al v.   Northern District of
  472     34481385 Inc                      BP, PLC, et al                        Florida                10-3088    No    No   N/A            N/A   N/A

                   Charter Boat
                   Seascape,                Destin Fishing Fleet, Inc, et al v.   Northern District of
  473     34481906 Inc                      BP, PLC, et al                        Florida                10-3088    No    No   N/A            N/A   N/A




Tab K-1                                                                                                                                                   23 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 61 of 122



                   Charter Boat
                   Seascape,                  Destin Fishing Fleet, Inc, et al v.   Northern District of
  474     34481385 Inc                        BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A

                   Charter Boat               Destin Fishing Fleet, Inc, et al v.   Northern District of
  475     34481385 Sunrise, Inc               BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A

                   Charter Boat               Destin Fishing Fleet, Inc, et al v.   Northern District of
  476     34481906 Sunrise, Inc               BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A
                   Destin
                   Fishing Fleet,             Destin Fishing Fleet, Inc, et al v.   Northern District of
  477     34481385 Inc.                       BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A
                   Destin
                   Fishing Fleet,             Destin Fishing Fleet, Inc, et al v.   Northern District of
  478     34481906 Inc.                       BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A
                   First Light
                   Enterprises,               Destin Fishing Fleet, Inc, et al v.   Northern District of
  479     34481385 Inc.                       BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A
                   First Light
                   Enterprises,               Destin Fishing Fleet, Inc, et al v.   Northern District of
  480     34481906 Inc.                       BP, PLC, et al                        Florida                 10-3088    No   No   N/A          N/A   N/A
                                              Destin, et al. c. BP PLC, et al. -
                                              Case No. 3:10-CV-00141 MCR            Northern District of
  481     34471245 Destin           Dewey     EMT                                   Florida                            No   No   N/A          N/A   N/A
                   Edgewater
                   Beach                      Destin, et al. c. BP PLC, et al. -
                   Owners                     Case No. 3:10-CV-00141 MCR            Northern District of
  482     34470229 Assoc. Inc.                EMT                                   Florida                            No   No   N/A          N/A   N/A

                                              Deupree Outdoor Guide Services,        Southern District of   2:10-cv-
  483     No Stamp Deupree          Edward    Inc., et al. v. BP, PLC, et al.        Alabama                03247      No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  484     34492554 James            Daniel    BP, PLC, et al                         1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  485     34492554 Anderson         Dorothy   BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  486     34492554 Anderson         Dorothy   BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  487     34492554 Anderson         Dorothy   BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  488     34492554 Divine           Jack      BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  489     34492554 Divine           Jack      BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  490     34492554 Divine           Jack      BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  491     34492554 Divine           Jack      BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                              Divine Fish House, Inc., et al. v.     SC-Charleston 10-
  492     34492554 Divine           Jack      BP, PLC, et al.                        1461                   10-3276    No   No   N/A          N/A   N/A
                                                                                     Southern District of   2:10CV0298
  493     34478457 Donnell          John      Donnell v. Transocean, LTD et al Florida                      2          No   No   N/A          N/A   N/A
                                                                                     District of South
  494     34492554 Brandt           Earl      Earl Brandt, et al. v. BP, PLC, et al Carolina                10-3275    No   No   N/A          N/A   N/A
                                                                                     District of South
  495     34492554 Chandler         Sandra    Earl Brandt, et al. v. BP, PLC, et al Carolina                10-3275    No   No   N/A          N/A   N/A
                                                                                     District of South
  496     34492554 Lloyd            William   Earl Brandt, et al. v. BP, PLC, et al Carolina                10-3275    No   No   N/A          N/A   N/A
                                                                                     District of South
  497     34492554 Kerner           David     Earl Brandt, et al. v. BP, PLC, et al. Carolina               10-3275    No   No   N/A          N/A   N/A



Tab K-1                                                                                                                                                   24 of 72
                                                            Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 62 of 122


                                                                                District of South
  498     34492554 McIntosh    Chris     Earl Brandt, et al. v. BP, PLC, et al. Carolina             10-3275    No   No   N/A           N/A   N/A
                                         East Shore Land Development            Middle District of   2:10-CV-
  499     34492205 Felker      Alan      LLC v. BP, PLC, et al                  Florida              03078      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  500     34487414 Andelin     Daniel    America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  501     No Stamp Belton      Brian     America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  502     No Stamp Bernard     Darren    America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  503     No Stamp Bernard     Edward    America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  504     No Stamp Berryman    John      America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  505     No Stamp Bogden      Sandra    America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  506     No Stamp Brooks      Timothy   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  507     No Stamp Broussard   Margo     America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  508     No Stamp Bruce       Michael   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  509     No Stamp Butler      Kirk      America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  510     No Stamp Caiazza     Michael   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  511     No Stamp Cantor      Crystal   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  512     No Stamp Carr        David     America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  513     No Stamp Clark       Fred      America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  514     No Stamp Clark       Raymond   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  515     No Stamp Crumpton    Raymond   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  516     No Stamp Day         Worth     America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  517     No Stamp Debrow      John      America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A
                                         Ecco Solutions d/b/a Ecco Fish
                                         USA, et al. v. BP Company North Southern District of        2:10-cv-
  518     No Stamp Eggert      Anthony   America, Inc., et al.                  Texas                04225      No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                             25 of 72
                                                        Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 63 of 122


                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  519     No Stamp Evans     Jarrett   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  520     No Stamp Frye      Micheal   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  521     No Stamp Gibbs     Michele   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  522     No Stamp Goodman   Monroe    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  523     No Stamp Guillot   Adam      America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  524     No Stamp Harden    William   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  525     No Stamp Hinds     Scott     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  526     No Stamp Holtrey   George    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  527     No Stamp Howard    Thomas    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  528     No Stamp Hubbard   John      America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  529     No Stamp Hudson    Brandon   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  530     No Stamp Jackson   Gregory   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  531     No Stamp Johnson   James     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  532     No Stamp Kidder    Mark      America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  533     No Stamp Ladnier   Scottie   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  534     No Stamp Lee       John      America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  535     No Stamp Liprie    Anthony   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  536     No Stamp Lopez     Johnny    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  537     No Stamp Louis     Dwayne    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                       Ecco Solutions d/b/a Ecco Fish
                                       USA, et al. v. BP Company North   Southern District of   2:10-cv-
  538     No Stamp Luce      Louis     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A



Tab K-1                                                                                                                                         26 of 72
                                                           Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 64 of 122


                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  539     No Stamp Marvis       Craig     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  540     No Stamp Matherne     Timothy   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  541     No Stamp McDaniel     Niki      America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  542     No Stamp Michael      Debbie    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  543     No Stamp Moeau        Craig     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  544     No Stamp Moore        Chris     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  545     No Stamp Mullen       Tavia     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  546     No Stamp Nelton       Elton     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  547     No Stamp Peeples      William   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  548     No Stamp Pennington   Timothy   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  549     No Stamp Petry        Donald    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  550     No Stamp Plumb        Vincent   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  551     No Stamp Poppele      Andrew    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  552     No Stamp Rafes        David     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  553     No Stamp Rice         Wilburn   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  554     No Stamp Richard      Thomas    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  555     No Stamp Rivas        Mario     America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  556     No Stamp Roach        Jaimmie   America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  557     No Stamp Sanders      Darlyn    America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North   Southern District of   2:10-cv-
  558     No Stamp Shadowwolf John        America, Inc., et al.             Texas                  04225      No   No   N/A            N/A   N/A



Tab K-1                                                                                                                                            27 of 72
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 65 of 122


                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  559     No Stamp Shank      Gwendolyn   America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  560     No Stamp Sharp      Jimmy       America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  561     No Stamp Shedrick   Daniel      America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  562     No Stamp Sinku      Jon         America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  563     No Stamp Stelly     Daveene     America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  564     No Stamp Talebli    Robert      America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  565     No Stamp Vincent    James       America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  566     No Stamp Washington Thaddeus    America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  567     No Stamp White      Mike        America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ecco Solutions d/b/a Ecco Fish
                                          USA, et al. v. BP Company North Southern District of         2:10-cv-
  568     No Stamp Willits    Thomas      America, Inc., et al.                 Texas                  04225      No   No   N/A          N/A   N/A
                                          Ellis Schouest, III, et al. v. BP
                                          Products North America, Inc., et.     Western District of
  569     34455357 George     James       al. C.A. No. 6:10-727                 Louisiana                         No   No   N/A          N/A   N/A
                                          Ellis Schouest, III, et al. v. BP
                                          Products North America, Inc., et.     Western District of
  570     34455357 Schouest   Ellis       al. C.A. No. 6:10-727                 Louisiana                         No   No   N/A          N/A   N/A
                                          Emily R. Adams, Ind. & as                                    4:10-CV-
                                          Proposed Class Rep vs. BP P.L.C., Northern District of       00306-SPM-
  571     34462053 Adams      Emily       et al.                                Florida                WCS        No   No   N/A          N/A   N/A
                                                                                US District Court      2:10-cv-
  572     34485748 Dugas      Eugene      Eugene B. Dugas v. BP, Plc, et al Eastern Disc               01322      No   No   N/A          N/A   N/A
                                          Felix Alexie, Jr., et al. v. BP, PLC, USDC, Eastern          2:10-cv-
  573     34471244 Alexie     Felix       et al.                                District               01250      No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  574     34487414 Aguilar    Felix       al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  575     No Stamp Alonso     Roman       al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  576     No Stamp Cabrales   Richard     al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  577     No Stamp Cantu      Leon        al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  578     No Stamp Cardenas   Jonquito    al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A
                                          Felix C. Aguilar, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  579     No Stamp Castillo   Joaquin     al.                                   Texas                  10-4220    No   No   N/A          N/A   N/A


Tab K-1                                                                                                                                              28 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 66 of 122


                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  580     No Stamp Castro        Jose        al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  581     No Stamp Cazares       David       al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  582     No Stamp Chavez        Simon       al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  583     No Stamp Che           Armando     al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  584     No Stamp Constantino Rito          al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. v. BP
                                             Company North America, Inc., et   Southern District of
  585     No Stamp Coronado      Francisco   al.                               Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  586     No Stamp Garcia        Adan        Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  587     No Stamp Garcia        Eddie       Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  588     No Stamp Garcia        Felix       Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  589     No Stamp Garcia        Victor      Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  590     No Stamp Garza         Gilberto    Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  591     No Stamp German        Mendoza     Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  592     No Stamp Gomez         Fausto      Company North America, et al      Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  593     No Stamp Cortex        Alan        Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  594     No Stamp Cuevas        Angel       Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  595     No Stamp Cuevas        Edward      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  596     No Stamp De la Garza   Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  597     No Stamp Diaz Vargas Antonio       Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  598     No Stamp Ellzey        Kenneth     Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  599     No Stamp Encarnation Guajardo      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  600     No Stamp Escodedo      Benito      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  601     No Stamp Estaban       Raciel      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  602     No Stamp Flores        Armando     Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  603     No Stamp Flores        Elidio      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  604     No Stamp Fuentes       Raul        Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  605     No Stamp Gallardo      Benito      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A
                                             Felix C. Aguilar, et al. vs. BP   Southern District of
  606     No Stamp Gallardo      Manuel      Company North America, et al.     Texas                  10-4220   No   No   N/A              N/A   N/A



Tab K-1                                                                                                                                                29 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 67 of 122


                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  607     No Stamp Gonzalez    Carlos      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  608     No Stamp Guajardo    Julio       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  609     No Stamp Guajardo    Jeffrey     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  610     No Stamp Gutierez    Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  611     No Stamp Hamandez    Gustavo     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  612     No Stamp Hamblin     David       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  613     No Stamp Hernandez   Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  614     No Stamp Huff        Samuel      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  615     No Stamp Hurt        Jerry       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  616     No Stamp Ibanez      Gonzalo     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  617     No Stamp Jimenez     Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  618     No Stamp Justice     Van         Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  619     No Stamp Ledezma     Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  620     No Stamp Leon        Miguel      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  621     No Stamp Leon        Sonia       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  622     No Stamp Leon        Walter      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  623     No Stamp Linarte     Luis        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  624     No Stamp Longoria    Fostino     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  625     No Stamp Longoria    Victor      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  626     No Stamp Longoria    Vincent     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  627     No Stamp Lopez       Celestino   Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  628     No Stamp Lopez       Juan        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  629     No Stamp Lopez       Mario       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  630     No Stamp Maeroque    Leon        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  631     No Stamp Marino      Antonio     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  632     No Stamp Martinez    Hector      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  633     No Stamp Martinez    Juan        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  634     No Stamp Medrano     Evaristo    Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  635     No Stamp Moreno      Raul        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  636     No Stamp Muniz       Gregorio    Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A



Tab K-1                                                                                                                                               30 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 68 of 122


                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  637     No Stamp Ochoa        Artemio     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  638     No Stamp Ochoa        Gloria      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  639     No Stamp Ochoa        Marco       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  640     No Stamp Olguin       Nicolas     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  641     No Stamp Paz          Francisco   Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  642     No Stamp Perez        Thomas      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  643     No Stamp Pinedo       Ruben       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  644     No Stamp Rall         Walter      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  645     No Stamp Ramos        Ray         Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  646     No Stamp Rey          Mariano     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  647     No Stamp Reyna        Francisco   Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  648     No Stamp Rodriguez    Leandro     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  649     No Stamp Rojas        Lupe        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  650     No Stamp Roman        Roman       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  651     No Stamp Rosas        Hector      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  652     No Stamp Saavedra     Daniel      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  653     No Stamp Salas        Jose        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  654     No Stamp Saldivar     Ted         Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  655     No Stamp Sandiford    Clarence    Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  656     No Stamp Sandoval     Juan        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                   Santa Cruz               Felix C. Aguilar, et al. vs. BP   Southern District of
  657     No Stamp Alvizo       Victor      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  658     No Stamp Serrano      Alfredo     Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  659     No Stamp Tamay        Edgar       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  660     No Stamp Thomas       Samuel      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  661     No Stamp Tinoco       Cesar       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  662     No Stamp Torres       Thomas      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  663     No Stamp Vasquez      Bryan       Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  664     No Stamp Vasquez      Manuel      Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                   Vela                     Felix C. Aguilar, et al. vs. BP   Southern District of
  665     No Stamp Villanueva   Faustino    Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A
                                            Felix C. Aguilar, et al. vs. BP   Southern District of
  666     No Stamp White        Alan        Company North America, et al.     Texas                  10-4220   No   No   N/A               N/A   N/A



Tab K-1                                                                                                                                                31 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 69 of 122


                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  667     No Stamp Zapata      Nicolas     Company North America, et al.     Texas                     10-4220    No   No   N/A           N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  668     No Stamp Zapata      Oscar       Company North America, et al.     Texas                     10-4220    No   No   N/A           N/A   N/A
                                           Felix C. Aguilar, et al. vs. BP   Southern District of
  669     No Stamp Zapata      Edgar       Company North America, et al.     Texas                     10-4220    No   No   N/A           N/A   N/A
                                           Fish Commander, LLC v. BP, PLC, Eastern District of         2:10-cv-
  670     34440333 Walker      Lance       et al                             Louisiana                 01339      No   No   N/A           N/A   N/A
                                           Fish Trap Charters, LLC et al. v. Southern District of      10-CV-
  671     34491243                         Transocean, et al                 Alabama                   02644      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters LLC v. Eastern District of        2:10-cv-
  672     34468598 Nunez Jr.   Lester      BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  673     34468642 Nunez       Brandy      BP                                Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  674     34468595 Nunez       Catherine   BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  675     34468605 Nunez       Jeremy      BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  676     34468602 Nunez       John        BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  677     34468598 Nunez       Lester      BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  678     34468625 Nunez       Lester      BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magician Charters, LLC v. Eastern District of       2:10-cv-
  679     34468605 Nunez Sr.   Jeremy      BP (See Attached)                 Louisiana                 01338      No   No   N/A           N/A   N/A
                                           Fishing Magicians Charter v. BP   Eastern District of       2:10-cv-
  680     34468599 Nunez       Karen       (See Attached)                    Louisiana                 01338      No   No   N/A           N/A   N/A

                                           FishTrap Charters, LLC, et al. v.    Southern District of   10-CV-
  681     34494050 Ingram      Jon         Transcocean Holdings, Inc., et al.   Alabama                02644      No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd Pearce of Beaumont.     Eastern District of    03116-CJB-
  682     34483188 Lane        Ricky       LP et al v. BP, Plc, et al           Louisiana              SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  683     34483188 Berryman    Rebecca     LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  684     34483188 Berryman    Timothy     LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  685     34488980 Berryman    Timothy     LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  686     34489272 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  687     34484152 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  688     34489272 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  689     34489272 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  690     34489272 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A
                                                                                                       2:10-CV-
                                           Floyd, Floyd, Pearce of Beaumont, Eastern District of       03116-CJB-
  691     34483866 Floyd       Bret        LP, et al v. BP, PLC, et al       Louisiana                 SS         No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                               32 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 70 of 122


                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  692     34489475 Floyd        Bret        LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  693     34488980 James        Timothy     LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  694     34488720 Johnson      Jeremy      LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  695     34488720 Johnson      Jeremy      LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  696     34488720 Johnson      Nicholas    LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  697     34484152 Landry       Floyd       LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  698     34489475 Landry       Floyd       LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont, Eastern District of      03116-CJB-
  699     34489475 Malin        Paul        LP, et al v. BP, PLC, et al       Louisiana                SS         No   No   N/A              N/A   N/A
                                                                                                       2:10-CV-
                                            Floyd, Floyd, Pearce of Beaumont,   Eastern District of    03116-CJB-
  700     34489475 Malin        Paul        LP, et al v. BP, PLC, et al         Louisiana              SS         No   No   N/A              N/A   N/A
                                            Fort Morgan Sales, Rentals &
                                            Development, Inc., et al. v.        Southern District of   10-CV-
  701     34491243                          Transocean Holdings, Inc., et al    Alabama                02645     No    No   N/A              N/A   N/A
                                            Fort Morgan Sales, Rentals &
                                            Development, Inc., et al. v.        Southern District of   10-CV-
  702     34491243                          Transocean Holdings, Inc., et al.   Alabama                02645     No    No   N/A              N/A   N/A
                                                                                Eastern District of
  703     No Stamp Acheson      Mark        Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  704     No Stamp Alexander    Jamaric     Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  705     34483429 Alexandria   Curtis      Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  706     No Stamp Ardoin       Nicholas    Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  707     No Stamp Augustine    Kevin       Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  708     No Stamp Ball         William     Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  709     No Stamp Barks        Ricky       Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  710     No Stamp Bartie       Sean        Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  711     No Stamp Ben          Rogers      Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  712     No Stamp Benfield     Nathaniel   Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  713     No Stamp Benoit       Jeffrey     Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  714     No Stamp Bessard      Keldrick    Fruge, et al. v. BP, PLC, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  715     No Stamp Bessard      Thomas      Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A
                                                                                Eastern District of
  716     No Stamp Borders      Ronald      Fruge, et al. v. BP, Plc, et al.    Louisiana              10-CV-1752 No   No   N/A              N/A   N/A


Tab K-1                                                                                                                                                  33 of 72
                                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 71 of 122


                                                                                  Eastern District of
  717     No Stamp Broussard      Mark         Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  718     No Stamp Brown          Jason        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  719     No Stamp Brown          Lloyd        Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  720     No Stamp Camara         Edwin        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  721     No Stamp Campbell       Kareem       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  722     No Stamp Carrera        Gilberto     Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  723     No Stamp Ceaser Jr.     Willie       Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  724     No Stamp Cessac         Thomas       Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  725     No Stamp Chretein       Jonathon     Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  726     No Stamp Chretein       Julius       Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  727     No Stamp Chretein Jr.   Lash         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  728     No Stamp Chretein Sr. Lash           Fruge, et al. v. BP, Plc, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  729     No Stamp Chretien       Edward       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  730     No Stamp Cleary         Ronnie       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  731     34488477 Cockrell       Melvin       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  732     No Stamp Cole Sr.       Terrell      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  733     No Stamp Cox Jr.        Melvin       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  734     No Stamp Dahlen         Richard      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  735     No Stamp Davis          Joseph       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  736     No Stamp Davis          Nathan       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  737     No Stamp Doby           Robert       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  738     No Stamp Doxey          Barrett      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  739     No Stamp Doxey          Ruben        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  740     No Stamp Doxey          William      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  741     No Stamp Druilhet       Gerald       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  742     No Stamp Druilhet       Marlon       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  743     No Stamp Duncan         Marcellius   Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  744     No Stamp Fisher         Herbert      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  745     No Stamp Frederick      Charlie      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A
                                                                                  Eastern District of
  746     No Stamp Fruge          John         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A                N/A   N/A



Tab K-1                                                                                                                                                     34 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 72 of 122


                                                                                 Eastern District of
  747     No Stamp Gregory      Raymond       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  748     No Stamp Grice        Germaine      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  749     No Stamp Grindol      Jonathan      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  750     No Stamp Gruben       Kenneth       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  751     No Stamp Guidry       Sam           Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  752     No Stamp Guidry Jr.   James         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  753     No Stamp Guzman       Damian        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  754     No Stamp Guzman       Fernando      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                   Guzman-                                                       Eastern District of
  755     No Stamp Ramirez      Adrian        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  756     No Stamp Harding      Emerson       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  757     No Stamp Harris       Kenneth       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  758     No Stamp Hartzog      Ronnie        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  759     No Stamp Henderson    Godwin        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  760     No Stamp Hobbs        David         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  761     No Stamp Holmes       Elijah        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  762     No Stamp Holton       Derek         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  763     No Stamp Hudson       Travis        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  764     No Stamp Hyatt        Christopher   Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  765     No Stamp James        Jerry         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  766     No Stamp Jefferson    Larry         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  767     No Stamp Johnwell     Tommie        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  768     No Stamp Jones        Kevin         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  769     No Stamp Jones        Warren        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  770     No Stamp Labbe        Lorie         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  771     No Stamp LaSalle      Steven        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  772     No Stamp LeBlanc      Carlton       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  773     No Stamp LeBlanc      Sha'Da        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  774     No Stamp LeBlanc      Wanda         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  775     No Stamp LeDay        Gregory       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                                 Eastern District of
  776     No Stamp LeDay        Tracy         Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A



Tab K-1                                                                                                                                                   35 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 73 of 122


                                                                              Eastern District of
  777     No Stamp Levy        Robert      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  778     No Stamp Little      Robbie      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  779     No Stamp Lorden      Merlin      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  780     No Stamp McCorvey    Calvin      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  781     No Stamp Meaux       Joseph      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  782     No Stamp Merida      Jose        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  783     No Stamp Mitchell    Cornell     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  784     No Stamp Mouton      Curtis      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  785     No Stamp Newman      John        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  786     No Stamp Nguyen      Edward      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  787     No Stamp Nguyen      Trung       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  788     No Stamp Noel        Samuel      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  789     No Stamp Nunez       Victor      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  790     No Stamp Palmer      Wayne       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  791     No Stamp Perkins     Shelton     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  792     No Stamp Petry Jr.   George      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  793     No Stamp Prejean     Arthur      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  794     No Stamp Randall     Douglas     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  795     No Stamp Randell     Stephen     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  796     No Stamp Reliford    Kerry       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  797     No Stamp Richard     Johnathan   Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  798     No Stamp Richard     Patrick     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  799     No Stamp Richard     Patrick     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  800     No Stamp Roberts     Leon        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  801     No Stamp Robinson    George      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  802     No Stamp Rosamore    John        Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  803     No Stamp Sam         Joseph      Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  804     No Stamp Savoy       Leroy       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  805     No Stamp Smith Jr.   David       Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A
                                                                              Eastern District of
  806     No Stamp Spell       Cynthia     Fruge, et al. v. BP, PLC, et al.   Louisiana             10-CV-1752 No   No   N/A               N/A   N/A



Tab K-1                                                                                                                                                36 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 74 of 122


                                                                                  Eastern District of
  807     No Stamp Swire          Lionel     Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  808     No Stamp Tezeno         Bobby      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  809     No Stamp Theall         Danny      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  810     No Stamp Thornton Jr. Bernard      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  811     No Stamp Toups          James      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  812     No Stamp Toups          Linwood    Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  813     No Stamp Trejo          Gregorio   Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  814     No Stamp Walter         Brian      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  815     No Stamp White          Eddie      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  816     No Stamp Whittington    Phillip    Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  817     No Stamp Williams       Beatrice   Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  818     No Stamp Williams       John       Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  819     No Stamp Williams       Michael    Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  820     No Stamp Williams       Randall    Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  821     No Stamp Williams       Romona     Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  822     No Stamp Williams       Solomon    Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  823     No Stamp Williams Jr.   Anderson   Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  824     No Stamp Wright         Kent       Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  825     No Stamp Young          Jimmy      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  826     No Stamp Zeno           Terry      Fruge, et al. v. BP, PLC, et al.     Louisiana              10-CV-1752 No    No   N/A           N/A   N/A
                                             Gallo et al. v. BP PLC et al. 2:10- Eastern District of     2:10-CV-
  827     34476526 Marsh          B.         CV-02795                             Louisiana              02795      No    No   N/A           N/A   N/A
                                             Gallo et al. v. BP PLC et al. 2:10- Eastern District of     2:10-CV-
  828     34477379 Messier        Kyle       CV-02795                             Louisiana              02795      No    No   N/A           N/A   N/A
                                                                                  Southern District of   2:10-cv-
  829     34482254 Paul           Gary       Gary Paul, et al. v. BP, Plc, et al  Alabama                03245      No    No   N/A           N/A   N/A
                                             George Simpson v. Transocean,        Southern District of   1:10-CV-
  830     34488008 Simpson        George     LTD; BP, et al.                      Alabama                00210      No    No   N/A           N/A   N/A
                                                                                  Eastern District of
  831     34485625 Nguyen         Giang      Giang T. Nguyen vs. BP, PLC, et al Louisiana                10-1852 "N" No   No   N/A           N/A   N/A
                                                                                  Eastern District of
  832     34486891 Nguyen         Giau       Giau V. Nguyen vs. BP, PLC, et al. Louisiana                10-1855 "R" No   No   N/A           N/A   N/A
                                             Glynis H.Wright; Janille Turner; et. Southern District of
  833     34494570 Turner         Janille    al. v. BP, PLC et al.                Alabama                10-3263    No    No   N/A           N/A   N/A
                                             Glynis H.Wright; Janille Turner; et. Southern District of
  834     34494505 Wright         Glynis     Al. v. BP, PLC, et al.               Alabama                10-3263    No    No   N/A           N/A   N/A
                                             Gold Fingers Jewelers & Gift Shop, Middle District of       2:10-CV-
  835     34491025 Mikalef        Irene      Inc., Inc. v. BP, PLC, et al         Florida                03079      No    No   N/A           N/A   N/A
                                             Gold Fingers Jewelers & Gift Shop, Middle District of       2:10-CV-
  836     34492468 Mikalef        Anthipi    Inc., Inc. v. BP, PLC, et al         Florida                03079      No    No   N/A           N/A   N/A



Tab K-1                                                                                                                                                  37 of 72
                                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 75 of 122


                                                                                                             1:10-CV-
                                                Grady Thigpen, et al. v. BP, PLC,     Southern District of   00280-LG-
  837     34494243 McCraney       Chris         et. al.                               Mississippi            RHW         No   No   N/A          N/A   N/A
                                                                                                             1:10-CV-
                                            Grady Thigpen, et al. v. BP, PLC, Southern District of           00280-LG-
  838     34494243 Thigpen        Grady     et. al.                             Mississippi                  RHW         No   No   N/A          N/A   N/A
                                            Groomer Seafood, Inc. vs. BP
                                            Company North America, Inc., et     Eastern District of
  839     34487414 Groomer     Richard      al.                                 Louisiana                                No   No   N/A          N/A   N/A
                                            Gulf Crown Seafood, Inc., v. BP,    Eastern District of
  840     34482939 Floyd       Jeff         Plc, et al                          Louisiana                    2:10-1344   No   No   N/A          N/A   N/A
                                            Gulf Manufacturing Company v.
                               Eduardo;Clar BP, PLC; et al., FLSD Case # 1:10- Southern District of
  841     34357052 Gomez       a            cv-23323-XXXX                       Florida                      10-4209     No   No   N/A          N/A   N/A
                                            Gulf Shores West Beach
                                            Investments, LLC et al v
                                            Transocean Holdings, Inc. et al     Southern District of
  842     34481394 Elkins      Terry        (See Attached)                      Alabama                      10-CV-213   No   No   N/A          N/A   N/A
                                            Gulf Shores West Beach
                                            Investments, LLC et al v
                                            Transocean Holdings, Inc. et al     Southern District of
  843     No Stamp Elkins      Terry;Janice (See Attached)                      Alabama                      10-CV-213   No   No   N/A          N/A   N/A
                                            Gulf Shores West Beach
                                            Investments, LLC et al v
                                            Transocean Holdings, Inc. et al     Southern District of
  844     No Stamp Elkins      Terry;Janice (See Attached)                      Alabama                      10-CV-213   No   No   N/A          N/A   N/A
                                            Gulf Shores West Beach
                                            Investments, LLC et al v
                   Elkins as                Transocean Holdings, Inc. et al     Southern District of
  845     No Stamp Trustees    Terry;Janice (See Attached)                      Alabama                      10-CV-213   No   No   N/A          N/A   N/A
                                            Gulf Shores West Beach
                                            Investments, LLC et al v
                               Susan;Richar Transocean Holdings, Inc. et al     Southern District of
  846     No Stamp Goldsworthy d            (See Attached)                      Alabama                      10-CV-213   No   No   N/A          N/A   N/A
                                            Hao Van Le d/b/a Bluewater
                                            Seafood v. BP, PLC, et al.; USDC
                                            ND, Panama City, Florida - 5:10-cv- USDC, Panama
  847     34488964 Le          Hoa Van      00124                               City, FL                     10-3103    No    No   N/A          N/A   N/A
                                                                                                             2:10-CV-
                                                                                      Northern District of   02662-CJB-
  848     34495281 Harris         John          Harris v. Transocean, Ltd., et al.    Florida                SS         No    No   N/A          N/A   N/A
                                                                                                             2:10-CV-
                                                                                      Northern District of   02662-CJB-
  849     34495336 Harris         Nicholas      Harris v. Transocean, Ltd., et al.    Florida                SS         No    No   N/A          N/A   N/A
                                                Henry Phuc Do d/b/a Paul's            Eastern District of    2:10-CV-
  850     34477911 Do             Henry         Seafood v. BP, PLC, et al.            Louisiana              02750      No    No   N/A          N/A   N/A
                                                                                                             1:10-CV-
                                                Hiep Trieu et al. v. BP Exploration   Southern District of   177-LG-
  851     34472864 Skrmetta       Louis         and Production, Inc. et al.           Mississippi            RHW        No    No   N/A          N/A   N/A
                                                                                      Southern District of   2:10-cv-
  852     34482254 Hobson         Preston       Hobson v. BP, Plc, et al              Alabama                03258      No    No   N/A          N/A   N/A
                                                Inter-tour Louisiane, Inc d/b/a
                                                Tours by Isabelle, et al. v.          Eastern District of    2:10-CV-
  853     34496388                              Transocen, Ltd., et al.               Louisiana              2103        No   No   N/A          N/A   N/A
                                                Inter-tour Louisiane, Inc. d/b/a
                                                Tours by Isabelle, et al. v.          Eastern District of    2:10-CV-
  854     34473620                              Transocean, Ltd., et al.              Louisiana              2103        No   No   N/A          N/A   N/A
                                                Inter-tour Louisiane, Inc. d/b/a
                                                Tours by Isabelle, et al. v.          Eastern District of    2:10-CV-
  855     34473620                              Transocean, Ltd., et al.              Louisiana              2103        No   No   N/A          N/A   N/A



Tab K-1                                                                                                                                                     38 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 76 of 122


                                                                                                           CV-10-CV-
  856     34493530 Creppel, Jr.   Isadore     Isadore Creppel v. BP, PLC et al      Eastern District       01346       No   No   N/A         N/A   N/A
                                              J&M Boat Rentals LLC v. BP PLC,       Eastern District of
  857     34449662 Frelich        Frank       et al                                 Louisiana              2:10-1747   No   No   N/A         N/A   N/A
                                              J.J.S. Properties, Inc. v. BP, PLC,   Middle District of     2:10-CV-
  858     34492349 Sofronas       James       et al                                 Florida                03082       No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  859     No Stamp Cary           Beverly     North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  860     No Stamp Corliss        Roger       North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  861     No Stamp Forster        Arlene      North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  862     No Stamp Harmon         Nancy       North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  863     No Stamp Levinson       William     North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  864     No Stamp May            Sharon      North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  865     No Stamp Schiano        Anthony     North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  866     No Stamp Sparacino      Maria       North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A
                                              Jack Arias, et al. v. BP Company      Southern District of
  867     No Stamp Steel          Susan       North America, Inc., et al.           Texas                  10-4224     No   No   N/A         N/A   N/A

                                              Jack Arias, et al. vs. BP Company Southern District of
  868     34487414 Arias          Jack        North America, Inc., et al.       Texas                      10-4224     No   No   N/A         N/A   N/A

                                              Jack Arias, et al. vs. BP Company Southern District of
  869     No Stamp Arias          Jack        North America, Inc., et al.         Texas                    10-4224     No   No   N/A         N/A   N/A
                                              James C. Balius et al. v. BP PLC et Southern District of
  870     34495147 Seymour        Timothy     al.                                 Mississippi              10-3271     No   No   N/A         N/A   N/A
                                              James E. Fisher and Kate C.         Circuit Court of
                                              Fisher v. BP, PLC., et al, CV-2010- Baldwin County,
  871     34482632 Fisher         James       901237                              Alabama                  10-4187     No   No   N/A         N/A   N/A
                                              James E. Fisher and Kate C.         Circuit Court of
                                              Fisher v. BP, PLC., et al, CV-2010- Baldwin County,
  872     34482632 Fisher         Kate        901237                              Alabama                  10-4187     No   No   N/A         N/A   N/A
                                              James F. Mason, Jr., et al. v.
                                              Transocean, LTD., et al; 1:10-v-    Southern District of     2:10-CV-
  873     34480268 Mason          James       00191                               Alabama                  02639       No   No   N/A         N/A   N/A
                                              James Ferguson et al. v. BP, PLC Southern District of        2:10-CV-
  874     34478553 Ferguson       Constance   et al. 1:10-cv-00281                Alabama                  03251       No   No   N/A         N/A   N/A
                                              James Ferguson et al. v. BP, PLC Southern District of        2:10-CV-
  875     34478283 Ferguson       James       et al. 1:10-cv-00281                Alabama                  03251       No   No   N/A         N/A   N/A
                                              James Galaris, et al v. BP, PLC, et Middle District of       2:10-CV-
  876     34491656 Galaris        James       al                                  Florida                  03081       No   No   N/A         N/A   N/A
                                              James Galaris, et al v. BP, PLC, et Middle District of       2:10-CV-
  877     34491656 Moreira        Carlos      al                                  Florida                  03081       No   No   N/A         N/A   N/A
                                              James J. Friloux, et. al vs. BP,    Eastern District of
  878     34442602 Friloux        Ethyln      PLC.,                               Louisiana                101-1246    No   No   N/A         N/A   N/A
                                              James J. Friloux, et. al vs. BP,    Eastern District of
  879     34442602 Friloux        James       PLC., et al.                        Louisiana                101-1246    No   No   N/A         N/A   N/A
                                              James J. Frischhertz, et al. v.
                                              Halliburton Energy Services, Inc., Eastern District of
  880     34490438 Carter         Kenneth     et al.                              Louisiana                10-1908     No   No   N/A         N/A   N/A
                                              James J. Frischhertz, et al. v.
                                              Halliburton Energy Services, Inc., Eastern District of
  881     34490275 Frischhertz    James       et al.                              Louisiana                10-1908     No   No   N/A         N/A   N/A
                                              Jarvis J. Harmon, Sr., et al v. BP, Eastern District of      2:10-CV-
  882     34479533 Edmond         Carlos      PLC, et al                          Louisiana                1931        No   No   N/A         N/A   N/A


Tab K-1                                                                                                                                                  39 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 77 of 122


                                          Jarvis J. Harmon, Sr., et al v. BP,   Eastern District of    2:10-CV-
  883     34478700                        PLC, et al                            Louisiana              1931       No   No   N/A           N/A   N/A
                                          Jarvis J. Harmon, Sr., et al v. BP,   Eastern District of    2:10-CV-
  884     34478849                        PLC, et al                            Louisiana              1931       No   No   N/A           N/A   N/A
                                          Jarvis J. Harmon, Sr., et al v. BP,   Eastern District of    2:10-CV-
  885     34479123                        PLC, et al                            Louisiana              1931       No   No   N/A           N/A   N/A
                                          Jarvis J. Harmon, Sr., et al v. BP,   Eastern District of    2:10-CV-
  886     34479380                        PLC, et al                            Louisiana              1931       No   No   N/A           N/A   N/A
                                                                                                       3:10-CV-
                                          Joe Patti Seafood Company vs.         Northern District of   00137-MCR-
  887     34491217 Faught      Carlos     Transocean, LTD, et al                Florida                MD         No   No   N/A           N/A   N/A
                                                                                                       3:10-CV-
                                          Joe Patti Seafood Company vs.         Northern District of   00137-MCR-
  888     34490983 Patti       Frank      Transocean, LTD, et al                Florida                MD         No   No   N/A           N/A   N/A
                                          John F. Phillips vs. BP America       Eastern District of
  889     34474159 Phillips    John       Production Company, et al             Louisiana              10-1620   No    No   N/A           N/A   N/A
                                          John F. Phillips vs. BP America       Eastern District of
  890     34493537 Phillips    John       Production Company, et al             Louisiana              10-1620   No    No   N/A           N/A   N/A
                                          John Petitjean; et al. v. BP, PLC, et Northern District of
  891     No Stamp Petitjean   John       al.                                   Florida                10-4201   No    No   N/A           N/A   N/A
                                          Joseph A. Kunstler, et al BP,         Eastern District of
  892     34489834 Cummins     Harold     P.L.C., et al.                        Louisiana              2010-01345 No   No   N/A           N/A   N/A
                                          Joseph A. Kunstler, et al BP,         Eastern District of
  893     34489834 Ingram      Bay        P.L.C., et al.                        Louisiana              2010-01345 No   No   N/A           N/A   N/A
                                          Joseph A. Kunstler, et al BP,         Eastern District of
  894     34489834 Kunstler    Joseph     P.L.C., et al.                        Louisiana              2010-01345 No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-CV-
  895     No Stamp Danzig      Joshua     Joshua Danzig v. BP, PLC, et al       Louisiana              1726       No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-CV-
  896     34478549                        Joshua Danzig v. BP, PLC, et al       Louisiana              1726       No   No   N/A           N/A   N/A

                                          JRKW Enterprises, LLC, d/b/a                                 2:10-CV-
                                          Huck Finn's Cafe & as Proposed        Eastern District of    02846-CJB-
  897     34462220 Rogers      Jeffrey    Class Rep vs. BP P.L.C., et al.       Louisiana              SS         No   No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  898     34487414 Blanco      Rogelio    al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  899     No Stamp Cano        Roque      al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  900     No Stamp Cardiel     Ruben      al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  901     No Stamp Dominguez   Lenardo    al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  902     No Stamp Escobedo    Gilberto   al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  903     No Stamp Escobedo    Gilberto   al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  904     No Stamp Escobedo    Roberto    al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  905     No Stamp Garnica     Luis       al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A
                                          Juan Esquivel, et al. v. BP
                                          Company North America, Inc., et       Southern District of
  906     No Stamp Gasca       Jose       al.                                   Texas                  10-4214   No    No   N/A           N/A   N/A


Tab K-1                                                                                                                                               40 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 78 of 122


                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  907     No Stamp Hernandez    Marcos     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  908     No Stamp Hernandez    Ruben      al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  909     No Stamp Rodriguez    Isauro     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  910     No Stamp Rodriguez    Oscar      al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  911     No Stamp Silguero     Ubaldo     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  912     No Stamp Urdrales     Jose       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  913     No Stamp Cantu        Carlos     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  914     No Stamp Cantu        Santiago   al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  915     No Stamp Esquivel     Juan       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  916     No Stamp Hernandez    Eleazar    al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  917     No Stamp Martinez     Jose       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  918     No Stamp Martinez     Jose       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  919     No Stamp Morales      Victor     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  920     No Stamp Rodriguez    Juan       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  921     No Stamp Roque        Javier     al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Esquivel, et al. vs. BP
                                           Company North America, Inc., et       Southern District of
  922     No Stamp Zepeda       Rolando    al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                                           Juan Exquivel, et al. v. BP
                                           Company North America, Inc., et       Southern District of
  923     No Stamp Zapata       Juan       al.                                   Texas                  10-4214    No   No   N/A          N/A   N/A
                   Ben-Rip-J,              Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-
  924     34490452 Inc.         N/A        PLC, et al.                           Alabama                00200      No   No   N/A          N/A   N/A
                                           Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-
  925     34490452 Mcleod       Benjamin   PLC, et al.                           Alabama                00200      No   No   N/A          N/A   N/A
                   Necessity
                   Sport                   Jud and Sherri Smith, et al. v. BP,   Southern District of   1:10-CV-
  926     34490452 Fishing, LLC N/A        PLC, et al.                           Alabama                00200      No   No   N/A          N/A   N/A




Tab K-1                                                                                                                                               41 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 79 of 122


                                                                                                           4:10-CV-
                                                                                                           10069-
                                             Kevin Ware, Ind & as Proposed        Southern District of     Martinez/Br
  927     34461444 Ware            Kevin     Class Rep vs. BP P.L.C., et al.      Florida                  own         No    No   N/A        N/A   N/A
                                             Key West Tiki Charters, Inc., et al.
                                             v. Transocean, Ltd., et al Case No. Southern District of
  928     34490989 Burge           Michael   4:10-cv-10039-KMM                    Florida                  10-2976      No   No   N/A        N/A   N/A
                                             Kha Van Nguyen et al. v. BP, PLC, Eastern District of         2:10-CV-
  929     34489840 Nguyen          Kha       et al.                               Louisiana                01741        No   No   N/A        N/A   N/A
                                             Larry O'Bryan, et al. v. BP, PLC, et Western District of      2:2010-CV-
  930     34454212 O'Bryan         Larry     al.                                  Kentucky                 02992        No   No   N/A        N/A   N/A
                                             Larry O'Bryan, et al. v. BP, PLC, et Western District of      2:2010-CV-
  931     34470935 O'Bryan         Larry     al.                                  Kentucky                 02992        No   No   N/A        N/A   N/A

                   Stephen E.
                   Ernst and
                   Sharon Ernst              Larry O'Bryan, et al. v. BP, PLC, et Western District of      2:2010-CV-
  932     34454523 Living Trust              al.                                  Kentucky                 02992      No     No   N/A        N/A   N/A

                   Stephen E.
                   Ernst and
                   Sharon Ernst              Larry O'Bryan, et al. v. BP, PLC, et   Western District of    2:2010-CV-
  933     34470864 Living Trust              al.                                    Kentucky               02992      No     No   N/A        N/A   N/A
                                             Le Discount Seafood, Inc., et al. v.   Northern District of   2:10-CV-
  934     34487715 Kirkland        Morgan    BP PLC, et al. 5:10-cv-00106           Florida                03101      No     No   N/A        N/A   N/A
                                             Le Discount Seafood, Inc., et al. v.
                                             BP, PLC, et al.; USDC ND,
                                             Panama City, Florida - 5:10-cv-        USDC, Panama
  935     34484213 Le              Namthi    00106                                  City, FL               10-3101      No   No   N/A        N/A   N/A
                                                                                    Eastern District of
  936     No Stamp Bui             Huong     Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  937     No Stamp Bui             Theu      Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  938     No Stamp Bui             Sang      Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  939     No Stamp Bui             Hoa       Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A

                   C&J                                                              Eastern District of
  940     No Stamp Seafood, Inc.             Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A

                   Captain
                   John's                                                           Eastern District of
  941     No Stamp Seafood, Inc.             Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  942     No Stamp Chang           Mi        Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  943     No Stamp Combs       Kim           Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                   D&T Marine,                                                      Eastern District of
  944     No Stamp Inc.                      Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  945     No Stamp Dang            Xuan      Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  946     No Stamp Dang            He        Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  947     No Stamp Do              Mai       Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                                                                                    Eastern District of
  948     No Stamp Do              Toan      Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A
                   Domino
                   Seafood,                                                         Eastern District of
  949     No Stamp Corporation               Le, et al. v. BP, PLC, et al.          Louisiana              10-CV-2114 No     No   N/A        N/A   N/A


Tab K-1                                                                                                                                                  42 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 80 of 122


                                                                             Eastern District of
  950     No Stamp Duong          My         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  951     No Stamp Duong          Dong       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  952     No Stamp Ho             Ret        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  953     No Stamp Ho             Lac        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  954     No Stamp Ho             Tommy      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  955     No Stamp Hoang          Tina       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  956     No Stamp Hoang          Nhan       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  957     No Stamp Huynh          Tuoi       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  958     No Stamp Huynh          Ngan       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  959     No Stamp Huynh          Duc        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  960     No Stamp Huynh          Mau        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  961     No Stamp Huynh        Anh          Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   James D.Q.,
                   Inc. d/b/a
                   Jonathan                                                  Eastern District of
  962     No Stamp Boy II                    Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   John's
                   Seafood
                   Restaurant #                                              Eastern District of
  963     No Stamp 2, Inc.                   Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A

                   Khamphoy
                   Senabandith,
                   Inc. (John's
                   Seafood                                                   Eastern District of
  964     No Stamp Restaurant)               Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   L.V. Marine                                               Eastern District of
  965     No Stamp Corporation               Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Lady More,                                                Eastern District of
  966     No Stamp LLC                       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  967     No Stamp Lai            Thuy-Ha    Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  968     No Stamp Le             Tam        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  969     No Stamp Le             Thaun      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  970     No Stamp Le             Michael    Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  971     No Stamp Le             Michelle   Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  972     No Stamp Le             Duc        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  973     No Stamp Le             Chau       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  974     No Stamp Le             Dung       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  975     No Stamp Le             Nhac       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A



Tab K-1                                                                                                                                                  43 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 81 of 122


                                                                             Eastern District of
  976     No Stamp Le             Luu        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  977     No Stamp Le             John       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A

                   Le Seafood
                   Enterprises,
                   LLC (Mid
                   City Seafood                                              Eastern District of
  978     No Stamp and Deli)                 Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A

                   Les Chicken,                                              Eastern District of
  979     No Stamp Inc.                      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Le's Produce
                   & Market,                                                 Eastern District of
  980     No Stamp Inc.                      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  981     No Stamp Long           Neardey    Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  982     No Stamp Lu             David      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  983     No Stamp Lu             Liet       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  984     No Stamp Ly            Kia         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   M & Lorie,
                   Inc. (Petro                                               Eastern District of
  985     No Stamp Mart)                     Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   MC Mart,
                   LLC
                   (Greensburg
                   Seafood &                                                 Eastern District of
  986     No Stamp Deli)                     Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Mrs. Kay,
                   Inc. d/b/a D
                   & K Food                                                  Eastern District of
  987     No Stamp Mart                      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Natural Nine,                                             Eastern District of
  988     No Stamp LLC                       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  989     No Stamp Nguyen         Dang       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  990     No Stamp Nguyen         Bang       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  991     No Stamp Nguyen         Kha        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  992     No Stamp Nguyen         Long       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  993     No Stamp Nguyen         Duong      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  994     No Stamp Nguyen         Joe        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  995     No Stamp Nguyen         Mary       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  996     No Stamp Nguyen         Chi        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  997     No Stamp Nguyen         Thuan      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  998     No Stamp Nguyen         Trang      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                             Eastern District of
  999     No Stamp Nguyen         Kim-Thoa   Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A



Tab K-1                                                                                                                                                  44 of 72
                                                            Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 82 of 122


                                                                        Eastern District of
  1000    No Stamp Nguyen   Thanh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1001    No Stamp Nguyen   Christina   Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1002    No Stamp Nguyen   Eric        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1003    No Stamp Nguyen   Thanh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1004    No Stamp Nguyen   Jessica     Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1005    No Stamp Nguyen   Oanh        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1006    No Stamp Nguyen   Hung        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1007    No Stamp Nguyen   Bao         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1008    No Stamp Nguyen   Huong       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1009    No Stamp Nguyen   Chau        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1010    No Stamp Nguyen   Thuy        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1011    No Stamp Nguyen   Tam         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1012    No Stamp Nguyen   Thim        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1013    No Stamp Nguyen   Da          Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1014    No Stamp Nguyen   Jason       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1015    No Stamp Nguyen   Hien        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1016    No Stamp Nguyen   Tony        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1017    No Stamp Nguyen   Canyh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1018    No Stamp Nguyen   Hong        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1019    No Stamp Nguyen   David       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1020    No Stamp Nguyen   Vuong       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1021    No Stamp Nguyen   Ngoc        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1022    No Stamp Nguyen   Duc         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1023    No Stamp Nguyen   Du          Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1024    No Stamp Nguyen   Su          Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1025    No Stamp Nguyen   Thanh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1026    No Stamp Nguyen   Thanh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1027    No Stamp Nguyen   Tom         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1028    No Stamp Nguyen   Myha        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                        Eastern District of
  1029    No Stamp Nguyen   Hung        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A



Tab K-1                                                                                                                                             45 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 83 of 122


                   Osaka Thai                                                 Eastern District of
  1030    No Stamp Corporation                Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Paul & Brian,                                              Eastern District of
  1031    No Stamp LLC                        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1032    No Stamp Pham            Hong       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1033    No Stamp Pham            Ky         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1034    No Stamp Pham            Diep       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1035    No Stamp Pham            Chinh      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1036    No Stamp Pham            Si         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1037    No Stamp Pham            Chon       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1038    No Stamp Pham            Terry      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1039    No Stamp Pham            Eric       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1040    No Stamp Phan            Hung       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1041    No Stamp Phan            Vui        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1042    No Stamp Quach           Jennifer   Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1043    No Stamp Quach           James      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1044    No Stamp Senabandith Khamphoy       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   Shinto                                                     Eastern District of
  1045    No Stamp Restaurant                 Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                   T & T Foot                                                 Eastern District of
  1046    No Stamp Mart, Inc.                 Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1047    No Stamp Ta              Ly         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1048    No Stamp Thach           Vil        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1049    No Stamp Thai            Tam        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1050    No Stamp Ton             Trinh      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1051    No Stamp Tran            Binh       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1052    No Stamp Tran            Tai        Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1053    No Stamp Tran            Ha         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1054    No Stamp Tran            Em         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1055    No Stamp Tran            Nhan       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1056    No Stamp Tran            Tu         Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1057    No Stamp Tran            Duyen      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1058    No Stamp Tran            Micki      Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A
                                                                              Eastern District of
  1059    No Stamp Tran            Bien       Le, et al. v. BP, PLC, et al.   Louisiana             10-CV-2114 No   No    N/A                 N/A   N/A



Tab K-1                                                                                                                                                   46 of 72
                                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 84 of 122


                                                                                  Eastern District of
  1060    No Stamp Tran          Canh          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1061    No Stamp Tran          Che           Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1062    No Stamp Tran          Duong         Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1063    No Stamp Tran          Kim           Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1064    No Stamp Tran          Thanh         Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1065    No Stamp Tran          Liep          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1066    No Stamp Tran          Manh          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1067    No Stamp Tran          Thang         Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1068    No Stamp Tran          Billy         Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1069    No Stamp Troung        Phuong        Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1070    34477318 Truong        Tho           Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1071    No Stamp Truong        Pat (Phuoc)   Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1072    No Stamp Truong        Kham          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                   Tu do
                   Vietnamese
                   Restaurant,                                                    Eastern District of
  1073    No Stamp Inc.                        Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1074    No Stamp Vo            Phoung        Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1075    No Stamp Vo            Minh          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1076    No Stamp Vo            Dung          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1077    No Stamp Vo            Loi           Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1078    No Stamp Vo            Quoc          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1079    No Stamp Vu            Hoang         Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1080    No Stamp Vu            Kim-Anh       Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                                                                                  Eastern District of
  1081    No Stamp Vu            Luot          Le, et al. v. BP, PLC, et al.      Louisiana             10-CV-2114 No   No   N/A               N/A   N/A
                   West Park
                   Market &                                                      Eastern District of
  1082    No Stamp Dell, Inc.                  Le, et al. v. BP, PLC, et al.     Louisiana              10-CV-2114 No   No   N/A               N/A   N/A
                                               Leonard A. Hudson, Ind. & as                             3:10-CV-
                                               Proposed Class Rep vs. BP P.L.C., Northern District of   00368-MCR-
  1083    34462833 Hudson        Leonard       et al.                            Florida                EMT        No   No   N/A               N/A   N/A
                                                                                 Eastern District of    2:10-cv-
  1084    34494451 Harris        Steve         Loupe, et al v. BP, PLC, et al    Louisiana              02078      No   No   N/A               N/A   N/A
                                               M.P. Cheng, LLC, et al. v. BP
                                               Company North America, Inc., et   Southern District of
  1085    34487414 Cheng         Yun           al.                               Texas                            No    No   N/A               N/A   N/A
                                               M.P. Cheng, LLC, et al. v. BP
                                               Company North America, Inc., et   Southern District of
  1086    No Stamp Cheng         Yun           al.                               Texas                            No    No   N/A               N/A   N/A



Tab K-1                                                                                                                                                    47 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 85 of 122


                                            M.P. Cheng, LLC, et al. v. BP
                                            Company North America, Inc., et         Southern District of
  1087    No Stamp Cheng        Yun         al.                                     Texas                               No   No   N/A        N/A   N/A
                                            M.P. Cheng, LLC, et al. v. BP
                                            Company North America, Inc., et         Southern District of
  1088    No Stamp Cheng        Yun         al.                                     Texas                               No   No   N/A        N/A   N/A
                                            M.P. Cheng, LLC, et al. v. BP
                                            Company North America, Inc., et         Southern District of
  1089    No Stamp Cheng        Yun         al.                                     Texas                               No   No   N/A        N/A   N/A
                                            M.P. Cheng, LLC, et al. v. BP
                                            Company North America, Inc., et     Southern District of
  1090    No Stamp Cheng        Yun         al.                                 Texas                                   No   No   N/A        N/A   N/A
                                                                                Eastern District of         2:10-CV-
  1091    34461695 Mandina      Tommy       Mandina, et al vs. BP, PLC, et al   Louisiana                   02713J(1)   No   No   N/A        N/A   N/A
                                                                                Eastern District of         2:10-CV-
  1092    34461695 Mandina      Tommy       Mandina, et al vs. BP, PLC, et al   Louisiana                   02713J(1)   No   No   N/A        N/A   N/A
                                            Mandina's of New Orleans, et al vs. Eastern District of         2:10-CV-
  1093    34461695 Marcello     Elizabeth   BP, PLC, et al                      Louisiana                   02712J(1)   No   No   N/A        N/A   N/A
                                            Mandina's of New Orleans, et al vs. Eastern District of         2:10-CV-
  1094    34461695 Marcello     Elizabeth   BP, PLC, et al                      Louisiana                   02712J(1)   No   No   N/A        N/A   N/A
                                            Mandina's of New Orleans, et al vs. Eastern District of         2:10-CV-
  1095    34461695 Marcello     Elizabeth   BP, PLC, et al                      Louisiana                   02712J(1)   No   No   N/A        N/A   N/A
                                            Mandina's of New Orleans, et al vs. Eastern District of         2:10-CV-
  1096    34461695 Marcello     Frank       BP, PLC, et al                      Louisiana                   02712J(1)   No   No   N/A        N/A   N/A
                                            Marine Horizons, Inc. et. al v. BP, Southern District of        2:10-cv-
  1097    34452582 Carbullido   Jesse       PLC et. al                          Alabama                     02657       No   No   N/A        N/A   N/A
                                            Martin R. Cressey d/b/a Bohica      Eastern District of
  1098    No Stamp Cressey      Marlin      Fishing Charters v. BP PLC, et al. Louisiana                    10-1721    No    No   N/A        N/A   N/A
                                                                                US District Court           2:20-CV-
  1099    34485748 Gaskins      Matthew     Matthew Gaskins v. BP, Plc, et al Western Disc                  00738      No    No   N/A        N/A   N/A
                                                                                Southern District of        2:10CV0298
  1100    34494744 McCoy        Jack        McCoy v. Transocean Ltd, et al      Florida                     0          No    No   N/A        N/A   N/A
                                            Melinda Anne Becnel v. BP PLC, Eastern District of              2:10-cv-
  1101    No Stamp Becnel       Melinda     et al                               Louisiana                   03066      No    No   N/A        N/A   N/A

                                            Melinda Anne Becnel v. BP PLC,          USDC - Eastern          2:10-cv-
  1102    34739673 Becnel       Melinda     et al                                   District of Louisiana   03066       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1103    34488615 Dekovic      Danijel     Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1104    34489490 Dekovic      Danijel     Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1105    34489097 Garbin       Vatroslav   Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1106    34488974 Garbin       Vatroslav   Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1107    34489239 Garbin       Vatroslav   Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1108    34490140 Ivic         Michael     Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1109    34489933 Ivic         Michael     Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1110    34488226 Ivic         Michael     Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1111    34488779 Jurisic      Jakov       Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1112    34488395 Jurisic      Jakov       Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A
                                                                                    Eastern District of     10-CV-
  1113    34489635 Jurisic      Jakov       Michael Ivic, et al v. BP, Plc, et al   Louisiana               01249       No   No   N/A        N/A   N/A




Tab K-1                                                                                                                                                  48 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 86 of 122


                                            Michael Salley, d/b/a Sure Shot
                                            Charters v. Transocean Holdings,      Northern District of   10-CV-
  1114    34491243 Salley        Michael    Inc., et al                           Florida                02664     No    No   N/A            N/A   N/A
                                                                                  Eastern District of
  1115    No Stamp Tougas        Michael    Mitchell, et al. v. BP, PLC, et al    Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1116    No Stamp Abshire       Brad       Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1117    No Stamp Alexander     Alton      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1118    No Stamp Allen         Scotty     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1119    No Stamp Amburn        Preston    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1120    No Stamp Andrus        Floyd      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1121    No Stamp Arrant        Jeffrey    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1122    No Stamp Arrington Sr. Feldon     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1123    No Stamp Baily         Willis     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1124    No Stamp Baker         Tyree      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1125    No Stamp Ball          Clarence   Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1126    No Stamp Ball          Darryl     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1127    No Stamp Ball          William    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1128    No Stamp Ball Jr.      William    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1129    No Stamp Bell          Danny      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1130    No Stamp Bell          Jerry      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1131    No Stamp Bell          Joseph     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1132    No Stamp Bergeron      Andy       Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1133    No Stamp Bessard Sr.   Chris      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1134    No Stamp Besteda       Alex       Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1135    No Stamp Bentancourt Enrique      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1136    No Stamp Blue          Leroy      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1137    No Stamp Bonner        Tyrone     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1138    No Stamp Borne         Kim        Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1139    No Stamp Bosarge       Barney     Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1140    No Stamp Bosarge       Michael    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1141    No Stamp Bossley       Chester    Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1142    No Stamp Boyd          Major      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A
                                                                                  Eastern District of
  1143    No Stamp Boyette       Kevin      Mitchell, et al. v. BP, PLC, et al.   Louisiana              10-CV-1472 No   No   N/A            N/A   N/A


Tab K-1                                                                                                                                                  49 of 72
                                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 87 of 122


                                                                                     Eastern District of
  1144    No Stamp Broussard     Cori          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1145    No Stamp Brown         Bonzell       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1146    No Stamp Brown         Ronald        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1147    No Stamp Brumfield Jr. Charlie       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1148    No Stamp Bryan         Seaborn       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1149    No Stamp Burks         Aarien        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1150    No Stamp Burton        Christopher   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1151    No Stamp Bush          Sam           Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1152    No Stamp Campbell      Kendrick      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1153    No Stamp Carter        Johnie        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1154    No Stamp Carter Jr.    Albert        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1155    No Stamp Cascio        Joshua        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1156    No Stamp Charles       Donald        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1157    No Stamp Charles       Kente         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1158    No Stamp Christopher   James         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1159    No Stamp Churchwell    Caleb         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1160    No Stamp Clause        Daniel        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1161    No Stamp Cline         Michael       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1162    No Stamp Colby         Franklin      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1163    No Stamp Cole          John          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1164    No Stamp Coleman       Dennis        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1165    No Stamp Conway Jr.    Larry         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1166    No Stamp Conway Sr.    Larry         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1167    No Stamp Conway Sr.    Roscoe        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1168    No Stamp Crenshaw      David         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1169    No Stamp Crockett      Alfred        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1170    No Stamp Dameron       Carl          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1171    No Stamp Dameron       Jeffrey       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1172    No Stamp Dameron       Michael       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1173    No Stamp Davis         Aaron         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                     50 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 88 of 122


                                                                                  Eastern District of
  1174    No Stamp Davis         Duane      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1175    No Stamp Davis         William    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1176    No Stamp Davis Jr.     Charles    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1177    No Stamp Day           Charles    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1178    No Stamp Demouey       Thomas     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1179    No Stamp DeShields     Brandon    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1180    No Stamp Dias          Vincent    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1181    No Stamp Diggs         Kelvin     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1182    No Stamp Diggs         Patrick    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1183    No Stamp Dixon         George     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1184    No Stamp Doggett Sr.   Darrlyl    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1185    No Stamp Druilhet      William    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1186    No Stamp DuBose        Gillis     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1187    No Stamp Duncan        Kentri     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1188    No Stamp Dunigan       Jerry      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1189    No Stamp Durke         Coy        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1190    No Stamp Edwards       Donnie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1191    No Stamp Eldridge      Jamario    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1192    No Stamp Evans Sr.     James      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1193    No Stamp Fain Jr.      Joe        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1194    No Stamp Fairley       John       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1195    No Stamp Fauntleroy    Frankie    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1196    No Stamp Fauntleroy    Terry      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1197    No Stamp Felton        Swannie    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1198    No Stamp Fisher        Joseph     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1199    No Stamp Fletcher      Cortlan    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1200    No Stamp Folts         Steven     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1201    No Stamp Fontenot      Keith      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1202    No Stamp Foreman       Jerrian    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1203    No Stamp Foster        Adolphus   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                  51 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 89 of 122


                                                                                   Eastern District of
  1204    No Stamp Fountain      Troy        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1205    No Stamp Fowlkes       Larry       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1206    No Stamp Francis       Jerald      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1207    No Stamp Gage          Brad        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1208    No Stamp Gaines, Jr.   Edward      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1209    No Stamp Gallagher     Kevin       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1210    No Stamp Garcia        Harold      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1211    No Stamp Gathers       Harold      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1212    No Stamp George        Brandon     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1213    No Stamp Gibbs         William     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1214    No Stamp Gilliam       Brandon     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1215    No Stamp Gillyard      Darion      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1216    No Stamp Gillyard      Dominique   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1217    No Stamp Godette       James       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1218    No Stamp Grady Jr.     O'Dell      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1219    No Stamp Green         Derrick     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1220    No Stamp Green         John        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1221    No Stamp Green         Larry       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1222    No Stamp Greene        Rayburn     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1223    No Stamp Greene Sr.    Timothy     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1224    No Stamp Guidry        Demond      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1225    No Stamp Gutknecht     Jeffrey     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1226    No Stamp Harris        Dean        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1227    No Stamp Harris        Eric        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1228    No Stamp Harrison      Brandon     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1229    No Stamp Harrison      Keldrex     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1230    No Stamp Hayes         Rickie      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1231    No Stamp Haynie III    Leslie      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1232    No Stamp Hearn         Clifton     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                   Eastern District of
  1233    No Stamp Heathmon      Isaiah      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                   52 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 90 of 122


                                                                                  Eastern District of
  1234    No Stamp Henry Jr.    Donald      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                   Hetherington                                                   Eastern District of
  1235    No Stamp Jr.          Elliot      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1236    No Stamp Hill         Kevin       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1237    No Stamp Hopkins      Agedruis    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1238    No Stamp Hudson Jr.   Roosevelt   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1239    No Stamp Hugue        Harry       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1240    No Stamp Hunnings     David       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1241    No Stamp Huntley      Eric        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1242    No Stamp Hutchins     Kenneth     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1243    No Stamp Ivey         Joseph      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1244    No Stamp Jackson      Wade        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1245    No Stamp Curry        Johnnie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1246    No Stamp Johnson      Bernard     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1247    No Stamp Johnson      Clyde       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1248    No Stamp Johnson      Colby       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1249    No Stamp Johnson      Octavius    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1250    No Stamp Joiner       James       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1251    No Stamp Jones        Jerry       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1252    No Stamp Jones        Joe         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1253    No Stamp Jones        Richard     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1254    No Stamp Jones Jr.    George      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1255    No Stamp Junker       Engene      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1256    No Stamp Kelly        Larry       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1257    No Stamp Kelly Jr.    Wesley      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1258    No Stamp Kenner       Maurice     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1259    No Stamp Kenner       William     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1260    No Stamp Kile         Carrol      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1261    No Stamp Knight       Derrick     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1262    No Stamp Lancelin     Robert      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1263    No Stamp Landry       Jerome      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                  53 of 72
                                                                   Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 91 of 122


                                                                                    Eastern District of
  1264    No Stamp Latigue      Austin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1265    No Stamp Laws         Carroll       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1266    No Stamp Ledet        Timothy       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1267    No Stamp Lee          Altonio       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1268    No Stamp Lemelle      Mark          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1269    No Stamp Lett         Terrance      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1270    No Stamp Levere       Waverly       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1271    No Stamp Levine       Adam          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1272    No Stamp Lewis        Johnny        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1273    No Stamp Lewis        Lester        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1274    No Stamp Lombardo     Matthew       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1275    No Stamp Longar       James         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1276    No Stamp Lonzo        Christopher   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1277    No Stamp Luvert Jr.   Eugene        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1278    No Stamp Marten       Eric          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1279    No Stamp Martin Jr.   Bobby         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1280    No Stamp Martin Sr.   John          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1281    No Stamp Mason        Anthony       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1282    No Stamp Mason        Calvin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1283    No Stamp Mason        Ronnie        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1284    No Stamp Maye         Robert        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1285    No Stamp Mayne        Jonas         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1286    No Stamp McBride      Clarence      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1287    No Stamp McCall       Theodore      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1288    No Stamp McCorvey     Shawn         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1289    No Stamp McGhee       Antonia       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1290    No Stamp McLellan     Brendon       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1291    No Stamp McLellan     Dustin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1292    No Stamp McMillian    Calvin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                    Eastern District of
  1293    No Stamp McMillian    Roderick      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                    54 of 72
                                                                     Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 92 of 122


                                                                                      Eastern District of
  1294    No Stamp Mendoza        Timothy       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1295    34483809 MetCalf Jr.    Joe           Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1296    No Stamp Miller         Brian         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1297    No Stamp Mitchell       Brett         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1298    No Stamp Mitchell       Charles       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1299    No Stamp Mitchell       Christopher   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1300    No Stamp Mitchell       Justin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1301    No Stamp Mitchell       Stephen       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1302    No Stamp Mitchell       Steven        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1303    No Stamp Mitchell Jr.   Curtis        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1304    No Stamp Mofield        Harry         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1305    No Stamp Monroe         Calvin        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1306    No Stamp Moore          Adam          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1307    No Stamp Moore          Joshua        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1308    No Stamp Morgan         Jeb           Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1309    No Stamp Morris         Caszell       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1310    No Stamp Morris         Oris          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1311    No Stamp Morris Jr.     Jerry         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1312    No Stamp Morris Jr.     Maurice       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1313    No Stamp Mouton         Tyler         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1314    No Stamp Murrell        Eddie         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1315    No Stamp Murrell        McCline       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1316    No Stamp Nettles        James         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1317    No Stamp Newhouse       David         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1318    No Stamp Newhouse       Jeremy        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1319    No Stamp Newton         Frederick     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1320    No Stamp Noel           Franklin      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1321    No Stamp Noel           John          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1322    No Stamp Noel Jr.       Carroll       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                      Eastern District of
  1323    No Stamp Noel, Sr.      Carroll       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                      55 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 93 of 122


                                                                                  Eastern District of
  1324    No Stamp Odom          Ray        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1325    No Stamp Odom          Roy        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1326    No Stamp Owens         Austin     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1327    No Stamp Palmer        Rydell     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1328    No Stamp Parker        Columbus   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1329    No Stamp Patterson     Bob        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1330    No Stamp Penn          Jessie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1331    No Stamp Penn          Sammie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1332    No Stamp Peoples       Darrell    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1333    No Stamp Peoples       Lonnie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1334    No Stamp Peoples       Marshall   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1335    No Stamp Peoples       Roy        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1336    No Stamp Peoples       Santez     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1337    No Stamp Perkins       Carol      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1338    No Stamp Perry         Dwayne     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1339    No Stamp Phillips      Demitcha   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1340    No Stamp Pillette      Arnold     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1341    No Stamp Polk          Montrell   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1342    No Stamp Proctor       Jeremiah   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1343    No Stamp Pugh          Donald     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1344    No Stamp Pugh          James      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1345    No Stamp Rankins Jr.   Henry      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1346    No Stamp Readom        John       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1347    No Stamp Reed          Curley     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1348    No Stamp Reels         Alonza     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1349    No Stamp Reels         Clark      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1350    No Stamp Rice          Jason      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1351    No Stamp Rice          Winston    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1352    No Stamp Rice IV       Emory      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1353    No Stamp Rice Jr.      Claude     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                  56 of 72
                                                                    Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 94 of 122


                                                                                     Eastern District of
  1354    No Stamp Richard       Wayne         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1355    No Stamp Richards      Lance         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1356    No Stamp Richardson    Edward        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1357    No Stamp Richardson    Trinity       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1358    No Stamp Roane Jr.     Arthur        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1359    No Stamp Robertson     Raymond       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1360    No Stamp Ross, III     Wilbert       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1361    No Stamp Rush          Tommie        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1362    No Stamp Saddler       Eddie         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1363    No Stamp Salter        Grady         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1364    No Stamp Sanders       Jason         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1365    No Stamp Savoy         John          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1366    No Stamp Schools III   L.P. Lawson Mitchell, et al. v. BP, PLC, et al.     Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1367    No Stamp Schools Jr.   Lawson        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1368    No Stamp Scott         Anthony       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1369    No Stamp Scott         Robert        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1370    No Stamp Sellers       Tyrone        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1371    No Stamp Shalvey       Stephen       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1372    No Stamp Shelton       Norman        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1373    No Stamp Shelton       Steve         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1374    No Stamp Shelvin Sr.   Brad          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1375    No Stamp Shirley       Richard       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1376    No Stamp Sigler        Lee Anthony Mitchell, et al. v. BP, PLC, et al.     Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1377    No Stamp Sigler        Tony          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1378    No Stamp Simon         John          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1379    No Stamp Sisson        Raymond       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1380    No Stamp Smith         Bryan         Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1381    No Stamp Smith         Curtis        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1382    No Stamp Smith         Dale          Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                     Eastern District of
  1383    No Stamp Smith         Patrick       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                     57 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 95 of 122


                                                                                  Eastern District of
  1384    No Stamp Smith         Ruston     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1385    No Stamp Smith         Timothy    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1386    No Stamp Smith         Welford    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1387    No Stamp Smith Jr.     Willie     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1388    No Stamp Sparks        Ron        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1389    No Stamp Spates        Baylan     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1390    No Stamp Stabler       Joshua     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1391    No Stamp Stanley       Gary       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1392    No Stamp Steele        William    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1393    No Stamp Stevenson     George     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1394    No Stamp Stewart Jr.   John       Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1395    No Stamp Stilts        Steven     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1396    No Stamp Summers       Marvin     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1397    No Stamp Thomas        Damien     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1398    No Stamp Thomas        Junius     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1399    No Stamp Trahan        Richard    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1400    No Stamp Underwood     Louis      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1401    No Stamp Veney         Kendrick   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1402    No Stamp Waddy         Kelvin     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1403    No Stamp Walker        Charlie    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1404    No Stamp Wallace       Claude     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1405    No Stamp Washington Robert        Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1406    No Stamp Watson        Isadore    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1407    No Stamp Watson        Shaun      Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1408    No Stamp Weissmann     Richard    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1409    No Stamp White         Willard    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1410    No Stamp White         Willard    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1411    No Stamp Williams      Carlton    Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1412    No Stamp Williams      Dennis     Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A
                                                                                  Eastern District of
  1413    No Stamp Williams      Dimitrik   Mitchell, et al. v. BP, PLC, et al.   Louisiana             10-CV-1472 No   No   N/A             N/A   N/A



Tab K-1                                                                                                                                                  58 of 72
                                                                       Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 96 of 122


                                                                                        Eastern District of
  1414    No Stamp Williams         Nicholas      Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1415    No Stamp Willis           David         Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1416    No Stamp Willis           Ryan          Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1417    No Stamp Wilmore          Christopher   Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1418    No Stamp Wiltz            Felton        Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1419    No Stamp Yates            William       Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1420    No Stamp Young            Franklin      Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1421    No Stamp Young            Ronald        Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                                                        Eastern District of
  1422    No Stamp Young Jr.        Robert        Mitchell, et al. v. BP, PLC, et al.   Louisiana               10-CV-1472 No    No   N/A          N/A   N/A
                                                  Mobile Fixture & Equipment            Southern District of
  1423    No Stamp Williams         Taylor        Company, Inc. v. BP, Plc, et al       Alabama                 10-3090     No   No   N/A          N/A   N/A
                                                  Mobile Fixture & Equipment            Southern District of
  1424    No Stamp Watson           Tom           Company, Inc. v. BP, Plc, et al       Alabama                 10-3262    No    No   N/A          N/A   N/A
                                                                                        Southern District of    2:10CV0297
  1425    34494744 Moret            Andrew        Moret v. Transocean Ltd., et al       Florida                 7          No    No   N/A          N/A   N/A
                                                  Narcosis, Inc., Inc. v. BP, PLC, et   Middle District of      2:10-CV-
  1426    34489481 Hannaseck        Joyce         al                                    Florida                 03077      No    No   N/A          N/A   N/A
                                                                                                                1:10-CV-
                                                  Nguyen, Ind & as Proposed Class       Southern District of    00241-HSO-
  1427    34461226 Nguyen           Kimberly;Do   Rep vs. BP P.L.C., et al.             Mississippi             JMR        No    No   N/A          N/A   N/A
                                                                                        Eastern District of     2:10-CV-
  1428    34491461 Dinet            Nicholas      Nicholas Dinet v. BP, PLC, et al      Louisiana               01615      No    No   N/A          N/A   N/A

                   Nova                           NOVA AFFILIATED, S.A., a British
                   Affiliated dba                 Virgin Islands Corporation, and all Eastern District of       2:10-CV-
  1429    34485987 Mantex                         Similarly Situated v. BP, PLC, et al. Louisiana               01313       No   No   N/A          N/A   N/A
                                                                                                                CI:10-CV-
                                                  Obie F. Carlisle, Ind & as Proposed Southern District of      00422-WS-
  1430    34470217 Carlisle         Obie          Class Rep vs. BP P.L.C., et al.     Alabama                   C           No   No   N/A          N/A   N/A
                                                  Ocean Reef Realty, Inc v.           Northern District of      10-CV-
  1431    34491243                                Transocean Holdings, Inc., et al    Florida                   02663       No   No   N/A          N/A   N/A
                                                  Octa J. Bonin and Norma J. Bonin Eastern District of          2:10-cv-
  1432    34447949 Bonin, et al     Octa          vs. BP America Inc., et al          Louisiana                 04272       No   No   N/A          N/A   N/A

                                                  Orange Beach Marina, Inc., et al. v. Southern District of
  1433    34491243                                Transocean Holdings, Inc., et al     Alabama                  10-CV-2651 No    No   N/A          N/A   N/A

                                                  Orange Beach Marina, Inc., et al. v. Southern District of
  1434    34491243                                Transocean Holdings, Inc., et al     Alabama                  10-CV-2651 No    No   N/A          N/A   N/A

                                                  Orange Beach Marina, Inc., et al. v. Southern District of
  1435    34491243                                Transocean Holdings, Inc., et al     Alabama                  10-CV-2651 No    No   N/A          N/A   N/A

                                                  Orange Beach Marina, Inc., et al. v. Southern District of
  1436    34491243                                Transocean Holdings, Inc., et al.    Alabama                  10-CV-2651 No    No   N/A          N/A   N/A

                                                  Orange Beach Marina, Inc., et al. v. Southern District of
  1437    34491243                                Transocean Holdings, Inc., et al.    Alabama                  10-CV-2651 No    No   N/A          N/A   N/A

                                                  Original Oyster House, Inc., et al. v. Southern District of   10-CV-
  1438    34491243                                Transocean Holdings, Inc., et al       Alabama                02655       No   No   N/A          N/A   N/A



Tab K-1                                                                                                                                                        59 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 97 of 122


                                              P&S Restaurant Group, et al v. BP    Eastern District of    2:10-cv-
  1439    34450953                            PLC, et al                           Louisiana              01574      No    No   N/A           N/A   N/A
                     Rodriguez,               Papa Rod, Inc. et al v. BP, PLC et   Southern District of   2:10-cv-
  1440    34478457   Jr.          Joseph      al                                   Alabama                03250      No    No   N/A           N/A   N/A
                     Rodriguez,               Papa Rod, Inc. et al v. BP, PLC et   Southern District of   2:10-cv-
  1441    34478457   Jr.          Joseph      al                                   Alabama                03250      No    No   N/A           N/A   N/A
                     Rodriguez,               Papa Rod, Inc. et al v. BP, PLC et   Southern District of   2:10-cv-
  1442    34478457   Jr.          Joseph      al                                   Alabama                03250      No    No   N/A           N/A   N/A
                     Rodriguez,               Papa Rod, Inc. et al v. BP, PLC et   Southern District of   2:10-cv-
  1443    34494744   Jr.          Joseph      al                                   Alabama                03250      No    No   N/A           N/A   N/A
                                              Pappas Restaurants, Inv. v.
                                              Transocean Offshore Deepwater        Southern District of
  1444    34487414 Pappas         Christine   Drilling, Inc., et al                Texas                             No    No   N/A           N/A   N/A
                                                                                   Southern District of   2:10CV0298
  1445    34494744 Parker         Darrick     Parker v. Transocean Ltd. et al      Florida                3          No    No   N/A           N/A   N/A
                                              Paul Monroe; W. Edward Trehern       Southern District of   2:10-cv-
  1446    34494670 Monroe         Paul        v. BP, PLC, et al.                   Alabama                04194      No    No   N/A           N/A   N/A
                                              Paul Monroe; W. Edward Trehern       Southern District of   2:10-cv-
  1447    No Stamp Trehern        W.          v. BP, PLC, et al.                   Alabama                04194      No    No   N/A           N/A   N/A
                                                                                   Southern District of
  1448    No Stamp Barber         Peter       Peter J. Barber, et al.              Alabama                2:10CV3249 No    No   N/A           N/A   N/A
                                                                                                          4:10-CV-
                                              Professional Bars, Inc. d/b/a Brass                         10056-
                   Sorenson-                  Monkey, Ind & as Proposed Class Southern District of        Martinez/Br
  1449    34462702 Flowers        Judith      Rep vs. BP P.L.C., et al.           Florida                 own         No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1450    34493417 Raffield       Eugene      B.P., PLC., et al                   Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1451    34493417 Raffield       Eugene      B.P., PLC., et al                   Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1452    34493417 Raffield       Eugene      B.P., PLC., et al                   Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1453    34493417 Raffield       Eugene      B.P., PLC., et al                   Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1454    34493417 Raffield       Eugene      B.P., PLC., et al                   Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1455    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1456    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1457    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1458    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1459    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1460    34486735 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raffield Fisheries, Inc., et al. v. Northern District of    2:10-CV-
  1461    34493417 Raffield       Eugene      B.P., PLC., et al.                  Florida                 03102       No   No   N/A           N/A   N/A
                                              Raymond Duet, et al. v. BP, Plc, et USDC, Eastern           2:10-CV-
  1462    34482625 Duet           Raymond     al                                  District                01519       No   No   N/A           N/A   N/A
                                              Raymond Duet, et al. v. BP, Plc, et USDC, Eastern           2:10-CV-
  1463    34482625 Duet           Deanna      al                                  District                01519       No   No   N/A           N/A   N/A
                                              Raymond Gore, et al. v. BP
                                              Company North America, Inc., et     Southern District of
  1464    34487414 Gore           Wright      al.                                 Texas                              No    No   N/A           N/A   N/A
                                              Raymond Gore, et al. v. BP
                                              Company North America, Inc., et     Southern District of
  1465    No Stamp Gore           Wright      al.                                 Texas                              No    No   N/A           N/A   N/A




Tab K-1                                                                                                                                                   60 of 72
                                                      Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 98 of 122


                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1466    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1467    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1468    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1469    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1470    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1471    No Stamp Gore   Raymond   al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1472    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1473    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1474    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1475    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1476    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1477    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1478    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1479    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1480    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1481    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1482    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1483    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. v. BP
                                    Company North America, Inc., et   Southern District of
  1484    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A
                                    Raymond Gore, et al. vs. BP
                                    Company North America, Inc., et   Southern District of
  1485    No Stamp Gore   Wright    al.                               Texas                  No      No       N/A                 N/A   N/A



Tab K-1                                                                                                                                       61 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 99 of 122


                                           Revenue Properties Southland
                                           Limited Partnership v. BP, PLC et    Eastern District of
  1486    34474900                         al                                   Louisiana              10-1947    No   No   N/A           N/A   N/A
                                           Revenue Properties Southland
                                           Limited Partnership v. BP, PLC et    Eastern District of
  1487    34494147                         al                                   Louisiana              10-1947    No   No   N/A           N/A   N/A
                                           Richard C. Brondum, et al v. BP,     Eastern District of    2:10-CV-
  1488    No Stamp Brondum       Richard   PLC, et al                           Louisiana              1613       No   No   N/A           N/A   N/A
                                           Richard C. Brondum, et al v. BP,     Eastern District of    2:10-CV-
  1489    34478170                         PLC, et al                           Louisiana              1613       No   No   N/A           N/A   N/A
                                           Richard C. Brondum, et al v. BP,     Eastern District of    2:10-CV-
  1490    34477946                         PLC, et al                           Louisiana              1613       No   No   N/A           N/A   N/A
                                           Richard C. Brondum, et al v. BP,     Eastern District of    2:10-CV-
  1491    34478387                         PLC, et al                           Louisiana              1613       No   No   N/A           N/A   N/A
                                           Rickey Laintier, et al vs. BP        Eastern District of    2:10-cv-
  1492    34447949 Lantier, et al Rickey   America Inc., et al                  Louisiana              04144      No   No   N/A           N/A   N/A
                                           Robin Seafood Co., Inc., et al v.    Eastern District of
  1493    34494744 Graf          Robert    BP, PPLC et al                       Louisiana              2:10CV1314 No   No   N/A           N/A   N/A
                                           Robin Seafood Co., Inc., et al v.    Eastern District of
  1494    34494744 Campo         Ernie     BP, PPLC, et al                      Louisiana              2:10CV1314 No   No   N/A           N/A   N/A
                                           Robroy Terrebonne, et al
                                           Individually and on Behalf of
                                           Himself and all others Similarly     Eastern District of
  1495    34488867 Terrebonne    Robroy    Situated                             Louisiana              10-1352    No   No   N/A           N/A   N/A
                                                                                Southern District of
  1496    34494612 Hill          Robyn     Robyn Hill v. BP, PLC, et al.        Alabama                10-4193    No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-cv-
  1497    34493289 Lyons         Roland    Rodrigue, et al v. BP, PLC, et al    Louisiana              01325      No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-cv-
  1498    34493289 Picou         Randy     Rodrigue, et al v. BP, PLC, et al    Louisiana              01325      No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-cv-
  1499    34493289 Rodrigue      Brent     Rodrigue, et al v. BP, PLC, et al    Louisiana              01325      No   No   N/A           N/A   N/A
                                                                                Eastern District of    2:10-cv-
  1500    34493289 Weaver        Donald    Rodrigue, et al v. BP, PLC, et al    Louisiana              01325      No   No   N/A           N/A   N/A
                                           Roland Hingle, et al. v. BP, PLC, et Eastern District of    2:10-cv-
  1501    34493162 Hingle        Barbara   al.                                  Louisiana              02749      No   No   N/A           N/A   N/A
                                           Roland Hingle, et al. v. BP, PLC, et Eastern District of    2:10-cv-
  1502    34493019 Hingle        Roland    al.                                  Louisiana              02749      No   No   N/A           N/A   N/A
                                           Roland Hingle, et al. v. BP, PLC, et Eastern District of    2:10-cv-
  1503    34492856 Sheen         Alan      al.                                  Louisiana              02749      No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. v. BP
                                           Company North America, Inc., et      Southern District of
  1504    No Stamp Sanchez       Frank     al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. v. BP
                                           Company North America, Inc., et      Southern District of
  1505    No Stamp Spaulding     Joy       al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. v. BP
                                           Company North America, Inc., et      Southern District of
  1506    No Stamp Walsh         Stephen   al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. v. BP
                                           Company North America, Inc., et      Southern District of
  1507    No Stamp Williams      Willie    al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. vs. BP
                                           Company North America, Inc., et      Southern District of
  1508    34487414 Chernin       Samuel    al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. vs. BP
                                           Company North America, Inc., et      Southern District of
  1509    No Stamp Chernin       Samuel    al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A
                                           Samuel Chernin, et al. vs. BP
                                           Company North America, Inc., et      Southern District of
  1510    No Stamp Chernin       Samuel    al.                                  Texas                  10-4223    No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                               62 of 72
                                                                Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 100 of 122


                                              Samuel Chernin, et al. vs. BP
                                              Company North America, Inc., et      Southern District of
  1511    No Stamp Chernin      Samuel        al.                                  Texas                  10-4223    No    No   N/A          N/A   N/A
                                              Samuel Chernin, et al. vs. BP
                                              Company North America, Inc., et      Southern District of
  1512    No Stamp Chernin      Samuel        al.                                  Texas                  10-4223    No    No   N/A          N/A   N/A
                                              Samuel Chernin, et al. vs. BP
                                              Company North America, Inc., et      Southern District of
  1513    No Stamp Chernin      Samuel        al.                                  Texas                  10-4223    No    No   N/A          N/A   N/A
                                              Samuel Chernin, et al. vs. BP
                                              Company North America, Inc., et      Southern District of
  1514    No Stamp Chernin      Samuel        al.                                  Texas                  10-4223    No    No   N/A          N/A   N/A
                                              Sang-Thahn Nguyen vs. BP, PLC, Eastern District of
  1515    34487082 Nguyen       Sang          et al.                               Louisiana              10-1850 "R" No   No   N/A          N/A   N/A
                                              Satchfield v. BP, PLC, et al., 4:10- Southern District of   2:10-cv-
  1516    34470605 Satchfield   Kurt          CV-02397-TXSD                        Texas                  03185       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1517    No Stamp Kreger       Ronald        al                                   Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1518    No Stamp Segrave      Michael       al                                   Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1519    No Stamp Alleman      Gerald        al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1520    No Stamp Alleman      Gerald        al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1521    No Stamp Bannon       Stephen       al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1522    No Stamp Bernius      Cyril         al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1523    No Stamp Black        Kevin         al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1524    No Stamp Canty        John          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1525    No Stamp Conzonere    Chad          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1526    No Stamp Conzonere    Lisa          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1527    34453972 Conzonere    Mike          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1528    No Stamp Crawford     Brad          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1529    No Stamp Donahue      Adam          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1530    No Stamp Efferson     Alvery        al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1531    No Stamp Efferson     Charles       al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1532    No Stamp Evans        Robert        al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1533    No Stamp Ferrier      Michael       al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1534    No Stamp Gagliano     Wayne         al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1535    No Stamp Heier        Kevin         al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1536    No Stamp Jackson      Christopher   al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1537    No Stamp Jackson      Jodi          al.                                  Louisiana              01452       No   No   N/A          N/A   N/A
                                              Schmalz et al v. Transocean Ltd et Eastern District of      2:10-CV-
  1538    No Stamp Jackson      Kevin         al.                                  Louisiana              01452       No   No   N/A          N/A   N/A



Tab K-1                                                                                                                                                  63 of 72
                                                              Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 101 of 122


                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1539    No Stamp Johansen   Maria         al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1540    No Stamp Jordan     Michele       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1541    No Stamp Knecht     Dennis        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1542    No Stamp Knecht     Fred          al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1543    No Stamp Kreger     Mary          al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1544    No Stamp Kreger     Robert        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1545    No Stamp Kreger     Ronald        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1546    No Stamp Kreger     Roy           al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1547    No Stamp Kreger     Rustin        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1548    No Stamp Lingoni    John          al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1549    No Stamp Lyncker    William       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1550    No Stamp Marschke   Richard       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1551    No Stamp Moragas    Charlotte     al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1552    No Stamp Moragas    Shannon       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1553    No Stamp O'Connor   Kirby         al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1554    No Stamp Parks      Charlie       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1555    No Stamp Pomes      Christopher   al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1556    No Stamp Raimer     Allen         al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1557    No Stamp Rodi       Anthony       al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1558    No Stamp Sander     Gerald        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1559    No Stamp Sander     Taylor        al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1560    No Stamp Segrave    David         al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1561    No Stamp Segrave    David         al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean Ltd et Eastern District of   2:10-CV-
  1562    No Stamp                          al.                                Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1563    No Stamp Bateman    James         et al                              Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1564    No Stamp Cliatt     Elaina        et al                              Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1565    No Stamp Crain      Michael       et al                              Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1566    No Stamp Crawford   William       et al                              Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1567    34490686 Guerra     Bruce         et al                              Louisiana             01452      No   No   N/A              N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of     2:10-CV-
  1568    No Stamp Johnson    Stacia        et al                              Louisiana             01452      No   No   N/A              N/A   N/A



Tab K-1                                                                                                                                                64 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 102 of 122


                                            Schmalz et al v. Transocean LTD, Eastern District of          2:10-CV-
  1569    No Stamp Kreger        Ryan       et al                               Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of          2:10-CV-
  1570    No Stamp Montalbano    Deion      et al                               Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of          2:10-CV-
  1571    No Stamp Naquin        Lindberg   et al                               Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of          2:10-CV-
  1572    No Stamp Roberts       John       et al                               Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al v. Transocean LTD, Eastern District of          2:10-CV-
  1573    No Stamp Smith         Justin     et al                               Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al. v. Transocean Ltd et Eastern District of       2:10-CV-
  1574    No Stamp Graves        Joyce      al.                                 Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al. v. Transocean Ltd et Eastern District of       2:10-CV-
  1575    No Stamp Heier         Kevin      al.                                 Louisiana                 01452       No   No   N/A         N/A   N/A
                                            Schmalz et al. v. Transocean Ltd et Eastern District of       2:10-CV-
  1576    No Stamp Hyatt         Garret     al.                                 Louisiana                 01452       No   No   N/A         N/A   N/A
                                                                                                          4:10-CV-
                                                                                                          10068-
                                            Scott McCarthy, Ind & as Proposed Southern District of        King/Bandst
  1577    34461863 McCarthy      Scott      Class Rep vs. BP P.L.C., et al.   Florida                     ra          No   No   N/A         N/A   N/A

                   Kershaw, et              Scotty Kershaw and Sandra          Eastern District of
  1578    34447949 al            Scotty     Kershaw vs. BP America Inc., et al Louisiana                  10-4271    No    No   N/A         N/A   N/A
                   Rodriguez,               Sea Eagle Fisheries, Inc. et al v. Southern District of       2:10-cv-
  1579    34495379 Sr.           Charles    BP, PLC et al                      Alabama                    02661      No    No   N/A         N/A   N/A
                   Rodriguez,               Sea Eagle Fisheries, Inc. et al v. Southern District of       2:10-cv-
  1580    34495364 Sr.           Charles    BP, PLC, et al                     Alabama                    02661      No    No   N/A         N/A   N/A
                                            Sea Eagle Fisheries, Inc., et al. v.
                                                                               Southern District of       2:10-cv-
  1581    34489273 Rodriquez Jr. Joseph     BP, PLC, et al.                    Alabama                    02661      No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1582    34492030 Townsend      John       Sevel et al v. BP, PLC et al       Mississippi                00179      No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1583    34489593 Baker         Cliff      Sevel et al v. BP, PLC, et al      Mississippi                00179      No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1584    34489649 Rhodes        Edward     Sevel et al v. BP, PLC, et al      Mississippi                00179      No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1585    34489758 Storrs        George     Sevel et al v. BP, PLC, et al.     Mississippi                00179      No    No   N/A         N/A   N/A
                                                                               Southern District of       2:10CV0267
  1586    34494744 Bosarge       Robert     Sevel, et al v. BP, PLC, et al     Mississippi                7          No    No   N/A         N/A   N/A
                                                                               Southern District of       2:10CV0267
  1587    34494744 LeBlanc       Dexter     Sevel, et al v. BP, PLC, et al     Mississippi                7          No    No   N/A         N/A   N/A
                                                                               Southern District of       2:10CV0267
  1588    34494744 Rowell        Jimmie     Sevel, et al v. BP, PLC, et al     Mississippi                7          No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1589    34471014 Suire         Anthony    Shannon Trahan, et al v BP, et al Alabama                     00198      No    No   N/A         N/A   N/A
                                                                               Southern District of       1:10-CV-
  1590    34471014 Trahan        Shannon    Shannon Trahan, et al vs BP, et al Alabama                    00198      No    No   N/A         N/A   N/A
                                                                                                          2:10-CV-
                                            Shemper, Ind & as Proposed Class Southern District of         138-KS-
  1591    34461706 Shemper       Jacob      Rep vs. BP P.L.C, et al.            Mississippi               MTP        No    No   N/A         N/A   N/A
                                            Smiling Fish Cafe, Inc. v. BP, PLC, Northern District of
  1592    34484708 Barnes        George     et al. 3:10-cv-00177                Florida                   10-3089    No    No   N/A         N/A   N/A
                                                                                                          2:10-CV-
                                            Sophisticated Lady, L.L.C., et al.     Eastern District of    01387-CJB-
  1593    34450315 Cook          Urban      vs. BP, PIC, et al.                    Louisiana              SS         No    No   N/A         N/A   N/A
                                                                                                          2:10-CV-
                                            Sophisticated Lady, LLC et al v.       Eastern District of    01387-CJB-
  1594    34450315 Van Fleet     Charlene   BP, PLC et al                          Louisiana              SS         No    No   N/A         N/A   N/A
                                            Staley v. BP, PLC, et al., 1:10-CV-
                                            181-LG-RHW, S.D. Miss.,                Southern District of
  1595    34470605 Staley        Jessica    Southern Div.                          Mississippi            10-2678    No    No   N/A         N/A   N/A


Tab K-1                                                                                                                                                 65 of 72
                                                                Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 103 of 122


                                             State of LA & the LA Dept. of
                   State of LA &             Wildlife & Fisheries v. BP
                   Dept. of                  Exploration & Production, Inc., BP,
                   Wildlife &                PLC, BP Products North America, 22nd Judicial                  2:10-CV-
  1596    34472470 Fisheries                 Inc., & BP America, Inc              District, Louisiana       01760      No   No   N/A         N/A   N/A
                                             State of LA v. BP Exploration &
                                             Production Inc., BP, PLC, BP         District Court for
                   State of                  Products North America, Inc., & BP Parish of St. Mary,         6:10-CV-
  1597    34472675 Louisiana                 America, Inc.                        Louisiana                 00992      No   No   N/A         N/A   N/A
                                             State of LA v. BP Exploration &
                                             Production Inc., BP, PLC, BP
                   State of                  Products North America, Inc., & BP 32nd Judicial               2:10-CV-
  1598    34471708 Louisiana                 America, Inc.                        District, LA              01759      No   No   N/A         N/A   N/A
                                             State of LA v. BP Exploration &
                                             Production Inc., BP, PLC, BP         District Court for
                   State of                  Products North America, Inc., & BP Parish of Iberia,           6:10-CV-
  1599    34472619 Louisiana                 America, Inc.                        Louisiana                 00991      No   No   N/A         N/A   N/A
                                                                                  District Court for
                                                                                  Parish of
                                             State of Louisiana ex Rel. Ballay v. Plaquemines,              2:10-CV-
  1600    34490402 Ballay          Charles   BP Exploration & Production, et al. Louisiana                  1758       No   No   N/A         N/A   N/A

          34490402;                          State of Louisiana ex rel. Ballay v.   25th JDC Parish of      2:10-CV-
  1601    34492865 Ballay          Charles   BP Exploration & Production, et al.    Plaquemines             1758       No   No   N/A         N/A   N/A
                                             State of Louisiana ex Rel.             District Court for
                                             Cannizzaro v. BP Exploration &         Parish of Orleans,      2:10-CV-
  1602    No Stamp Cannizzaro      Leon      Production, et al                      Louisiana               02731      No   No   N/A         N/A   N/A
                                             State of Louisiana ex rel.
                                             Cannizzaro v. BP Exploration &         Civil District Court,   2:10-CV-
  1603    34739131 Cannizzaro      Leon      Production, et al                      Parish of Orleans       02731      No   No   N/A         N/A   N/A

                   District
                   Attorney for
                   the Parish of
                   St. Bernard
                   State of
                   Louisiana by
                   & through,
                   Honorable                                                       District Court for
                   John F.                   State of Louisiana v. BP              Parish of St.            2:10-cv-
  1604    34490995 Rowley                    Exploration & Production, Inc. et al. Bernard, Louisiana       02087      No   No   N/A         N/A   N/A

                   District
                   Attorney for
                   the Parish of
                   St. Bernard
                   State of
                   Louisiana. by
                   & through,
                   Honorable                                                       District Court for
                   John F.                   State of Louisiana v. BP              Parish of St.            2:10-cv-
  1605    34490995 Rowley                    Exploration & Production, Inc. et al. Bernard, Louisiana       02087      No   No   N/A         N/A   N/A
                   State of LA
                   by and
                   through the               State of Louisiana versus BP
                   District                  Exploration and Production, Inc.,
                   Attorney of               BP, P.L.C., BP Products North
                   Lafourche                 America, Inc., and BP America,         17th Judicial District 2:10-cv-
  1606    34481079 Parish                    Inc.                                   Court                  01757       No   No   N/A         N/A   N/A




Tab K-1                                                                                                                                                  66 of 72
                                                                  Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 104 of 122


                                                State of Louisiana versus BP
                                  District      Exploration and Production, Inc.,
                   State of LA    Attorney of   P.L.C., BP Products North
                   by and         Lafourche     America, Inc., and BP America,      17th Judicial District 2:10-cv-
  1607    34481079 through the    Parish        Inc.                                Court                  01757      No   No   N/A            N/A   N/A
                                                State of Louisiana versus BP
                                  District      Exploration and Production, Inc.,
                    State of LA   Attorney of   P.L.C., BP Products North
          33481079; by and        Lafourche     America, Inc., and BP America,      17th Judicial District 2:10-cv-
  1608    34495336 through the    Parish        Inc.                                Court                  01757      No   No   N/A            N/A   N/A
                    State of
                    Louisiana
                    through
                    District
                    Attorney of
                    Terrebonne
                    Parish, Joe                 State of Louisiana versus BP, et    32nd Judicial District
  1609    34480722 Waitz, Jr.                   al., # 160769                       Court                  10-1759  No     No   N/A            N/A   N/A
                                                Sunrise Rentals Enterprises, et al Southern District of 2:10-cv-
  1610    34482632 Wendelburg Carrie            v. BP, Plc., et al; 10-CV-261       Alabama                03248    No     No   N/A            N/A   N/A
                                                Sunrise Rentals Enterprises, et al Southern District of 2:10-cv-
  1611    34479400 Wendelburg Carrie            v. BP, Plc., et al; 10-CV-261       Alabama                03248    No     No   N/A            N/A   N/A
                                                Susan Davis, et al. Ind & as                               4:10-CV-
                                                Proposed Class Rep vs. BP P.L.C., Southern District of 10055-King-
  1612    34461067 Davis          Susan         et al.                              Florida                Bandstra No     No   N/A            N/A   N/A
                                                T&D Fishery, LLC et al. v. BP PLC Eastern District of      2:10-CV-
  1613    34477885 Roussel        Delvin        et al. 2:10-CV-01332                Louisiana              01332    No     No   N/A            N/A   N/A
                                                T&D Fishery, LLC et al. v. BP PLC Eastern District of      2:10-CV-
  1614    34477885 Roussel        Devlin        et al. 2:10-CV-01332                Louisiana              01332    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1615    No Stamp Drawdy         Jessica       Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1616    34740196 Drawdy         Jessica       Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1617    No Stamp Drawdy         Jessica       Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1618    34739938 Drawdy         Jessica       Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1619    No Stamp Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1620    No Stamp Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1621    No Stamp Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1622    No Stamp Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1623    No Stamp Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                Terry Drawdy, et al. v. Transocean, Eastern District of    2:10-cv-
  1624    34740043 Drawdy         Terry         Ltd., et al.                        Louisiana              02660    No     No   N/A            N/A   N/A
                                                The Fish Market Restaurant, Inc. v. Southern District of 2:10-cv-
  1625    No Stamp Sarris         George        BP, Plc, et al                      Alabama                04192    No     No   N/A            N/A   N/A
                                                The Fish Market Restaurant, Inc. v. Southern District of 2:10-cv-
  1626    No Stamp Sarris         George        BP, Plc, et al                      Alabama                04192    No     No   N/A            N/A   N/A
                                                The Litchfield Co., LLC v. BP PLC, District of South
  1627    34492554 King           Royce         et al                               Carolina               10-3277  No     No   N/A            N/A   N/A

                                                The National Vietnamese
                                                American Fisherman Emergency Southern District of         2:10-CV-
  1628    34485987 Ho             Cuc           Association, et al. v. BP PLC, et al. Texas               02683       No   No   N/A            N/A   N/A




Tab K-1                                                                                                                                                    67 of 72
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 105 of 122



                                           The National Vietnamese
                                           American Fisherman Emergency Southern District of          2:10-CV-
  1629    34485987 Nguyen    Le            Association, et al. v. BP PLC, et al. Texas                02683      No   No   N/A            N/A   N/A

                                         The National Vietnamese
                                         American Fisherman Emergency Southern District of            2:10-CV-
  1630    34485987 Tran      Hanh        Association, et al. v. BP PLC, et al. Texas                  02683      No   No   N/A            N/A   N/A
                                         Thomas Murphy and Dolores                                    8:10-CV-
                             Thomas;Dolo Murphy, Ind & as Proposed Class Middle District of           01521-JDW-
  1631    34462379 Murphy    res         Rep vs. BP P.L.C., et al.             Florida                TGW        No   No   N/A            N/A   N/A
                                         Three Captains, Inc., Individually
                                         and on Behalf of all Persons
                                         Similarly Situated, Plaintiff, v.
                                         Transocean, Ltd., BP, P.LC.,
                                         Transocean Offshore Deepwater
                                         Drilling, Inc., Transocean
                                         Deepwater, Inc., Products North
                                         America, Inc., Halliburton Energy Southern District of
  1632    34489984                       Servi                                 Florida                           No   No   N/A            N/A   N/A
                                         Three Captains, Inc., Individually
                                         and on Behalf of all Persons
                                         Similarly Situated, Plaintiff, v.
                                         Transocean, Ltd., BP, P.LC.,
                                         Transocean Offshore Deepwater
                                         Drilling, Inc., Transocean
                                         Deepwater, Inc., Products North
                                         America, Inc., Halliburton Energy Southern District of
  1633    34490268                       Servi                                 Florida                           No   No   N/A            N/A   N/A
                                         Three Captains, Inc., Individually
                                         and on Behalf of all Persons
                                         Similarty Situated, Plaintiff, v.
                                         Transocean, Ltd., BP, PLC
                                         Transocean Offshore Deepwater
                                         Drilling, Inc., Transocean
                                         Deepwater, Inc., Products North
                                         America, Inc., Halliburton Energy Southern District of
  1634    34488198                       Services                              Florida                           No   No   N/A            N/A   N/A
                                         Timmons Restaurant Partners, Ltd.
                                         d/b/a Tony's, et al. vs. BP           Southern District of   2:10-cv-
  1635    No Stamp Vallone   Lauri       Company North America, et al          Texas                  04237      No   No   N/A            N/A   N/A
                                         Timmons Restaurant Partners, Ltd.
                                         d/b/a Tony's, et al. vs. BP           Southern District of   2:10-cv-
  1636    No Stamp Vallone   Lauri       Company North America, et al          Texas                  04237      No   No   N/A            N/A   N/A
                                         Timmons Restaurant Partners, Ltd.
                                         d/b/a Tony's, et al. vs. BP           Southern District of   2:10-cv-
  1637    34487414 Vallone   Lauri       Company North America, et al          Texas                  04237      No   No   N/A            N/A   N/A
                                                                               Eastern District of    2:10-cv-
  1638    34493710 Garner    Tom         Tom Garner v. BP, PLC, et al          Louisiana              01482      No   No   N/A            N/A   N/A
                                                                               Eastern District of    2:10-cv-
  1639    34493857 Garner    Tom         Tom Garner v. BP, PLC, et al          Louisiana              01482      No   No   N/A            N/A   N/A
                                         Troy Wetzel, et al v. Transocean      Eastern District of    2:10-cv-
  1640    34472831 Tayamen   Mark        Ltd., et al (Intervenor)              Louisiana              01222      No   No   N/A            N/A   N/A
                                         Troy Wetzel, et al v. Transocean      Eastern District of    2:10-cv-
  1641    34492944 Tayamen   Mark        Ltd., et al (Intervenor)              Louisiana              01222      No   No   N/A            N/A   N/A
                                                                                                      2:10-CV-
                                           Troy Wetzel, Extreme Fishing, et al Eastern District of    01222-CJB-
  1642    34421371 Bang      Irvin         vs. Transocean, BP, L.L.C., et al   Louisiana              ALC        No   No   N/A            N/A   N/A
                                                                                                      2:10-CV-
                                           Troy Wetzel, Extreme Fishing, et al Eastern District of    01222-CJB-
  1643    34422304 Gibson    Richard       vs. Transocean, BP, L.L.C., et al   Louisiana              ALC        No   No   N/A            N/A   N/A


Tab K-1                                                                                                                                               68 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 106 of 122



                                             Troy Wetzel, Extreme Fishing, LLC
                                             and a Class of Similarly Situated
                                             Individuals and Entities v.
                                             Transocean, BP LLC. "A,B, and C
                                             Insurance Companies as Insurers
                                             of Transocean and "X,Y and Z"     Eastern District of       2:10-CV-
  1644    34399862 Wetzel          Troy      Insurance Companies as Insurers Louisiana                   01222      No   No   N/A           N/A   N/A

                   Two Headed
                   Shark LLC
                   d/b/s                     Two Headed Shark, LLC d/b/a
                   Replay's                  Ripley's Believe it or Not!
                   Believe it or             V.Transocean, et al. - Case 4:10-cv-Southern District of    2:10CV0310
  1645    34471996 Not                       10038-KMM                            Florida                8          No   No   N/A           N/A   N/A
                                             Vacation Key West, Inc., Ind & as
                                             Proposed Class Rep vs. BP P.L.C., Southern District of      4:10-CV-
  1646    34463009 McCaffrey       Vanessa   et al.                               Florida                10059-KMM No    No   N/A           N/A   N/A
                                             Vickie Nobles v. BP, PLC, et al.;
                                             USDC Northern District, Panama USDC, Panama
  1647    34484499 Nobies          Vickie    City, Florida - 5:10-cv-00126        City, FL               10-3076    No   No   N/A           N/A   N/A
                                             Vincent Coratella, et al v. BP, PLC, Middle District of     2:10-CV-
  1648    No Stamp Calhoun         Jeffrey   et al                                Florida                03083      No   No   N/A           N/A   N/A
                                             Vincent Coratella, et al v. BP, PLC, Middle District of     2:10-CV-
  1649    No Stamp Coratella       Vincent   et al                                Florida                03083      No   No   N/A           N/A   N/A
                                             Vincent Coratella, et al v. BP, PLC, Middle District of     2:10-CV-
  1650    No Stamp Venette         Desire    et al                                Florida                03083      No   No   N/A           N/A   N/A
                                             W. Edward Trehern; Trehern
                                             Insvestments L.L.C. v. BP, PLC, et Southern District of
  1651    No Stamp Trehern         W.        al.                                  Mississippi            10-4213    No   No   N/A           N/A   N/A
                                             W. Edward Trehern; Trehern
                                             Insvestments L.L.C. v. BP, PLC, et Southern District of
  1652    No Stamp Trehern         W.        al.                                  Mississippi            10-4213    No   No   N/A           N/A   N/A
                                             Ward et. al. v BP et. al. ED of LA Northern District of
  1653    34494357 Ward            George    2:10-CV-02670-CJB                    Florida                           No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1654    34485148 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1655    34485148 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1656    34485148 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1657    34493417 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1658    34493417 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1659    34493417 Abrams          Terence   B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1660    34485148 Lima            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1661    34493417 Lima            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1662    34485148 Rash            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1663    34485148 Rash            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1664    34485148 Rash            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1665    34485148 Rash            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A
                                             Water Street Seafood Inc., et al. v. Northern District of   2:10-CV-
  1666    34493417 Rash            Steven    B.P., PLC., et al                    Florida                02671      No   No   N/A           N/A   N/A


Tab K-1                                                                                                                                                 69 of 72
                                                                 Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 107 of 122


                                              Water Street Seafood Inc., et al. v.   Northern District of   2:10-CV-
  1667    34493417 Rash            Steven     B.P., PLC., et al                      Florida                02671      No   No   N/A          N/A   N/A
                                              Water Street Seafood Inc., et al. v.   Northern District of   2:10-CV-
  1668    34493417 Rash            Steven     B.P., PLC., et al                      Florida                02671      No   No   N/A          N/A   N/A
                                              Water Street Seafood Inc., et al. v.   Northern District of   2:10-CV-
  1669    34493417 Rash            Steven     B.P., PLC., et al                      Florida                02671      No   No   N/A          N/A   N/A
                                              Waylon C Callaway v. QBP PLC,          Southern District of   2:10-cv-
  1670    No Stamp Callaway        Waylon     et al.                                 Alabama                03257      No   No   N/A          N/A   N/A

                                                                                     Southern District of   4:10-CV-
  1671    34457920 Wyss            William    Weiss v. Transocean, Ltd. et al        Florida                10044-KMM No    No   N/A          N/A   N/A
                                                                                     Southern District of   2:10CV0297
  1672    34478457 Wyss            William    Weiss v. Transocean, Ltd. et al        Florida                8          No   No   N/A          N/A   N/A
                                              William Gregoire, et al v.             Eastern District of    02:10-CV-
  1673    34429480 Gregoire        William    Transocean, Ltd., et al.               Louisiana              01351      No   No   N/A          N/A   N/A
                                              William Gregoire, et al v.             Eastern District of    02:10-CV-
  1674    34460859 Stelly          Toby       Transocean, Ltd., et al.               Louisiana              01351      No   No   N/A          N/A   N/A
                                              William Gregoire, et al v.             Eastern District of    02:10-CV-
  1675    34460859 Stelly          Veronica   Transocean, Ltd., et al.               Louisiana              01351      No   No   N/A          N/A   N/A
                                              Winnie's Artsy Cafe, LLC v. BP,        Eastern District of    2:10-CV-
  1676    34489616 Murray          Arthur     PLC, et al                             Louisiana              02820      No   No   N/A          N/A   N/A
                                              Winnie's Artsy Cafe, LLC v. BP,        Eastern District of    2:10-CV-
  1677    34489616 Murray          Arthur     plc, et al                             Louisiana              02820      No   No   N/A          N/A   N/A
                                              Woods Fisheries, Inc. v. B.P.,         Northern District of   2:10-CV-
  1678    34487133 Wood            Edward     PLC., et al.                           Florida                03104      No   No   N/A          N/A   N/A
                                              Woods Fisheries, Inc. v. B.P.,         Northern District of   2:10-CV-
  1679    34493417 Wood            Edward     PLC., et al.                           Florida                03104      No   No   N/A          N/A   N/A
                                              Worldwide Interiors, LLC v. BP,        Southern District of   2:10-cv-
  1680    No Stamp   Lee           Donald     Plc, et al                             Alabama                04191      No   No   N/A          N/A   N/A
  1681    34494468   Barrios       Alicia                                            XXXXX                             No   No   N/A          N/A   N/A
  1682    34494468   Barrios, Sr   Thomas                                            XXXXX                             No   No   N/A          N/A   N/A
  1683    34494468   Brantley      Kathy                                             XXXXX                             No   No   N/A          N/A   N/A
  1684    34494468   Brantley Sr   Ronald                                            XXXXX                             No   No   N/A          N/A   N/A

  1685    34494468   Cressionie Jr Billy                                             XXXXX                             No   No   N/A          N/A   N/A
  1686    34494468   Dominique     Kurt                                              XXXXX                             No   No   N/A          N/A   N/A
  1687    34494468   Guillot       Jonathan                                          XXXXX                             No   No   N/A          N/A   N/A
  1688    34494468   Hunter        Uyless                                            XXXXX                             No   No   N/A          N/A   N/A
  1689    34494468   Sawyer        Robert                                            XXXXX                             No   No   N/A          N/A   N/A
  1690    34494468   St. Pierre    Janice                                            XXXXX                             No   No   N/A          N/A   N/A
  1691    34486183   Nguyen        Tim                                               XXXXX                             No   No   N/A          N/A   N/A
  1692    No Stamp   Gonzalez      Anthony                                           XXXXX                  10-4220    No   No   N/A          N/A   N/A
                                                                                     Southern District of
  1693    No Stamp Herrera         Jose                                              Texas                  10-4220    No   No   N/A          N/A   N/A
  1694    No Stamp Herrera         Teodulo                                           XXXXX                  10-4220    No   No   N/A          N/A   N/A

                                                                                   US District Court for
                                                                                   the Southern District
                                              Fishburn, et al. v. BP PLC, Ltd., et of Alabama, Mobile
  1695    34493902 Fishburn        Wanda      al.                                  Div.                  1:10-248      No   No   N/A          N/A   N/A

                   Gulf
                   Restoration                Defenders of Wildlife, et al. v. BP,   Eastern District of    2:10-CV-
  1696    34767157 Network, Inc.              p.l.c., et al.                         Louisiana              03879      No   No   N/A          N/A   N/A
                   Save the
                   Manatee                    Defenders of Wildlife, et al. v. BP,   Eastern District of    2:10-CV-
  1697    34767157 Club                       p.l.c., et al.                         Louisiana              03879      No   No   N/A          N/A   N/A
                   Defenders of               Defenders of Wildlife, et al. v. BP,   Eastern District of    2:10-CV-
  1698    34767157 Wildlife                   p.l.c., et al.                         Louisiana              03879      No   No   N/A          N/A   N/A
                                              Christopher R. Schorr, et al v. BP,    Eastern District of
  1699    34803960 Phelts          Allison    PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A


Tab K-1                                                                                                                                                   70 of 72
                                                                Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 108 of 122


                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1700    34803960 Brown        Andrea        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1701    34803960 McGowan      Betty         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1702    34803960 Rodriguez    Bridget       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1703    34803960 French       Brooke        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1704    34803960 Cook         Charles       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1705    34803960 Schorr       Christopher   PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1706    34803960 Tsoukalas    Chris         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1707    34803960 Griffith     Cynthia       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1708    34803960 Guy          David         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1709    34803960 Masterson    Deborah       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1710    34803960 Nimer        Dona          PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1711    34803960 Rodriguez    Frank         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1712    34803960 Chipka       Heather       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1713    34803960 Masterson    Joseph        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1714    34803960 Cortez       Kelly         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1715    34803960 Schorr       Kimberly      PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1716    34803960 Murphey      Laura         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1717    34803960 Gall         Lee           PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1718    34803960 Nunn         Leslie        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1719    34803960 Moscattini   Lori          PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1720    34803960 Depritto     Lucia         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1721    34803960 Dixon        Marie         PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1722    34803960 Cooley       Mark          PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1723    34803960 Rosenberg    Rosenberg     PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1724    34803960 Murphey      Michael       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1725    34803960 Nimer        Michael       PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1726    34803960 Cortez       Miguel        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1727    34803960 McGowan      Robert        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1728    34803960 Galanti      Ronald        PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A
                                              Christopher R. Schorr, et al v. BP,   Eastern District of
  1729    34803960 Moscattini   Roy           PLC et al                             Louisiana             10-2989   No   No   N/A            N/A   N/A



Tab K-1                                                                                                                                                  71 of 72
                                                               Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 109 of 122


                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1730    34803960 Chipka         Stephen   PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1731    34803960 Dixon          Stephen   PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1732    34803960 Smith          Stephen   PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1733    34803960 Koonin         Steven    PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1734    34803960 Waronker       Steven    PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1735    34803960 Phelts         Tim       PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1736    34803960 Brown          Walter    PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1737    34803960 Nunn           William   PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1738    34804258 Blankenship Jeffrey      PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1739    34804258 Lamb           John      PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1740    34804258 Blankenship Lou          PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Christopher R. Schorr, et al v. BP, Eastern District of
  1741    34804258 Lamb           Shirley   PLC et al                              Louisiana              10-2989    No   No   N/A          N/A   N/A
                                            Terry Drawdy, et al. v. Transocean, Eastern District of
  1742    34741937 Drawdy         Terry     Ltd., et al.                           Louisiana              10-2660    No   No   N/A          N/A   N/A
                                            Terry Drawdy, et al. v. Transocean, Eastern District of
  1743    34741614 Drawdy         Terry     Ltd., et al.                           Louisiana              10-2660    No   No   N/A          N/A   N/A
                                            Terry Drawdy, et al. v. Transocean, Eastern District of
  1744    34741854 Drawdy         Terry     Ltd., et al.                           Louisiana              10-2660    No   No   N/A          N/A   N/A
                                                                                   Southern District of   1:10cv391H
  1745    35133349 Cooley         James     James Cooley v. BP, PLC; et al.        Mississippi            SO-JMR     No   No   N/A          N/A   N/A
                                            Gregory John Guindon, et al v. BP, Southern District of       2;10-CV-
  1746    35157637 Guindon        Gregory   PLC et al                              Texas (Galveston)      04222      No   No   N/A          N/A   N/A
                                            Gregory John Guindon, et al v. BP, Southern District of       2;10-CV-
  1747    35175851 Guindon        Gregory   PLC et al                              Texas (Galveston)      04222      No   No   N/A          N/A   N/A
                                            Terry Drawdy, et al. v. Transocean,
  1748    34741187 Drawdy         Terry     Ltd., et al.                           EDLA                   10-2660    No   No   N/A          N/A   N/A
                   M.R.M.                   Tobatex, Inc., et al v. BP, P.L.C., et Eastern District
  1749    35676213 Energy, Inc.   N/A       al                                     Louisiana                         No   No   N/A          N/A   N/A
                                            Tobatex, Inc., et al v. BP, P.L.C., et Eastern District
  1750    35676213 Tobatex, Inc. N/A        al                                     Louisiana                         No   No   N/A          N/A   N/A
                                                                                   Eastern District of
  1751    No Stamp Mistry         Mahesh    Direct Filing Short Form               Louisiana              MDL 2179             N/A          N/A   N/A
                                                                                   Eastern District of
  1752    36016364 Mistry         Mahesh    Direct Filing Short Form               Louisiana              MDL 2179             N/A          N/A   N/A
                                                                                   Eastern District of
  1753    No Stamp Evans          Glyn      Direct Filing Short Form               Louisiana              MDL 2179             N/A          N/A   N/A




Tab K-1                                                                                                                                                 72 of 72
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 110 of 122




                       Tab K-2
                                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 111 of 122


                                                                                                                                                                                       Associated        Complaint
                                                                                                                                                                                       PPFs Allege         Alleges
                                                           Original EDLA    Number of Plaintiffs                                                                                      Physical Injury Physical Injury
                                                            Civil Action   Associated With Each                                                                                      to a Proprietary to a Proprietary
             Case Caption          Original-Filed District    Number            Complaint                Associated PPFs' Brief Description/Primary Valuation Of Claim                   Interest         Interest

                                                                                                   As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                                   oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                                   Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                                   have suffered substantial economic loss. On May 3, 2010, the National
                                                                                                   Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
     Benny Arispe, et al v. BP                                                                     to recreational and commercial fishing. NOAA subsequently increased the size
                                   TX -District Court -
 1   Exploration and Production,                            .10-4235       124                     of such closures to encompass over 83,000 square miles or 35% of the GOM
                                   Harris County
     Inc., et al                                                                                   exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                                   fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                                   of prohibited fishing in certain GOM waters and increased competition in open
                                                                                                   GOM waters, my commercial fishing activities to date have been negatively
                                                                                                   affected, and my income has likewise been negatively impacted. The exact
                                                                                                   amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                                   supplemented.                                                                           No               No

                                                                                                   As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                                   oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                                   Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                                   have suffered substantial economic loss. On May 3, 2010, the National
                                                                                                   Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                                   to recreational and commercial fishing. NOAA subsequently increased the size
     Cindy T. Nguyen v. BP, PLC et USDC - Southern
 2                                                          .10-3176       1                       of such closures to encompass over 83,000 square miles or 35% of the GOM
     al                            District of Texas
                                                                                                   exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                                   fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                                   of prohibited fishing in certain GOM waters and increased competition in open
                                                                                                   GOM waters, my commercial fishing activities to date have been negatively
                                                                                                   affected, and my income has likewise been negatively impacted. The exact
                                                                                                   amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                                   supplemented.                                                                           No               No

                                                                                                   As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                                   oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                                   Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                                   have suffered substantial economic loss. On May 3, 2010, the National
                                                                                                   Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
     Cuch Nguyen, et al v. BP                                                                      to recreational and commercial fishing. NOAA subsequently increased the size
                                   TX -District Court -
 3   Exploration and Production,                            .10-3188       2396                    of such closures to encompass over 83,000 square miles or 35% of the GOM
                                   Harris County
     Inc., et al                                                                                   exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                                   fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                                   of prohibited fishing in certain GOM waters and increased competition in open
                                                                                                   GOM waters, my commercial fishing activities to date have been negatively
                                                                                                   affected, and my income has likewise been negatively impacted. The exact
                                                                                                   amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                                   supplemented.                                                                           No               No




Tab K-2                                                                                                                                                                                                     Page 1 of 9
                                                             Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 112 of 122



                                                                                              As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                              oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                              Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                              have suffered substantial economic loss. On May 3, 2010, the National
                                                                                              Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
     Doanh Tran, et al v. BP                                                                  to recreational and commercial fishing. NOAA subsequently increased the size
                                      TX -District Court -
 4   Exploration and Production, Inc.                          .10-4228    7640               of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      Harris County
     et al                                                                                    exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                              fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                              of prohibited fishing in certain GOM waters and increased competition in open
                                                                                              GOM waters, my commercial fishing activities to date have been negatively
                                                                                              affected, and my income has likewise been negatively impacted. The exact
                                                                                              amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                              supplemented.                                                                     No   No

                                                                                              As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                              oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                              Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                              have suffered substantial economic loss. On May 3, 2010, the National
                                                                                              Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
     Doan V. Pham, et al v. BP                                                                to recreational and commercial fishing. NOAA subsequently increased the size
                                     TX -District Court -
 5   Exploration and Production Inc.                           .10-4238    157                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                     Harris County
     et al                                                                                    exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                              fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                              of prohibited fishing in certain GOM waters and increased competition in open
                                                                                              GOM waters, my commercial fishing activities to date have been negatively
                                                                                              affected, and my income has likewise been negatively impacted. The exact
                                                                                              amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                              supplemented.                                                                     No   No

                                                                                              As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                              oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                              Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                              have suffered substantial economic loss. On May 3, 2010, the National
                                                                                              Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                              to recreational and commercial fishing. NOAA subsequently increased the size
                                      USDC - Southern
 6   Do, et al v. BP, PLC et al                                .10-3180    307                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      District of Texas
                                                                                              exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                              fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                              of prohibited fishing in certain GOM waters and increased competition in open
                                                                                              GOM waters, my commercial fishing activities to date have been negatively
                                                                                              affected, and my income has likewise been negatively impacted. The exact
                                                                                              amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                              supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                              Page 2 of 9
                                                        Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 113 of 122



                                                                                         As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                         oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                         Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                         have suffered substantial economic loss. On May 3, 2010, the National
                                                                                         Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                         to recreational and commercial fishing. NOAA subsequently increased the size
     Dong Nguyen, et al v. BP, PLC, USDC - Southern
 7                                                        .10-3171    650                of such closures to encompass over 83,000 square miles or 35% of the GOM
     et al                          District of Texas
                                                                                         exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                         fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                         of prohibited fishing in certain GOM waters and increased competition in open
                                                                                         GOM waters, my commercial fishing activities to date have been negatively
                                                                                         affected, and my income has likewise been negatively impacted. The exact
                                                                                         amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                         supplemented.                                                                     No   No

                                                                                         As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                         oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                         Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                         have suffered substantial economic loss. On May 3, 2010, the National
                                                                                         Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                         to recreational and commercial fishing. NOAA subsequently increased the size
     Duc Truong Le, et al v. BP,    USDC - Southern
 8                                                        .10-3173    1938               of such closures to encompass over 83,000 square miles or 35% of the GOM
     PLC, et al                     District of Texas
                                                                                         exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                         fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                         of prohibited fishing in certain GOM waters and increased competition in open
                                                                                         GOM waters, my commercial fishing activities to date have been negatively
                                                                                         affected, and my income has likewise been negatively impacted. The exact
                                                                                         amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                         supplemented.                                                                     No   No

                                                                                         As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                         oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                         Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                         have suffered substantial economic loss. On May 3, 2010, the National
                                                                                         Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                         to recreational and commercial fishing. NOAA subsequently increased the size
                                    USDC - Southern
 9   Lam, et al v. BP PLC et al                           .10-3183    513                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                    District of Texas
                                                                                         exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                         fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                         of prohibited fishing in certain GOM waters and increased competition in open
                                                                                         GOM waters, my commercial fishing activities to date have been negatively
                                                                                         affected, and my income has likewise been negatively impacted. The exact
                                                                                         amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                         supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                         Page 3 of 9
                                                         Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 114 of 122



                                                                                          As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                          oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                          Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                          have suffered substantial economic loss. On May 3, 2010, the National
                                                                                          Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                          to recreational and commercial fishing. NOAA subsequently increased the size
                                     USDC - Southern
 10   Le, et al v. BP, PLC et al                           .10-3189    415                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                     District of Texas
                                                                                          exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                          fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                          of prohibited fishing in certain GOM waters and increased competition in open
                                                                                          GOM waters, my commercial fishing activities to date have been negatively
                                                                                          affected, and my income has likewise been negatively impacted. The exact
                                                                                          amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                          supplemented.                                                                     No   No

                                                                                          As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                          oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                          Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                          have suffered substantial economic loss. On May 3, 2010, the National
                                                                                          Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                          to recreational and commercial fishing. NOAA subsequently increased the size
                                     USDC - Southern
 11   Mai, et al v. BP, PLC et al                          .10-3190    65                 of such closures to encompass over 83,000 square miles or 35% of the GOM
                                     District of Texas
                                                                                          exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                          fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                          of prohibited fishing in certain GOM waters and increased competition in open
                                                                                          GOM waters, my commercial fishing activities to date have been negatively
                                                                                          affected, and my income has likewise been negatively impacted. The exact
                                                                                          amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                          supplemented.                                                                     No   No

                                                                                          As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                          oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                          Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                          have suffered substantial economic loss. On May 3, 2010, the National
                                                                                          Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                          to recreational and commercial fishing. NOAA subsequently increased the size
      Ngo, et al v. BP Exploration   USDC - Southern
 12                                                        .10-4233    6599               of such closures to encompass over 83,000 square miles or 35% of the GOM
      and Production Inc. et al      District of Texas
                                                                                          exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                          fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                          of prohibited fishing in certain GOM waters and increased competition in open
                                                                                          GOM waters, my commercial fishing activities to date have been negatively
                                                                                          affected, and my income has likewise been negatively impacted. The exact
                                                                                          amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                          supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                          Page 4 of 9
                                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 115 of 122



                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
      Nguyen, et al v. BP Exploration USDC - Southern
 13                                                         .10-4234    58                 of such closures to encompass over 83,000 square miles or 35% of the GOM
      and Production, Inc. et al      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
                                      USDC - Southern
 14   Nguyen, et al v. BP PLC et al                         .10-4230    33                 of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
                                      USDC - Southern
 15   Nguyen, et al v. BP PLC et al                         .10-3182    1169               of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                           Page 5 of 9
                                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 116 of 122



                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
                                      USDC - Southern
 16   Nguyen, et al v. BP PLC et al                         .10-3193    51                 of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
      Shun Y. Chu, et al v. BP, PLC, USDC - Southern
 17                                                         .10-3174    1701               of such closures to encompass over 83,000 square miles or 35% of the GOM
      et al                          District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
      Tran, et al v. BP Exploration   USDC - Southern
 18                                                         .10-4232    2554               of such closures to encompass over 83,000 square miles or 35% of the GOM
      and Production, Inc. et al      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                           Page 6 of 9
                                                          Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 117 of 122



                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
      Tran, et al v. BP Exploration   USDC - Southern
 19                                                         .10-4231    304                of such closures to encompass over 83,000 square miles or 35% of the GOM
      and Production, Inc. et al      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
                                      USDC - Southern
 20   Tran, et al v. BP , PLC et al                         .10-3179    4119               of such closures to encompass over 83,000 square miles or 35% of the GOM
                                      District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No

                                                                                           As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                           oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                           Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                           have suffered substantial economic loss. On May 3, 2010, the National
                                                                                           Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                           to recreational and commercial fishing. NOAA subsequently increased the size
      Thum M. Le, et al v. BP, PLC,   USDC - Southern
 21                                                         .10-3172    809                of such closures to encompass over 83,000 square miles or 35% of the GOM
      et al                           District of Texas
                                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                           fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                           of prohibited fishing in certain GOM waters and increased competition in open
                                                                                           GOM waters, my commercial fishing activities to date have been negatively
                                                                                           affected, and my income has likewise been negatively impacted. The exact
                                                                                           amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                           supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                           Page 7 of 9
                                                           Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 118 of 122



                                                                                            As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                            oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                            Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                            have suffered substantial economic loss. On May 3, 2010, the National
                                                                                            Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
      Tran Ngoc Dung, et al v. BP                                                           to recreational and commercial fishing. NOAA subsequently increased the size
                                    TX -District Court -
 22   Exploration and Production,                            .10-3178    3086               of such closures to encompass over 83,000 square miles or 35% of the GOM
                                    Harris County
      Inc., et al                                                                           exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                            fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                            of prohibited fishing in certain GOM waters and increased competition in open
                                                                                            GOM waters, my commercial fishing activities to date have been negatively
                                                                                            affected, and my income has likewise been negatively impacted. The exact
                                                                                            amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                            supplemented.                                                                     No   No

                                                                                            As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                            oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                            Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                            have suffered substantial economic loss. On May 3, 2010, the National
                                                                                            Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                            to recreational and commercial fishing. NOAA subsequently increased the size
                                    USDC - Southern
 23   Van, et al v. BP, PLC et al                            .10-3181    813                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                    District of Texas
                                                                                            exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                            fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                            of prohibited fishing in certain GOM waters and increased competition in open
                                                                                            GOM waters, my commercial fishing activities to date have been negatively
                                                                                            affected, and my income has likewise been negatively impacted. The exact
                                                                                            amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                            supplemented.                                                                     No   No

                                                                                            As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                            oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                            Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                            have suffered substantial economic loss. On May 3, 2010, the National
                                                                                            Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                            to recreational and commercial fishing. NOAA subsequently increased the size
                                    USDC - Southern
 24   Vo, et al v. BP, PLC et al                             .10-3191    681                of such closures to encompass over 83,000 square miles or 35% of the GOM
                                    District of Texas
                                                                                            exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                            fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                            of prohibited fishing in certain GOM waters and increased competition in open
                                                                                            GOM waters, my commercial fishing activities to date have been negatively
                                                                                            affected, and my income has likewise been negatively impacted. The exact
                                                                                            amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                            supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                            Page 8 of 9
                                                         Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 119 of 122



                                                                                          As noted above, I have worked on commercial fishing, shrimping, and/or
                                                                                          oystering fleets located in the Gulf of Mexico (“GOM”). Because of the
                                                                                          Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I
                                                                                          have suffered substantial economic loss. On May 3, 2010, the National
                                                                                          Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters
                                                                                          to recreational and commercial fishing. NOAA subsequently increased the size
      Xuan V. Nguyen, et al v. BP,   USDC - Southern
 25                                                        .10-3170    3819               of such closures to encompass over 83,000 square miles or 35% of the GOM
      PLC et al.                     District of Texas
                                                                                          exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened
                                                                                          fishing areas; however, at this time, over 8,000 miles remain closed. Because
                                                                                          of prohibited fishing in certain GOM waters and increased competition in open
                                                                                          GOM waters, my commercial fishing activities to date have been negatively
                                                                                          affected, and my income has likewise been negatively impacted. The exact
                                                                                          amount of my economic loss has not yet been quantified, and will be accordingly
                                                                                          supplemented.                                                                     No   No




Tab K-2                                                                                                                                                                          Page 9 of 9
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 120 of 122




                                                     Tab L




\\kirkland.com\fs\ch\dat\24000_BP_AM\1146_DEEPW\files\Attorney Work Product\Hales, Pearlie\2011_2_28 Exhibits\Tab L.doc
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 121 of 122
Case 2:10-md-02179-CJB-DPC Document 1440-16 Filed 02/28/11 Page 122 of 122
